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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

TOM SHALOM, NAOMI FEIFER-WEISER )
and YISRAEL WEISER, individually and on )
behalf of the estate of ROEY WEISER,        )
SHANI WEISER, NADAV WEISER,                 )
VARDA MORELL and EITAN MORELL,              )
individually and on behalf of the estate of )
MAOZ MORELL, E.E.M., a minor, C.M, a        )
minor, SACHAR YEHUDA MORELL,                )
MORDECHAI ELIEZER MENACHEM                  )
MORELL, DOV YERACHMIEL MORELL, )
CHANA LEITER, NERIVA DOV LEITER,            )
SARA BRACHA ATTIAS, DAVID                   )
ELIMELECH LEITER, SOPHIA REDLER, )
SAMUEL YAIR LEITER, NOAM ELISHA )
LEITER, AMIKAM TZION LEITER, YANIV )
ROUSSO and FANNY ROUSSO,                    )
individually and on behalf of the estate of )
OFEK ROUSSO, INBAR ROUSSO, RUBY )
CHEN and HAGIT CHEN, individually and )               Case No. 25-cv-_____
on behalf of the estate of ITAY CHEN, ROY )
CHEN, A.C., a minor, IZHAR SHAY and         )         COMPLAINT
HILLA SHAY, individually and on behalf of )
the estate of YARON OREE SHAY, SHIR         )         JURY TRIAL DEMANDED
SHAY, LIOR SHAY, OPHIR SHAY, MARK )
ZIERING and DEBORAH ZIERING,                )
individually and on behalf of the estate of )
ARYEH ZIERING, ELIANA ZIERING,              )
YONATAN ZIERING, TAL ZIERING,               )
OREN GLISKO and LIAT GLISKO,                )
individually and on behalf of the estate of )
ITAI GLISKO, ORI GLISKO, Y.G., a minor, )
TOVA SCHENKOLEWSKI, IRIS                    )
WEINSTEIN HAGGAI, individually and on )
behalf of the estates of JUDY WEINSTEIN     )
HAGGAI AND GAD HAGGAI, AHL                  )
HAGGAI, RAHM HAGGAI, ZOHAR                  )
HAGGAI, SIMEON ZIMBALIST and SARA )
ZIMBALIST, individually and on behalf of    )
the estate of ELIYAHU MOSHE                 )
ZIMBALIST, S.Z. a minor, B.Z., a minor,     )
A.Z. a minor, NECHAMA ZIMBALIST,            )
AVIVA ZIMBALIST, SHIRA ZIMBALIST,           )
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HANNAH WACHOLDER KATSMAN,                    )
individually and on behalf of the estate of  )
HAYIM KATSMAN, MAYA TREGER                   )
ROSENFELD, YAEL LEVY                         )
OPPENHEIMER, individually and on behalf )
of the estate of ROY JOSEPH LEVY, I.O., a )
minor, Y.L., a minor, J.L., a minor, TZURIA )
LEVY, ZOHAR LEVY, NAOMI KAHANA )
on behalf of A.L., a minor, JUDITH LEVY,     )
SHLOMO LEVY, ELIYAHU LEVY, IDDO              )
MOSHE LEVY, NIR YEHEZKEL LEVY,               )
EYAL WALDMAN and ELLA WALDMAN, )
individually and on behalf of the estate of  )
DANIELLE WALDMAN, GUY                        )
WALDMAN, SHARON WALDMAN,                     )
ESTER SASI, individually and on behalf of    )
the estate of AVRAHAM SASI, MORAN            )
SASI, DANIELLE SASI, LEE MELTZ SASI, )
R.P., a minor, NATALIE SASI, SAMANTHA )
MELTZ, ELI SASI, DANIEL LAWRENCE             )
SASI, ELIN LEVY SASI, TAL MELTZ              )
SASI, SHULAMITH ZANI, RONIT                  )
RAHOUM, ESTER HALIF, YOSEF SASI,             )
VITO SASY, IZHAK SASI, BEKHOR                )
SASSI, MEIR SASY, YAAQOV SASI,               )
ROBERT AIRLEY and JENNIFER AIRLEY, )
individually and on behalf of the estate of  )
BENYAMIN AIRLEY, AARON BOURS,                )
RIVKA DAVIDOVICH, CHANA SARAH                )
BEN ZAKEN, DONALD GOODMAN,                   )
HADAS PNIMA SAFFER BEN HAMO,                 )
AMICHAY KLUGHAUPT, ELITZUR                   )
MOSES, MITCHEL NEWMAN, NOACH                 )
NEWMAN, GAVRIEL NEWMAN, DVIR                 )
TUVIA NEWMAN, BATYA LEAH SPREI, )
AVRAHAM ROTHNER, NADAV                       )
BENJAMIN SHINDMAN, AARON MOSHE )
SPITZ, LEAH SPITZ, GAVRIEL                   )
BINYAMIN SPITZ, AVITAL MIRIAM                )
SPITZ, ARYEH THALER, JEFFREY                 )
THALER, KAREN THALER, ZEV                    )
THALER, ELIYAHU THALER, YOSEF                )
THALER, PESHA THALER, A.T. a minor,          )
L.T., a minor, R.T., a minor, H.T., a minor, )
ARIEL VARDI, LEOR ZER-CHEN,                  )

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YAAKOV ZER-CHEN, EITAN MOR and                 )
SHLOMIT MIRIAM MOR, individually and )
on behalf of the estate of SMADAR MOR          )
EDAN, LERON MOR and ZOLTAN IVAN                )
GYONGYOSI on behalf of, A.E., a minor,         )
M.E., a minor, Am.E., a minor, LERON           )
MOR, MICHAL ZIPPORAH ZAFRANI,                  )
individually and on behalf of the estate of    )
ITAY ZAFRANI, INBAL CHEN, A.Z., a              )
minor, DAVID ZAFRANI, ORI ZAFRANI,             )
OSNAT TAL ZAFRANI, RONI ZAFRANI,               )
ODEYA CHEN NATAN, A/K/A ODEYA                  )
CHEN TEICHER, NAOMI TEICHER,                   )
MICHAEL JAY TEICHER, NAAMA                     )
SAFFER AMAR, YEHOSHUA GOODMAN, )
A.G., a minor, B.G., a minor, Y.G., a minor, )
B.G., a minor, M.G. a minor, N.G., a minor, )
AVRAHAM GUTSTEIN, MIRIAM                       )
GUTSTEIN, TAMAR GUTSTEIN, Z.C.G., a )
minor, YITSHAK YISACHAR GUTSTEIN, )
S.G., a minor, SHELMO TAWIL, NATHAN )
SUSSKIND, ELIEZER BENZAKEIN,                   )
SCHLOME WERDE, A.A., a minor, G.A., a )
minor, O.A., a minor, A.M.A., a minor,         )
A.E.A., a minor, SAMUEL BLISKO, NOA            )
MORGAN CHERNEY, GIL BOAZ                       )
DANIELS, A.D., a minor, H.M.D., a minor, )
M.D., a minor, S.E.D., a minor, Y. D., a       )
minor, A.E.D., a minor, REUT ENGLE,            )
ETHAN LIBIN, YAEL ZER-CHEN, RONEN )
NEUTRA and ORNA ESTHER NEUTRA,                 )
individually and on behalf of the estates of   )
OMER MAXIM NEUTRA, DANIEL YUM )
NEUTRA, OR JOSEPH RAHBEK, KEREN )
RAHBEK, and LEAH RAHBEK, ESTER                 )
SASI, individually and on behalf of the estate )
of Avraham Sasi, MORAN SASI, DANIELLE )
SASI, R.P, a minor, NATALIE SASI, LEE          )
MELTZ SASI, SHULAMITH ZANI, RONIT )
RAHOUM, ESTER HALIF, YOSEF SASI,               )
VITO SASY, IZHAK SASI, BEKHOR                  )
SASSI, MEIR SASY, ELI SASI, YAAQOV             )
SASI, SAMANTHA MELTZ, DANIEL                   )
LAWRENCE SASI, ELIN LEVY SASI, TAL )
MELTZ SASI, MICHAL HALEV, RACHEL )

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GOLDBERG and JON POLIN, individually)
and on behalf of the estate of Hersh)
Goldberg-Polin, LEEBIE GOLDBERG-    )
POLIN, ORLY GOLDBERG-POLIN, JAY     )
MICHAEL (YECHIEL) LEITER,           )
SHOSHANA BRACHA SHAFER,             )
MICHAEL MARTIN SHAFER, RIVKA        )
YEHUDIS SHAFER, A.S., a minor, E.L.S., a
                                    )
minor, E.P.S., a minor, YEHUDA SHAFER,
                                    )
YISROEL MEIR SHAFER, YITZCHOK       )
SHAFER, NECHAMA SORAH GOVE,         )
CHANA SHIRA ABRAHAM, CHAIM          )
SHAFER,                             )
                                    )
              Plaintiffs,           )
v.                                  )
                                    )
BASHAR MASRI,                       )
2335 Ashmead Place, N.W.            )
Washington, DC 20009                )
                                    )
PALESTINE REAL ESTATE INVESTMENT )
COMPANY,                            )
PO Box 666                          )
Office Building – 6th Floor, Rawabi )
Palestine                           )
                                    )
PALESTINE DEVELOPMENT &             )
INVESTMENT COMPANY,                 )
PO Box Rawabi 666                   )
Palestine                           )
                                    )
PALESTINIAN INDUSTRIAL ESTATE       )
DEVELOPMENT COMPANY,                )
PO Box Rawabi 666                   )
Palestine                           )
                                    )
and                                 )
                                    )
MASSAR INTERNATIONAL, LTD.,         )
Q Center                            )
Rawabi 666                          )
Palestine                           )
                                    )
              Defendants.           )

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                                        INTRODUCTION

       1.       In the years leading up to the terrorist attacks of October 7, 2023 (“October 7

Attack”), the Islamic Resistance Movement (“Hamas”) planned and trained for a ground invasion

of Israel while engaging in strategic deception designed to persuade Israel that it was not an

immediate threat.

       2.       Hamas led Israel’s intelligence community to believe that it was prioritizing

economic development over its long-standing goal of destroying Israel.

       3.       Despite numerous public statements promising a decisive campaign to destroy

Israel, Hamas was not, the deception went, planning to act upon its threats—but was, instead,

focused on directing its energies toward the economic development of Gaza, which it had controlled

since 2007.

       4.       When Hamas launched its large-scale invasion on October 7, 2023, murdering more

than 1,200 people, mostly civilians, the Israel Defense Forces (“IDF”) and Israel’s intelligence

services were caught completely off guard, having been lulled into a false sense of security.

Plaintiffs—American victims of the October 7 Attack and its aftermath, and their family members

and their estates—suffered unimaginable harm.

       5.       Defendants were an integral part of that grand deception. They owned and operated

flagship properties in Gaza that they knowingly and deliberately integrated into Hamas’s terrorist

infrastructure and that were crucial elements in Hamas’s attack plan on October 7. Defendants’

conduct also foreseeably contributed to further military and civilian deaths in the months that

followed.

       6.       Defendant Bashar Masri is a naturalized U.S. citizen and purported billionaire. He

grew up believing that violence against Jews and Israel was justified and came to play a role in the

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First Intifada, the coordinated campaign of violence launched by various Palestinian factions,

including Hamas, against Israel that began in 1987 and continued until 1993 when the Oslo Accords

were signed.

       7.       But after coming to the United States to attend college and acquiring U.S.

citizenship, Masri decided to remake himself and burnish a reputation as a legitimate

businessperson and visionary entrepreneur, committed to developing the Palestinian economy and

ostensibly finding ways to work with Israel.

       8.       Yet, all the while Masri was attracting praise and securing capital from

governmental and multilateral institutions in the U.S. to invest in large-scale development projects

in the Palestinian Territories, he and the companies he controls were actively conspiring with

Hamas both to build infrastructure used on October 7, 2023, and to provide cover for Hamas’s true

violent aims.

       9.       Masri and the companies he controls—including Defendants Palestine

Development & Investment Company (“PADICO”), Palestine Real Estate Investment Company

(“PRICO”), and Palestinian Industrial Estate Development Company (“PIEDCO”)—developed and

operated prime properties in Gaza for outwardly legitimate purposes. But in reality, they were also

used to construct and conceal Hamas’s attack tunnels, store and launch its rockets at Israel, host

Hamas leadership and foot soldiers, train Hamas naval commandos—and even to produce

electricity for Hamas’s attack tunnel infrastructure. Just prior to the October 7 Attack, Masri even

installed an individual closely tied to Hamas as Chairman of PIEDCO.

       10.      Masri used Defendant Massar International Ltd—a holding company which owns

a significant stake in PADICO but also owns a consulting services company as a subsidiary—to

secure funding from the United States and various governmental and international organizations,

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funding that flowed into Gaza and which Masri used, in part, to provide logistical and infrastructural

support to Hamas.

       11.      The properties Defendants developed with Hamas were not only part of the

infrastructure Hamas used in connection with the October 7 Attack itself; their development

deliberately advanced Hamas’s false narrative that it was interested primarily in the economic

development of Gaza and a grudging coexistence with Israel.

       12.      At a time when the outside world was understandably skeptical about financing the

development of an enclave controlled by a violent, U.S.-designated Foreign Terrorist Organization

(“FTO”), Masri traded on his carefully cultivated image as a peace-building businessman and used

his connections, both inside the Palestinian Territories and in Washington, DC, and across the West,

to convince U.S. institutions, the World Bank, the United Nations, and the European Union to invest

in his Gaza projects.

       13.      Masri cloaked himself in legitimacy in service of this grand deception. His

permanent marital residence is in the Kalorama section of Washington, DC, up the street from the

residence of a former U.S. president and assorted political leaders and diplomats. He sits on the

Dean’s Council at Harvard University’s Kennedy School of Government, serves alongside

dignitaries and business elites on the board of the Middle East Investment Initiative, and even

served on the advisory council of the U.S. Development Finance Corporation (“DFC”) from 2020-

2023, an agency from which he secured tens of millions of dollars for one of his investment funds.

       14.      For years, Masri leveraged his meticulously cultivated image in Washington to gain

consulting contracts and secure financing for his development projects in Gaza and elsewhere from

entities located in the District of Columbia, such as the taxpayer-funded U.S. Agency for

International Development (“USAID”), the Overseas Private Investment Corporation (now

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“DFC”), and the International Finance Corporation (“IFC”) and the Multilateral Investment

Guarantee Agency (“MIGA”), both of which are components of the World Bank.1 At the same time

as he was securing U.S. taxpayer dollars for his work in Washington, DC, he was also securing

financial support for major development projects funded by Qatar.

        15.       As set forth below, Masri, through companies he fully controls, gained multiple

contracts to advise these agencies in Washington, DC, while simultaneously soliciting them

successfully for millions of dollars in investments and loans for other companies he owns and

controls. He also used the agencies to provide his companies with the appearance of legitimacy and

diplomatic cover, which itself aided his further fundraising efforts and deterred Israel from striking

Defendants’ properties.

        16.       The crown jewel of Masri’s developments in Gaza was the Gaza Industrial Estate

(“GIE” or “Estate”), which Masri personally visited and oversaw. Through companies he controls,

Masri owned and operated this 480,000 square meter industrial park, which sat only a few hundred

yards from the border fence with Israel and Kibbutz Nahal Oz, a community that was decimated

during the October 7 Attack.

        17.       To develop the GIE, Masri and the companies he controls obtained financing from

USAID, the UN, the European Union, and more recently (in 2022), the IFC in Washington, DC

(along with insurance from MIGA). In developing the GIE, Masri and the other Defendants worked

directly, openly, and knowingly with senior Hamas leaders, including, in the months before the




1
         According to the IFC: “The U.S. is IFC’s largest shareholder and actively supports private sector
development globally through a combination of co-investment, advisory and blended finance. The U.S. government
has provided important contributions to IFC Private Sector Advisory Services with a historic focus on investment
climate reform, private sector development, and solar energy.” The United States is also the largest shareholder in the
World Bank.
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October 7 Attack, the Hamas official in charge of the development of Hamas’s military-industrial

base in Gaza.

       18.       Above ground, the GIE was a showcase for legitimate businesses like Coca-Cola

and a variety of light manufacturing companies. But beneath the surface, Masri and the companies

he controls worked with Hamas to construct and conceal an elaborate subterranean attack tunnel

network which Hamas used to burrow under the border into Israel, to attack nearby Israeli

communities, and to ambush Israeli military personnel. Hamas also used the GIE to probe the border

fence and test the IDF’s response times and countermeasures in the lead up to the October 7 Attack.2

(Hamas even installed an anti-tank battery in one of the GIE’s water towers facing the border.)

       19.       Thanks to the financing that Defendants obtained from the IFC in Washington, the

GIE also featured advanced solar technology, intended, in part, to provide electrical power to the

GIE’s commercial tenants. Any excess energy, international investors were told, would be fed into

Gaza’s troubled electrical grid to benefit neighboring communities. But at a time when ordinary

Gazans were often without power, Defendants knowingly siphoned off electricity from their World

Bank-funded solar project to power Hamas’s attack tunnel network below the GIE.

       20.       Bashar Masri’s other prestige projects in Gaza, which Defendants owned, operated,

and which Masri personally visited and oversaw, included two luxury seaside hotels, the Blue

Beach Hotel and the Al Mashtal Hotel (rebranded in 2023 as the Ayan Hotel).

       21.       Hamas operatives and leaders—including the architect of the October 7 Attack,

Yahya Sinwar—regularly used the hotels to host public and private Hamas events. Hamas officials




2
         On October 7 itself, the GIE area of the border was one of many that Hamas breached, and Hamas terrorists
were killed by Israeli forces on the grounds of the GIE.
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also used the hotel for private functions, relaxing in the luxury accommodations and facilities that

few Gazans could afford.

        22.     As far back as 2014, Al Mashtal Hotel, adorned with large UN and EU signage on

its roof, hosted a significant network of Hamas attack tunnels used to launch rockets into Israel and

served as a command center for Hamas’s leaders during its conflict with Israel that summer. The

IDF eventually struck the launch sites and damaged the hotel.

        23.     In the following years, Defendants worked closely with Hamas to renovate and

refurbish the hotels, including electrical upgrades used to power Hamas’s tunnel network beneath

them, and to restore and enhance the rocket launching sites positioned near the hotels, which Hamas

deployed on October 7, 2023, and thereafter. Hamas’s terrorist tunnel network not only ran under

Masri’s hotels, but the tunnels were accessible directly from guest rooms and other facilities inside

the hotels.

        24.     The restored Blue Beach Hotel included a labyrinth of tunnels with multiple shafts

accessible inside and on the grounds of the hotel. The Blue Beach tunnel complex linked the hotel

to the Badr Base, a Hamas training facility a few hundred meters southwest of the hotel, where the

Izz al-Din al-Qassam Brigades (“Qassam Brigades”)—Hamas’s terror apparatus—trained its

equivalent of the Navy SEALs and could reach the Mediterranean without deploying above-ground.

        25.     During and after the October 7 Attack, Hamas used Defendants’ hotels and the

tunnel network connected to them both as a base of operations and a defensive position from which

to later ambush IDF troops. The hotels were severely damaged in November 2023 after a pitched

battle between the IDF and Hamas terrorists positioned inside and under the hotels.

        26.     By actively working with Hamas to build and maintain its attack tunnel

infrastructure while simultaneously advancing Hamas’s campaign of deception, Defendants aided

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and abetted and conspired with Hamas, and the October 7 Attack and the deaths of soldiers and

civilians thereafter were a foreseeable consequence of Defendants’ collaboration with Hamas.

Plaintiffs—American victims of the October 7 Attack and its aftermath, and their family members

and their estates—therefore bring this action under the Anti-Terrorism Act (“ATA”) as amended

by the Justice Against Sponsors of Terrorism Act (“JASTA”).

                                JURISDICTION AND VENUE

       27.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, 18 U.S.C.

§ 2333(a) and (d), and 18 U.S.C. § 2338 as a civil action brought by citizens of the United States

who have been injured by reason of acts of international terrorism committed by Hamas.

       28.     Venue is proper in this District pursuant to 18 U.S.C. § 2334(a) and 28 U.S.C. §

1391(b) and (d).

       29.     Defendants are each subject to personal jurisdiction in Washington, DC, pursuant

to 18 U.S.C. § 2334(a), D.C. Code § 13-422, and Fed. R. Civ. P. 4(k)(1)-(2).

       30.     As set forth herein, Defendants have purposefully and deliberately solicited funding

from institutions located in Washington, DC, and received approval and financing in Washington,

DC, for projects they jointly undertook with Hamas.

                                         DEFENDANTS

       31.     Defendant Bashar Masri (“Masri”) is a natural person who holds U.S. citizenship

and whose domicile is in Washington, DC.

       32.     Masri is the chairman of Defendant PADICO, a holding company that invests in

numerous purportedly legitimate businesses in a variety of sectors throughout the Palestinian

Territories, and its subsidiary, Defendant PRICO.

       33.     Masri controls PADICO and directs its operations.


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       34.      PADICO, through its subsidiaries, owns and controls the GIE, the Blue Beach

Resort, and the Ayan (f/k/a Al Mashtal) Hotel. As set forth in detail below, these properties formed

an essential part of Hamas’s terrorist infrastructure.

       35.      PADICO is incorporated in the Republic of Liberia and has its principal place of

business in Rawabi, a planned community near Ramallah in the Palestinian Territories that Masri

developed with financing from Qatar.

       36.      PRICO is a subsidiary of PADICO, which owns 83.62% of its shares. It was

incorporated in 1994 and was listed on the Palestinian Stock Exchange in 1997. Its principal place

of business is Al Masyoun Ramallah, PADICO House Building, Ramallah, Palestinian Territories.

Like PADICO, PRICO is controlled by Masri.

       37.      Defendant PIEDCO is a subsidiary of PRICO, which owns over 80% of its shares.

       38.      Masri controls the company.

       39.      PIEDCO manages the GIE on behalf of PRICO, PADICO, and Masri.

       40.      Masri is also the founder and chairman of Defendant Massar International Ltd

(“Massar”), which owns a controlling stake in PADICO. Masri incorporated Massar in Cyprus and

lists his address in the corporate filings as Falls Church, VA, and his citizenship as “United States.”

       41.      Massar is the holding company through which Masri owns approximately 15.8%

of PADICO’s shares and controls PADICO. It is incorporated in Cyprus with its principal place of

business at Q Center Rawabi, Palestinian Territories.




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         42.       Massar also controls Massar Consulting and Technical Services which boasts

clients that include the European Union, European Commission, the World Bank, USAID,3 UN

Development Program (“UNDP”), and PADICO.4

         43.       Massar partnered with the Qatar Diar Real Estate Investment Co. to develop the

planned city of Rawabi, near Ramallah. Qatar provides significant funding to Masri’s business

operations (in addition to having widely known links to Hamas).5

         44.       As set forth in detail below, acting through PADICO, PRICO, PIEDCO, and

Massar (collectively, “the Corporate Defendants”), Masri has conspired with and knowingly

provided substantial assistance to Hamas and aided and abetted the acts of international terrorism

that injured Plaintiffs.

                                         FACTUAL ALLEGATIONS

 I.       BASHAR MASRI AND THE CORPORATE ENTERPRISES HE CONTROLS

          A.       Early Life

         45.       Defendant Bashar Masri was born in 1961 in Nablus, a city in what is now the

Palestinian Territories but was then controlled by Jordan.

         46.       Masri grew up at odds with the IDF, which operated within what became the

Palestinian Territories. He has stated, “As a kid, I believed in violence” against the “occupation,”




 3
          Massar Consulting and Technical Services was retained as a primary subcontractor to Chemonics
 International on a USAID initiative aimed at strengthening micro-finance institutions in the Palestinian Territories and
 by DPK Consulting for a USAID project creating two dispute resolution centers in Gaza and Ramallah.
 4
         Massar Consulting and Technical Services also received funding from USAID in 2001-2004 for “strategic
 planning, implementation, management and promotion” of the GIE.
 5
         Qatar has hosted Hamas’s Political Bureau since 2012 and allowed Hamas’s most senior officials to reside
 in Doha both before and after the October 7 Attack. It has also bankrolled Hamas for more than a decade.
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referring to Israel. According to Masri, in 1975, at the age of 14, he was jailed in Israel for throwing

rocks at Israeli soldiers and was jailed again in 1977, at the age of 16.

       47.      After he was released, his father sent him to Egypt to complete high school.

       48.      After graduating from high school, in 1978, Masri enrolled at Richard Bland

College in Petersburg, Virginia, for three semesters before transferring to Virginia Tech. At

Virginia Tech, he joined the Alpha Phi Omega fraternity and was active in clubs and political

organizations on campus. He graduated from Virginia Tech with a Bachelor of Science degree in

Chemical Engineering in 1983.

       49.      Masri began his professional career with a Saudi Arabian company before joining

LMRC, a management consulting and lobbying firm in Washington, DC, in 1986.

       50.      Masri returned to the Palestinian Territories after the start of the First Intifada in

1987. As indicated above, the First Intifada was an organized series of demonstrations and acts of

terrorism organized by various Palestinian factions against Israel, lasting until the Oslo Accords

were signed in 1993. Palestinian rioters targeted Israelis with rocks, Molotov cocktails, rifles,

grenades, and explosives.

       51.      Masri’s return to the Palestinian Territories did not coincide with the First Intifada

by coincidence—he was there to help lead it. As he told Time Magazine in 2015, “At that stage, I

wasn’t going out in demonstrations. I was more on the planning side.”6

       52.      Masri’s support for violent activities led to Israel barring his entry into Israel in

1991, when the Israeli Minister of the Interior determined Masri was a security risk to the State of




6
        Inna Lazareva, Meet the Palestinian Who Went From Throwing Stones at Israelis to Building a Town With
Them, TIME MAGAZINE, Sept. 1, 2015, available at https://time.com/4018306/rawabi-bashar-masri/.
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Israel. He was allowed to return in 1994 after the signing of the Oslo Accords between Israel and

the Palestine Liberation Organization.

        B.     Ties to the United States

       53.     Masri married Pennsylvania native Jane Masri in 1989, after which time he gained

United States citizenship. Masri and Jane have two children who are United States citizens and who

were largely raised in the United States, in the suburbs of Washington, DC.

       54.     As noted above, in the mid-1990s, Masri set his sights on business ventures in the

Palestinian Territories, and the family moved there, where they resided until the early 2000s. At

that point, the family moved back to Virginia. Masri traveled back and forth between the United

States and Ramallah.

       55.     For many years, Masri’s home base was a house in Falls Church, Virginia, which

he owned. In the late 2010s, he and Jane sold this home and moved to a house in northwest

Washington, DC.

       56.     Masri has consistently maintained close ties to the United States through his family

and businesses. As he stated to the Forward in 2011, “I’m Palestinian, I’m American. I’m proud of

being both, but I’ve gained so much experience in the United States that my smaller nation, the

nation in the making, needs.”

       57.     For decades, Masri has been actively engaged in American politics. Since 1988, he

and Jane have donated over $100,000 to various political causes. As recently as February 2022,

Masri contributed to the campaign for a Maryland congressperson, listing the residence in

Washington, DC, as his residence on the donation form.

       58.     Since 2014, Masri has been a member of the Harvard University Kennedy School’s

Dean’s Council. He has also served on Harvard’s Committee on University Resources.


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       59.       In 2018 he established and currently funds the graduate Rawabi Fellowship for

Leaders from Palestine at the Harvard University Kennedy School. This fellowship program

provides tuition, health insurance, and stipends for Palestinian graduate students at Harvard.

       60.       The Rawabi Foundation is a registered nonprofit with a listed address of Falls

Church, VA, until at least 2016.

       61.       Masri served as a member of the advisory council of the U.S. International

Development Finance Corporation from 2020 to 2023.

        C.       Business Enterprises Masri Controls

       62.       Masri controls a variety of corporations and shell companies, including the

Corporate Defendants herein.

       63.       Masri personally decided and directed that the Corporate Defendants would work

closely with Hamas and its Qassam Brigades in Gaza.

       64.       Many of these companies own stakes in each other, thereby creating interlocking

ownership structures.7 For example, Rawan International Investment Company owns nearly 20%

of Defendant PADICO but is itself 100% owned by PADICO, and Siraj Palestine Fund I owns 6.5%

of PADICO but is controlled by Massar International Ltd – which also separately owns more than

15% of PADICO.

       65.       PADICO owns more than 80% of PRICO, and PRICO owns more than 80% of

PIEDCO.




7
         Masri has also employed many of the same personnel at his primary Gaza investment locations. For example,
Wadie Muhammad Shabban Al-Masri worked as general manager of both the Blue Beach Hotel and Al Mashtal Hotel
as well as formerly serving as director of the GIE. Similarly, Mohammad Najjar—Chairman of the Al Mashtal Hotel
board of directors—is also director of the Infrastructure and Energy sector at PADICO Holding, where he oversees
PADICO’s investments portfolio in Gaza.


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        66.      Masri controls and runs these businesses personally, both directly and using a team

of trusted long-time employees who sit on overlapping boards and management teams and

implement his policies.

        67.      A prime example of this core reality is illustrated by a May 2022 signing ceremony

between PRICO and Hamas to refurbish parts of the GIE (detailed below). Although a

representative of PRICO nominally signed the agreement with Hamas, the signage at the ceremony

read “PADICO”; and PADICO posted the details of the event on its website with a picture of Masri

overseeing the ceremony, even though he has no formal role on PRICO’s board of directors.

         D.      Bankrolled by the Qataris

        68.      Because many of Masri’s corporate holdings are held in offshore structures in, e.g.,

Cyprus and the Cayman Islands,8 a complete mapping of his business associates and investors is

difficult.

        69.      Through the Siraj Palestine Fund I, a private equity fund he controls, Masri’s

investors include George Soros’s Soros Development Fund, the U.S. federal agency Overseas

Private Investment Corporation (now DFC), which provided a third ($30 million) of the SIRAJ I

Fund’s initial funding, the United Church of Christ’s Pension Boards,9 and Crescent Investments

LLC.

        70.      In March 2008, the Qatari government-owned Qatar Diar Real Estate Investment

Co. signed a $350 million agreement with Masri’s Massar to develop Rawabi, a new planned city

with 5,000 homes near Ramallah. The Qataris reportedly put up two-thirds of the capital.




 8
         Masri also controls multiple companies registered in Panama and the British Virgin Islands.
 9
         The United Church of Christ’s Pension Boards describe their investment in Siraj as “Investing in Peace.”


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        71.       By 2015, the reported cost of the project had risen to $1.2 billion.

        72.       The former CEO of Qatar Diar Real Estate Investment Co. is Ghanim Bin Saad

Saad Al Saad, a wealthy Qatari investor (acting on behalf of the Qatari regime) best known for

leading the Ghanim Bin Saad Al-Saad & Sons Group (“GSSG”) and transferring $22 million to the

bank account of Ricardo Teixeira, the former head of Brazil’s Football Federation, prior to Qatar’s

winning the bid to host the 2022 World Cup.

        73.       Ghanim Bin Saad Saad Al Saad is also the former chairman of the Qatar Charity, a

long-time member of a coalition of organizations operating under the umbrella of the Union of

Good, a global Hamas-fundraising network designated as a Specially Designated Global Terrorist

(“SDGT”) by the U.S. Department of the Treasury in 2008.10

        74.       Ghanim Bin Saad Saad Al Saad and Masri are close business partners and personal

friends.

        75.       More broadly, Masri has maintained friendly relations with Muhammad al-Emadi,

the head of Qatar’s Gaza Reconstruction Committee overseeing the regime’s financial aid to Gaza.

        76.       Al-Emadi maintained an office at Masri’s Al Mashtal Hotel in the years prior to the

October 7 Attack and visited and hosted Hamas’s senior leader, Yahya Sinwar, on multiple

occasions. Al-Emadi served as Qatar’s point person for funneling massive quantities of cash into

Gaza, including for the benefit of Hamas’s Qassam Brigades.




10
          In March 2008, Qatar Charity was listed as a Priority III terrorism support entity (“TSE”) by the Interagency
Intelligence Committee on Terrorism (“IICT”), after having demonstrated intent and willingness to provide financial
support to terrorist organizations willing to attack U.S. persons or interests or provide witting operational support to
Priority I-II terrorist groups.
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             Bashar Masri seated with Qatari Representative Muhammad al-Emadi in March 2021

II.     HAMAS – A DESIGNATED FOREIGN TERRORIST ORGANIZATION

        A.      Founding, History, and Ideology

       77.      Several prominent terrorist organizations operate in Palestinian-controlled territory,

most notably Hamas, a radical Islamist terrorist organization committed to the globalization of

Islam through violent “Jihad” (holy war) and the destruction of the State of Israel.

       78.      Hamas was established in the Gaza Strip on December 10, 1987, shortly following

the outbreak of the First Intifada. Hamas announced its founding in an “official” communiqué on

December 14, 1987. (Its name is an Arabic acronym for the “Islamic Resistance Movement.”)

       79.      Hamas represented the culmination of approximately 15 years of preparation and

organization building, led by Ahmed Yassin (known as “Sheikh Yassin”), the unrivaled leader of

what had been the Muslim Brotherhood Movement in the Gaza Strip.

       80.      Yassin worked unceasingly toward the establishment of Hamas in the Gaza Strip.

When Hamas was established in Yassin’s home in 1987, the Islamic Resistance Movement already

had a defined ideology and a group of pre-existing institutions in Gaza, such as Al-Mujama Al-

Islami (the Islamic Center), Al-Jam’iya Al-Islamiya (the Islamic Society), and the Islamic


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University of Gaza, that were previously the flagship institutions of the Muslim Brotherhood’s

network of social institutions.

       81.      Until Hamas’s founding, under Israeli military and civilian administration, the

Muslim Brotherhood in Gaza branch limited its violent activities to targeting rival Palestinian

factions and expanding its control of area mosques and social institutions.

       82.      But with its “rebranding” in 1987-1988 as Hamas, the Brotherhood under Yassin

committed itself to violent terrorist attacks against Israel, and over the next five years it began to

actively compete in the Palestinian political arena to establish its bona fides by escalating the pace

and ambition of its acts of terrorism.

       83.      On June 18, 1989, Israel designated Hamas as a terrorist organization.

        B.      The Oslo Accords and Hamas’s Response

       84.      On September 13, 1993, President Clinton hosted the signing ceremony in

Washington, DC, for the so-called “Oslo Accords” agreed to by the Palestine Liberation

Organization (“PLO”), represented by Chairman Yasser Arafat, and Israel, represented by Prime

Minister Yitzhak Rabin and his foreign minister, Shimon Peres.

       85.      The agreement had several significant aspects, including the withdrawal of Israeli

forces from parts of what Jordan had termed the West Bank and from the Gaza Strip, and the

creation of the Palestinian National Authority (“PA”), headed by Arafat.

       86.      Under the agreement, the newly formed PA would perform the social and

administrative services previously provided by Israel, including education, health, social welfare,

taxation, and tourism, in Gaza and the West Bank.




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       87.       For Hamas, the Oslo Accords contradicted its most valued tenets—the destruction

of the State of Israel in its entirety and the creation of an Islamic state, including the entirety of

what is today the State of Israel.

       88.      Accordingly, Hamas pursued a three-pronged strategy in the early 1990s.

       89.      First, it upgraded its terror apparatus, improving the capabilities of its Qassam

Brigades and beginning to perfect its bomb-making skills.

       90.      Second, it intensified its efforts to subvert existing social welfare institutions—

particularly in the West Bank—to systematically gain control of pre-existing charitable societies,

zakat committees, and other religious and social institutions that would ultimately compete with the

PA for the “hearts and minds” of the Palestinian public in Gaza, the West Bank, and even the

Palestinian refugee camps in Jordan and Lebanon.

       91.      Third, it accelerated the development of its world-wide fundraising network. While

Hamas enjoyed support from wealthy patrons in the Persian Gulf even in its prior incarnation as

Sheikh Yassin’s Muslim Brotherhood “branch” in Gaza, the Oslo Accords galvanized the Muslim

Brotherhood’s supporters in Europe, Africa, and even the United States.

        C.      Initial U.S. Designations of Hamas

       92.      On January 23, 1995, President Clinton issued Executive Order No. 12947.

President Clinton found that “grave acts of violence committed by foreign terrorists that threaten to

disrupt the Middle East peace process constitute an unusual and extraordinary threat to the national

security, foreign policy, and economy of the United States.”




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       93.      Executive Order No. 12947 designated Hamas a Specially Designated Terrorist

(“SDT”) and blocked all property and interests in property of the terrorist organizations and persons

designated in the Order, including Hamas.11

       94.      On October 8, 1997, by publication in the Federal Register, the United States

Secretary of State designated Hamas a Foreign Terrorist Organization pursuant to Section 219 of

the Immigration and Nationality Act and the Antiterrorism and Effective Death Penalty Act of 1996

(“AEDPA”). The U.S. government has renewed Hamas’s designation as an FTO every two years

since Hamas was originally designated.

        D.      The Second Intifada

       95.      In September 2000, just seven years after the signing of the Oslo Accords, the

Second Intifada (“al-Quds” or “al-Aqsa Intifada”) broke out, shortly after Yasser Arafat rejected

Israel’s peace offer at the Camp David Summit convened by U.S. President Bill Clinton in July

2000. In response, Arafat greenlit an outbreak of violence which he neither wanted, nor appeared

capable, to control.

       96.      This period was a key turning point in Hamas’s history.

       97.      Soon after the initial PA-sponsored violence broke out, Hamas, Palestinian Islamic

Jihad, and the PA’s ruling faction, Fatah, all began launching terrorist attacks on Israeli civilian

centers, military installations, vehicles, and civilians through suicide bombings, drive-by shootings,

and rocket launchings, which ultimately killed over 1,000 Israelis and left thousands severely

wounded.




11
         Hamas has also been designated as a Specially Designated Global Terrorist under Executive Order 13224
since 2001.


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        98.      From September 2000 forward, support by the Palestinian public for Hamas grew

steadily.

        99.      For approximately the next four years after the outbreak of the conflict in 2000,

Hamas launched hundreds of terrorist attacks targeting civilians that killed and injured hundreds of

civilians, including numerous American citizens.

        100.     Between 2000 and 2005, 39.9% of the 135 suicide attacks perpetrated during the

Second Intifada were executed by Hamas.

        101.     Hamas’s improved political standing among the Palestinians was partially a result

of the work of its social and religious institutions which were a supportive framework for Hamas’s

terror activities, and which enjoyed a better reputation than the highly corrupt and sclerotic

institutions run by the PA.

        102.     At least in part because of the public perception that Hamas was leading the terror

campaign against Israel, it won elections at Palestinian universities and trade unions, and later,

municipal elections in May 2005.

            E.   Israel’s Disengagement from Gaza

        103.     Israel attempted to counter Palestinian violence during the Second Intifada in a

variety of ways. Most directly, it engaged in military operations in the Palestinian Territories to

destroy the terrorist infrastructure. The IDF launched a major incursion into areas of the West Bank

controlled by the PA in March-April 2002, following the March 22 Hamas suicide bombing of a

Passover seder at a Netanya hotel in which 30 were killed and 140 were wounded.

        104.     As a proactive measure, in 2003, the Government of Israel also approved the

building of a security fence intended to prevent Palestinian terrorists from reaching their civilian

targets inside Israel.


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       105.     In late 2003, then-Israeli Prime Minister Ariel Sharon announced a “disengagement

plan” that called for Israel to withdraw its soldiers and remove Israeli settlers from the Gaza Strip.

Since the beginning of the Second Intifada in 2000, Israel had lost 230 soldiers in Gaza alone.

       106.     Then-President George W. Bush declared the proposed withdrawal a “courageous

initiative” and noted, “this is the opportunity for the world to help the Palestinians stand up a

peaceful society and a hopeful society.”

       107.     The proposal was adopted by the Israeli government in June 2004, then approved

by Israel’s parliament in February 2005 as the Disengagement Plan Implementation Law. On

August 15, 2005, this plan was carried out in hopes of improving Israel’s security and subsequent

relationship with the Palestinians. Israeli enclaves in the Gaza Strip were dismantled, and over 8,000

Israelis from the Gaza Strip were relocated.

       108.     Complete sovereignty over the Gaza Strip was handed over to the PA by Israel.

       109.     During this period, a new buffer zone on the Gaza border with Egypt was created

along the Philadelphi Corridor, but on the day Israel completed its disengagement, large parts of

the iron fence marking the Gaza-Egypt border were breached and Gazans streamed into Egypt for

approximately eight weeks before the Egyptian government decided to seal the border again.

        F.      Hamas Wins the 2006 Elections

       110.     Palestinian legislative elections were held in January 2006 in the Palestinian

Territories, including the Gaza Strip, and Hamas succeeded in winning 74 seats, compared to the

PA’s ruling party, Fatah, which garnered 45.

       111.      For the first time since its formation, Hamas joined the Palestinian government.

       112.     The post-election government was formed under Hamas’s Ismail Haniyeh and was

the first time an Islamist group democratically took power in the Arab world.

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         113.   In 2006, Fatah and Hamas agreed to a short-lived national unity government to

govern the Palestinian Territories under unified PA authority.

         114.   During this brief attempt at unity, Hamas tried to change the Palestinian political

system from within and move the PA away from security cooperation with Israel and toward violent

competition with Israel in pursuit of its destruction and the creation in its place of a single, Islamic

state.

         115.   The PA’s dominant faction, Fatah, refused to hand over control of the PA security

agencies to the Interior Ministry in the Hamas-led new government. Hamas also refused to disarm

its terror apparatus (the Qassam Brigades) and recognize Israel and instead formed a government

without the participation of other Palestinian parties.

         116.   As discussed herein, in 2006, Hamas also kidnapped an Israeli soldier named Gilad

Shalit to Gaza, in a sophisticated attack along Gaza’s border with Israel. In response, Israel closed

most of the border-crossings except the Kerem Shalom crossing in the south.

         117.   The Shalit kidnapping not only spurred Israel to largely seal its border with Gaza,

but it also spurred the accelerated development of Hamas’s tunnel infrastructure—both for

smuggling and for military purposes.

 III.     HAMAS SEIZES AND MAINTAINS CONTROL OF THE GAZA STRIP (2007 -
          2023)

         118.   In 2007, Hamas turned its guns on its fellow Palestinians and seized control of the

Gaza Strip.

         119.   Between January 2006 and June 6, 2007, more than 600 Palestinians were killed in

factional fighting. And from June 7, 2007, through June 14, 2007, more than 160 Palestinians were

killed, and at least 700 injured, during Hamas’s seizure of power in Gaza.



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       120.      Since the middle of June 2007, Hamas has been the de facto ruler in Gaza, assuming

control of its borders, creating its own police force, and taking control of all governmental

functions.

        A.       Integration of Governance and Terror Apparatus

       121.      Hamas’s organizational structure in Gaza integrated a form of civilian Islamist

governance together with its terror apparatus, the Qassam Brigades. Hamas asserted that it created

the Joint Operations Room in 2018, which functioned as the central command for all armed forces

in the Gaza Strip and brought together 12 different Palestinian terrorist organizations in the Gaza

Strip (all the “resistance factions” in Gaza) under Sinwar’s full control, operating under the

leadership of Mohammed Deif, the Chief Commander of the Qassam Brigades.12

                          1. Administrative State Operated by Hamas

       122.      A Political Bureau (or Executive Committee) of 19 members governed Hamas in

Gaza. The Executive Committee determines social, political, and military policies, in consultation

with the Shura (advisory) Council, which also elects the Executive Committee. The Shura Council

comprises members from three regions: Gaza, the West Bank, and the diaspora.

       123.      From 1996 until May 2017 the Chairman of the Hamas Political Bureau was Khaled

Mashal. Ismail Haniyeh then served as Chairman from May 2017 until his assassination in July

2024. The Shura Council then selected Yahya Sinwar as Chairman in August 2024, and he served

until he was killed on October 16, 2024.

       124.      Having lost two leaders in quick succession, Hamas has adopted a temporary model

of collective leadership made up of five members: the head of Shura Council, Muhammad Darwish;



12
         From at least July 2018 onward, all terrorist organizations in the Gaza Strip acted under the direction and
authorization of Hamas, including Palestinian Islamic Jihad (“PIJ”), Popular Front for the Liberation of Palestine
(“PFLP”), Al Aqsa Martyrs Brigade (“AAMB”) and the Popular Resistance Committees (“PRC”).
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the leaders of three regions: Khaled Mashal (External); Khalil al-Hayya (Gaza); and Zaher Jabareen

(West Bank); and Nizar Awadallah, the secretary-general of the Executive Committee.

                       2. Izz al-Din Qassam Brigades

       125.     The origins of the Qassam Brigades, Hamas’s core terror apparatus, date back to

the 1980s prior to the official founding of Hamas when the Muslim Brotherhood began to arm its

internal security apparatus in Gaza.

       126.     Hamas’s terror apparatus was formalized into the Qassam Brigades in January 1992

and has always been subordinate to Hamas’s political leadership.

       127.     The Qassam Brigades, particularly in the Gaza Strip, and before the October 7

Attack, numbered more than 30,000 terrorists. They were (and are) responsible for perpetrating

terror attacks for Hamas and murdered and injured more than 1,000 Israeli civilians and numerous

U.S. citizens even before October 7.

       128.     As described above, Hamas seized full control of the Gaza Strip in 2007 from the

Fatah-dominated PA using its Qassam Brigades and other paramilitaries to take over PA security

services in the Gaza Strip. It executed Fatah supporters after the 2007 takeover, raided the PA’s

former offices, and suppressed all threats to its rule through murder, torture, and indefinite

detention.

       129.     Hamas then started making concerted efforts to emulate Hezbollah’s operational

structures.

       130.     Like Hezbollah, the formidable terrorist organization that has dominated Lebanon

for three decades, Hamas had succeeded in subverting and ultimately taking over governmental

functions, and like Hezbollah it had grown from a lethal terrorist organization to a de facto

governing authority with a near monopoly on force and concrete control of territory.


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       131.     Hamas admiringly observed how Hezbollah had driven the IDF out of southern

Lebanon in 2000 and subsequently established the nascent Radwan Force. It also admired how,

unlike Hezbollah’s original Islamic Jihad Organization (“IJO”) cells, the Radwan Force operated

more like conventional army and special forces units, rather than terror cells.

       132.     Hamas’s Qassam Brigades, then led by Ahmed Jabari (assassinated by Israel on

November 14, 2012), Mohammed Deif, and Marwan Issa, watched these developments and began

attempting to replicate the Radwan Force and build its own semi-conventional forces as a strategic

offensive capability.

       133.     Emulating Hezbollah, Hamas began positioning military infrastructure in dense

population centers and in (and under) schools and hospitals; using civilians as human shields for

terrorist operatives (both to deter Israeli reprisals and to use the suffering of its own civilians to

place diplomatic pressure on Israel); directing rocket and mortar fire against Israeli population

centers; and conducting training exercises and public military displays both to improve the

organization’s operational readiness and as a propaganda tool to legitimize its rule.

       134.     Like Hezbollah, Hamas then began a transition from a purely terrorist organization

whose operational capabilities were the product of relatively small Qassam Brigades terror cells

operating covertly (under the overall command of the organization’s political leadership) to a more

expansive terrorist organization that controls territory and oversees and develops military forces

capable of launching significant rocket attacks on Israel, and one ultimately able to perpetrate the

October 7 Attack.

       135.     That transition was the product of: (1) Hamas’s sole control of Gaza’s territory

following the Israeli government’s withdrawal from Gaza in 2005 and Hamas’s violent takeover of

the Gaza Strip in 2007; (2) lessons Hamas learned in successive smaller scale conflicts with Israel

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between 2006 and 2021; and (3) guidance, training, and support from Iran’s Islamic Revolutionary

Guard Corps – Quds Force (“IRGC-QF”) and Hezbollah, including significant financial support,13

tactical training, intelligence sharing, strategic planning, and the provision of new, advanced

weapons to further threaten Israel.

                          3. Nukhba Forces

       136.      The Nukhba (“elite,” in Arabic) Forces are the special forces unit of the Qassam

Brigades. They were founded by Yahya Sinwar in 2013. Sinwar had taken overall control of the

leadership of the Qassam Brigades in late 2012 in the Gaza Strip (Mohammed Deif and Marwan

Issa remained their most senior operational commanders). Before then, Sinwar had been in Israeli

prison from 1988 to 2011 until he was released in the Gilad Shalit prisoner exchange.

       137.      Built in the image of Hezbollah’s Radwan Force, the unit was developed to conduct

specialized missions including infiltration operations, raids, and hostage-taking.

       138.      Members underwent rigorous selection and training in tactics, weapons handling,

and physical endurance.

       139.      The Nukhba Forces, which originally numbered 5,000 operatives, utilized Hamas’s

network of tunnels. Its recruits received specialized training such as paragliding, sabotage, and

intelligence courses in Lebanon, Iran and elsewhere.

       140.      The Nukhba Forces played a leading role in the surprise attack on Israel on October

7, 2023. It led the coordinated assault across the Gaza-Israel barrier, infiltrating Israeli communities

and military bases.




13
         Hamas also received financial support from Qatar, Turkey, and the Muslim Brotherhood’s global network of
“charities.”
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        B.      Hamas Control of the Gaza Economy

       141.     Since 2007, when Hamas first seized control of the Gaza Strip, it has ruled Gaza as

a hybrid totalitarian government and terrorist/criminal enterprise.

       142.     Initially, the PA remained the Gaza Strip’s largest employer, paying regular salaries

to the more than 70,000 government employees on its payroll, including those working for Hamas-

controlled government institutions in Gaza.

       143.     In response to Gaza’s isolation following Hamas’s takeover in 2007, the terrorist

organization moved to seize control over the smuggling routes through underground tunnels

running below Gaza’s border with Egypt, expand that smuggling tunnel network and collect taxes

on imported and smuggled goods coming through this economic pipeline, and, along the way,

achieve its goal of reducing Gaza’s economic dependence on Israel.

       144.     One published report described the tunnel economy in 2009 as follows:

                According to World Bank officials, 80 per cent of Gaza’s imports currently
                come through the tunnels. Once black-market smuggling had turned into
                Gaza’s formal trade, Hamas inspectors began to impose controls and
                licensing fees. Some tunnel merchants now operate a telephone order
                service and send out catalogues: office equipment ordered by phone arrives
                in 48 hours. “Goods move faster now than when Rafah terminal was open,”
                a businessman told me. With the rise in trade, prices have fallen. Egyptian
                goods cost less than Israel’s, sometimes even after Hamas and the
                smugglers have taken their cut. Petrol is half its pre-siege price.

       145.     Hamas controlled the network of tunnels built under the Philadelphi Corridor along

the Egyptian border, and by some estimates the tunnel economy grew to account for 80% of Gaza’s

trade with revenues estimated at US$1 billion annually at the time.

       146.     Over time, Hamas began to formalize its control over the smuggling tunnels, even

establishing a Tunnel Affairs Commission that, together with the Qassam Brigades, controlled and




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monitored those involved in the tunnel smuggling trade, and controlled and (most importantly)

taxed what came in and out of the tunnels.

       147.      At the same, Hamas never stopped attacking Israel, primarily by launching

indiscriminate rocket attacks on Israeli towns and cities, thereby ensuring that Gaza remained

isolated. Israel maintained a relatively strict blockade on goods entering from Israel into the Strip.

       148.      This allowed Hamas to further monopolize its control of Gaza’s private sector

economy, marginalize Gaza’s traditional small businesses and merchants, and create a new class of

nouveau riche closely tied to Hamas who benefited from monopolies Hamas put in place through

its control of the tunnel trade under the Philadelphi Corridor.

       149.      In addition, because Hamas exercised governmental control above ground as well

as below ground, everything from sales taxes to court fees to building permits fell under the terrorist

organization’s control.14

       150.      Hamas and the companies it controls monopolized lucrative sectors of the Gaza

economy by either imposing prohibitive taxes on competitors or directly involving themselves in

major economic projects. For example, Hamas participates in significant real estate and commercial

developments, and businesses that align with or are controlled by Hamas received preferential

treatment.

       151.      Given the size and prominence of Bashar Masri’s and the Corporate Defendants’

massive investments in Gaza after Hamas seized control of the Gaza Strip, those projects could not

have been commenced or completed without Hamas (1) approval, (2) receipt of payments (in the



14
        For example, prior to October 7, Hamas enforced a range of restrictive measures, including substantial taxes
and fees on imports and locally produced goods, including a reported 300% tax on cigarettes and other imported
goods.


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form of taxes and kickbacks), and (3) coordination in the construction of its attack tunnel

infrastructure.15

 IV.     HAMAS’S MASSIVE TUNNEL ENTERPRISE

         A.         Hamas Tunnel Typologies

        152.        Over time, several categories of Hamas tunnels have emerged:

                    (1) Smuggling Tunnels
                    (2) Command and Control Tunnels
                    (3) Attack Tunnels or Assault Tunnels (both crossing the border with Israel and
                        internal to Gaza)
                    (4) Rocket and Weapons Storage Tunnels
                    (5) Sea Access Tunnels.

        153.        Hamas’s “Smuggling Tunnels” have largely been confined to the areas adjacent to

the Egyptian border along the Philadelphi Corridor. Some of the tunnels are (or were) relatively

primitive and could be used for human trafficking and the movement of portable consumer goods.

Other smuggling tunnels involved complex engineering and were capable of smuggling large

volumes of weapons, including rocketry, as well as automobiles and larger durable goods.

        154.        “Command and Control Tunnels” refers to tunnel networks that include

subterranean Hamas headquarters, war rooms, command rooms, communications centers, and

bunkers designed to protect senior Hamas officials and their families in the event of airstrikes. This

underground tunnel network, spanning more than 500 kilometers, has been dubbed the Hamas

“Metro.”

        155.        “Attack Tunnels” or “Assault Tunnels” serve several purposes. Those constructed

inside the Gaza Strip were primarily designed to allow Hamas operatives (and those of other

terrorist organizations) to move freely and covertly underground and to exit through openings


 15
          None of the development projects at issue were situated along the Egyptian border, and none of the tunnels
 discussed herein were built for smuggling purposes.
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(shafts) that were prepared in advance. The Attack Tunnels allow Hamas terrorists to ambush IDF

forces during a ground assault and then retreat quickly.

       156.     Hamas built extensive tunnels crossing into Israel as well as a much larger tunnel

infrastructure inside Gaza.

       157.     During Operation Cast Lead in 2009 (discussed below), Hamas realized that when

its operatives emerge from their hiding areas to launch rockets into Israeli territory, the IDF’s

detection systems often identified the launch sites very quickly and destroyed them. Therefore,

Hamas’s tactics evolved, and it built a tunnel infrastructure whose purpose was to enable the

transportation and placement of rockets according to defined firing plans in each area. By

concealing the launch sites underground, Hamas was able to dramatically increase the short-term

survivability of its operatives and rocket launchers, improve its firing capabilities, and preserve

more rockets for future operations.

       158.     Hamas also developed tunnels used to conceal its terror infrastructure production

capabilities, including the manufacturing of explosives for explosive devices and lathes for rocket

production.

       159.     Hamas excavated and constructed underground workshops to produce rocket

engines, warheads, and mortar shells, store facilities for chemical materials, and build warehouses

for ready-to-use weapons awaiting transport and deployment in the field.

       160.     Hamas also invested in tunnels along and across the Gaza coastline to allow its

naval commando unit to enter the sea undetected by IDF surveillance to enable covert sea-based

infiltrations into Israel like the landing on Zikim Beach in Israel on October 7, 2023 (Hamas killed

at least eleven civilians and one soldier during the amphibious assault).

        B.      History and Evolution of Hamas’s Gaza Tunnel Networks

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        161.     The 14-kilometer-long border between Gaza and Egypt is known as the

“Philadelphi Corridor.” Soon after the 1979 peace agreement between Israel and Egypt, smuggling

tunnels were built to transit families on both sides of the border. Not long afterward, both goods

and drugs began to be smuggled from Egypt into Gaza through those tunnels.

        162.     Following the 1993 Oslo Accords, when the PA controlled the Gaza Strip, these

tunnels were also used to smuggle heavy weapons that were used to arm the PA’s military forces.

        163.     During the Second Intifada period (2000-2005) the IDF located and attempted to

disable or destroy approximately 120 tunnels, most of which were used for smuggling. However,

during this period, terrorist organizations in the Gaza Strip (including Hamas) began to convert

some tunnels to a new purpose—committing acts of terrorism and building and storing explosives.

        164.     After the IDF’s withdrawal from the Gaza Strip and the Philadelphi Corridor in

2005, many of the explosive and terror tunnels developed were directed toward the territory of the

State of Israel. In June 2006, using such a tunnel passing under the border with Israel, Hamas

operatives infiltrated the Kerem Shalom border area, conducted a coordinated attack, and

successfully kidnapped an IDF soldier named Gilad Shalit.

        165.     After 2006, Hamas intensified its smuggling efforts through the tunnels between

the Gaza Strip and Egypt to acquire rocket components and build complex underground rocket

launch sites. However, it invested most of its financial resources to clandestinely digging cross-

border assault tunnels.

        166.     Between 2012-2014, Hamas significantly developed its underground assault

infrastructure and established the aforementioned elite Nukhba Forces, tasked with training for

surprise penetration into Israeli territory.




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        167.     In January and October 2013, cross-border Hamas tunnels were discovered inside

Israeli territory—including one about a kilometer and a half long, stretching from the Khan Yunis

area in Gaza to an agricultural field close to Kibbutz Ein Hashlosha in Israel.

         C.      The Logistics of Tunnel Construction

        168.     Hamas’s vast tunnel networks throughout the Gaza Strip constitute an

unprecedented form of urban planning.

        169.     Hamas reportedly appointed a respected engineer, Dr. Muhamad Ziyara, to advise

and oversee the effort.

        170.     Dr. Ziyara holds a Ph.D. in engineering (and a master’s degree from Georgia Tech)

and was appointed as an engineering professor at the Islamic University of Gaza (one of Hamas’s

flagship institutions).

        171.     Dr. Ziyara served in two prominent capacities. He was the Palestinian Minister of

Public Works and Housing on behalf of the PA (2019-2024) and, reportedly at the direction of the

now-deceased Hamas leader Yahya Sinwar, taught special courses to Qassam Brigades operatives

on tunnel engineering. He also took part in the design and construction of the most important tunnels

constructed by Hamas.

        172.     In this capacity, he served as the unofficial “Dean” of Hamas’s tunnel program.

        173.     Defendant Bashar Masri, whose properties included significant Hamas attack

tunnel infrastructure, knows Dr. Ziyara personally and has met him on multiple occasions.




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         Bashar Masri (left); Muhamad Ziyara, the unofficial “Dean” of Hamas’s Tunnel Program (right)

       174.      While Dr. Ziyara provided training and guidance to the overall Hamas tunnel

enterprise, at the operational level, Hamas’s brigade commanders, battalion commanders, and

company commanders in each area were responsible for determining and defining the locations of

the tunnels in their sector, their routes, shaft exits, and operational purposes.

       175.      Hamas assigned an excavation officer responsible for the excavation activity and

the coordination required to carry it out in accordance with the operational plan developed by

Hamas’s engineers.

       176.      Building clandestine tunnels (often under dense urban areas) is a dangerous

undertaking, risking, e.g., cave-ins, ventilation issues, flooding, and the stability of the land and

structures above it.

       177.      It is also complex, usually involving a network of tunnels that are interconnected

with communication and electrical systems, feature various types of doors (according to the tunnels’

purposes and functions), and require a water supply as well as sewage drainage, ventilation, and

other systems.



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       178.     Hamas assigned a specific engineer to oversee each tunnel project and to address

the cross-section of soil layers and the geotechnical effects resulting from the excavation process

and to adapt the required route to the type of soil encountered during the dig. The engineers were

responsible for defining the depth of the tunnels and the slope of the excavation, locating failure

points, devising necessary engineering solutions, and measuring the tunnel route using dedicated

equipment.

       179.     Depending on the complexity of the project and the size of the above-ground

infrastructure under which the tunnel was built, either the engineer or a senior Hamas brigade or

battalion commander would work with the owner or tenant of the property to ensure the structural

integrity of the building above ground and the safety of the tunnel below it.

       180.     Most tunnel routes passed under land parcels that were owned and/or occupied by

residents of the Gaza Strip who were known to and affiliated with Hamas and trusted by the Qassam

Brigades command structure not to divulge the existence of the tunnel running under—and

frequently into—their properties.

       181.     During excavation, Hamas required the land and property owners to take care of all

of the needs of the excavators from the moment they arrived at the excavation site until they

completed the job, including full access to the above-ground site.

       182.     The excavators themselves were in almost all cases Hamas operatives who were

assigned to physically carry out the excavation.

       183.     Whenever feasible, Hamas engineers would conceal their excavation work and the

debris resulting from removing sand, dirt, and rock from the work area, such as by coordinating

their tunnel projects with seemingly legitimate construction projects undertaken above-ground, as

was the case with Masri’s three projects (as described below). The sight of heavy construction

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equipment, building supplies, and piles of dirt and debris are far less conspicuous at an active

construction site.

       184.     Hamas often would also have its workers construct extensive pergolas that would

provide shade and (more importantly) concealment from aerial surveillance for all of the displaced

dirt and debris until it could be discreetly disposed of.

       185.     In order to make the tunnels Hamas constructed in Gaza effective and allow for

rapid movement of men and equipment it was not sufficient to ensure that the tunnels were

structurally sound; they also required adequate lighting and ventilation to provide fresh air, remove

harmful gases, and moderate temperature (particularly given the routinely high surface

temperatures in Gaza), both of which required a reliable source of electricity. In many cases, that

power supply was provided by the property owners whose structures concealed the tunnels. For the

most part, Hamas appears to have reimbursed its collaborators for their costs, including electricity.

V.      ATTACKS PROMPTING MAJOR ISRAELI RETALIATIONS (2008 - 2021)

       186.     During more than 15 years of Hamas rule in Gaza, consistent with its core ideology

of waging Jihad against Israel, Hamas continually attacked Israel from its base in the Gaza Strip.

       187.     Rocket fire on Israeli civilian populations centers was the primary method used by

Hamas (and to a lesser degree by Palestinian Islamic Jihad and other terrorist organizations

operating in Gaza).

       188.     In addition, as discussed above, Hamas also invested considerable resources into

digging tunnels under the border with Israel to attack the Israeli border communities and Israeli

military patrols.

       189.     Periodically, Hamas would provoke a more extensive response to its violent tactics,

precipitating an IDF military campaign. As set forth below, these consisted primarily of airstrikes,

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but on several occasions also involved the introduction of IDF ground forces. Inducing Israel into

a military response was a routine Hamas strategy to maintain support within Palestinian society,

while isolating Israel internationally and attempting to demoralize Israel.

        190.     None of these operations lasted more than a few weeks, but because Defendants’

properties in Gaza were knowingly and deliberately used as Hamas rocket launching sites,

command centers or attack tunnel locations, they were periodically damaged by IDF airstrikes,

leading to a cyclical process by which Defendants invested, and foreign donors donated, funds to

rebuild damaged above-ground infrastructure while Hamas simultaneously did the same

underground, leading to successive rounds of airstrikes, refurbishment and renewed Hamas tunnel

activity.

        191.     Given this cyclical process, owners and operators of property situated over Hamas

attack tunnels within Gaza understood that the tunnels were used to attack Israel, as they often drew

airstrikes intended to suppress the rocket fire.

            A.   December 2008 - January 2009 – Operation Cast Lead

        192.     Operation Cast Lead was launched by the IDF following the end of a six-month

ceasefire between Israel and Hamas that had been in effect for much of 2008.

        193.     In the weeks before the operation, the IDF conducted a raid into Gaza on November

4, 2008, to destroy a Hamas tunnel being dug for the purpose of kidnapping Israeli soldiers.

        194.     Hamas responded by increasing rocket fire into southern Israel.

        195.     In the week before the operation, over 100 rockets and mortars were fired from

Gaza, leading the Israeli government to launch a major military response on December 27, 2008.




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        196.    An initial phase of intensive airstrikes targeting Hamas infrastructure, government

buildings, police stations, and rocket launching sites was followed by a limited ground invasion

that began on January 3, 2009, and ended with a unilateral Israeli ceasefire on January 18, 2009.

         B.     November 2012 – Operation Pillar of Defense

        197.    In the weeks before Operation Pillar of Defense, Hamas increased its rocket fire

from Gaza into southern Israel.

        198.    Then on November 10, 2012, an anti-tank missile was fired at an Israeli military

jeep patrolling inside Israeli territory near the Gaza border, wounding four soldiers. Israel responded

with tank fire and airstrikes.

        199.    Hamas and Palestinian Islamic Jihad then fired dozens of rockets into southern

Israel over several days.

        200.    On November 14, 2012, the Israeli Air Force responded with an airstrike that killed

Ahmed Jabari, the chief of Hamas’s Qassam Brigades. During the ensuing operation, Israel

conducted numerous airstrikes in Gaza while Hamas and other Palestinian terrorist organizations

fired hundreds of rockets into Israel, some reaching as far as Tel Aviv and Jerusalem for the first

time.

        201.    The operation ended after eight days with an Egyptian-brokered ceasefire.

         C.     July - August 2014 – Operation Protective Edge

        202.    Operation Protective Edge was a military operation conducted by Israel in the Gaza

Strip from July 8 to August 26, 2014.

        203.    The operation began in response to rocket fire from Hamas and other Palestinian

terrorist groups in Gaza into Israel.

        204.    It consisted of three main phases:

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                (1)    An initial air campaign targeting Hamas infrastructure and rocket
                       launch sites;
                (2)    A ground invasion focused on destroying tunnels used by terrorists
                       to infiltrate Israeli territory; and
                (3)    A final phase of continued airstrikes alongside diplomatic
                       negotiations.

       205.     The conflict resulted in significant casualties and extensive damage to Gaza’s

infrastructure and ended with a ceasefire agreement brokered by Egypt.

        D.      May 2021 – Operation Guardians of the Wall

       206.     Between May 7 and May 10, 2021, Hamas incited a series of confrontations

between Israeli police and Palestinian protesters at the Al-Aqsa Mosque compound on the Temple

Mount in Jerusalem.

       207.     On May 10, Hamas issued an ultimatum for Israel to withdraw security forces from

the Al-Aqsa compound. When the deadline passed, Hamas and other Palestinian terrorist

organizations in Gaza launched rockets toward Jerusalem and southern Israel.

       208.     Israel responded with airstrikes in Gaza, officially beginning Operation Guardian

of the Walls.

       209.     During the 11-day confrontation, Hamas and other Palestinian terrorist

organizations launched over 4,000 rockets from Gaza into Israel, and Israel responded with

airstrikes throughout Gaza.

       210.     The operation ended with an Egyptian-brokered ceasefire that took effect on May

21, 2021.

VI.     WITH DEFENDANTS’ ASSISTANCE, HAMAS DECEIVED ISRAELI
        INTELLIGENCE INTO BELIEVING ITS GAZA LEADERSHIP WAS
        PRIORITIZING ECONOMIC DEVELOPMENT OVER JIHAD

       211.     In early 2012, after his release from an Israeli prison, Yahya Sinwar was elected to

the Hamas Political Bureau in Gaza and appointed representative to the Qassam Brigades—the
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“War Minister” of Hamas. This appointment gave him a direct say in Hamas military policies

including developing military ties with Iran, Turkey, and other states, as well as directing Hamas’s

overall Jihad strategy.

        212.      After Israel assassinated Ahmad Jabri, then head of the Qassam Brigades on

November 14, 2012, Sinwar quickly gained full control of the Qassam Brigades. Five year later he

won the internal Hamas elections to become its leader in Gaza. On February 13, 2017, he was

appointed head of the Hamas Political Bureau.

        213.      As noted above, according to Hamas, it established the Joint Operations Room in

2018, which brought together 12 military divisions from different Palestinian terrorist organizations

in the Gaza Strip (all the “resistance factions” in Gaza) under Sinwar’s full control.

        214.      The headquarters of the Joint Operations Room effectively took on the role of a

general command for a regular terrorist “army” within the Gaza Strip, possessing the authority to

make critical decisions regarding the initiation of terrorist confrontations with Israel, including the

timing, location, and details of the attack, along with the forces that would participate from each

terror faction.

        215.      Despite their ideological commitment to Jihad against Israel, Sinwar and the Hamas

leadership strategically reached out to Israel through intermediaries, signaling their purported

willingness to pursue a state of security calm in return for the delivery of international aid to support

the economic development of the Gaza Strip.

        216.      On December 7, 2021, the Israeli Ministry of Defense finalized the construction of

a ground barrier surrounding the Gaza Strip, effectively hindering the excavation of Hamas attack

tunnels into Israel of the kind discovered in 2018 running from Defendants’ property toward

Kibbutz Nahal Oz.

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        217.     Consequently, Hamas revised its strategy, shifting from a tunnel-based invasion

plan to one involving an above-ground assault calling for the breach of the border fence.

        218.     To prepare for the attack, Hamas lulled the State of Israel into the false conception

that it had shifted from prioritizing terrorism (in Hamas’s parlance, “Jihad”) to prioritizing

governance and economic development, and only provoked Israel occasionally to maintain its

domestic credibility.

        219.     For example, in July 2020, Brigadier General Amit Sa’ar, then chief of the Israeli

Military Intelligence (“AMAN”) research division, considered the top expert on the Palestinian

arena, stated that:

                 Hamas has no interest in a confrontation with Israel. It is deterred. What
                 worries it the most is the economic situation in the Gaza Strip. … The state
                 component in Hamas’ concept is getting stronger. … From the beginning,
                 Hamas had two identities: a religious resistance organization and a national
                 movement. From 2007 (Hamas’ violent takeover of the Gaza Strip and the
                 expulsion of the Palestinian Authority), it also has the identity of the
                 sovereign in Gaza and is measured against it every day. The main shaper
                 that determines the reality of Hamas is the economy.

        220.     He went on to explain:

                 As long as [it] feels there is progress—projects, international money—
                 Hamas will bite [its] lips. And if [it] thinks there is no progress or that [it]
                 is being played with, [it] will signal. … As long as [it] thinks there is a
                 chance and conditions for a settlement, [it] is interested in keeping the
                 peace.

 (Emphasis added.)

        221.     In an October 9, 2020, interview with the Israeli newspaper, Yedioth Ahronoth, the

outgoing head of the IDF Military Intelligence’s research department, Brigadier General Dror

Shalom, said “Gaza is … not an existential challenge … we have built very significant capabilities

there,” and “we brought Hamas to a low point.”



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          222.   Masri and the Corporate Defendants assisted Hamas with a key element of this

deception—fostering a belief by Israeli intelligence, both before and especially after Israel’s May

2021 “Guardians of the Wall” operations, that Hamas’s Gaza leadership was deterred from

attacking Israel and was instead prioritizing economic development over its long-standing goal of

destroying Israel.

          223.   In early 2022, after fortifying its military force and conducting training that

included rehearsing an attack plan, Hamas entered a new stage of its strategic deception strategy

against Israel. This stage was characterized by the dissemination of messages that convinced Israel

that its tactics of coercion (threats to assassinate Hamas leaders) and rewards (economic

concessions to the Gaza Strip) were effectively achieving their intended purpose of restraining

Hamas and avoiding military confrontation.

          224.   The head of AMAN at the time, Major General Aharon Haliva, forecast in

September 2022 that “the peace with Hamas will be maintained for five years and [we will]

recognize in Gaza a process for economic stabilization that has the potential for long years of

peace.”

          225.   In December 2022, the Gazit Institute held a two-day conference titled

“Intelligence, Strategy, and Technology.” At the conference, Brigadier General Amit Sa’ar

remarked that “[i]t is precisely in the Gaza Strip that we are in a stable situation and there are

conditions to extend the interval of stability.”

          226.   He went on to explain one of the reasons for this stable situation: “Hamas

understands that in the coming years it will want to invest in Judea and Samaria, and therefore it is

better to quiet the focus on Gaza.”




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        227.    On January 13, 2023, in an interview broadcast on the Israeli TV Channel 12,

former Chief of Staff Lieutenant General Aviv Kochavi stated that “a loss to [Hamas’s] economy,

to workers … could definitely be a deterrent.”

        228.    While the Israeli leadership was led to believe there was no immediate threat to

Israel, thanks in part to initiatives such as Defendants’ economic development activities, the Hamas

leadership was actively preparing for the military invasion plan into Israeli territory starting in early

2022.

        229.    Based on a released recording by the spokesman for the Qassam Brigades, starting

in early 2022, Hamas made the decision to accelerate preparations for the implementation of the

military invasion plan into Israeli territory and implement a strategic deception toward Israel that

would allow it to improve its preparations for war while dissuading Israel from attacking the

military infrastructure in the Gaza Strip.

        230.    The misconception that Hamas’s Gaza leadership was interested in economic

development and maintaining the status quo continued through the eve of the October 7 Attack. As

a result, Israel’s military was undermanned, out of position, and poorly organized before the attacks

happened. For example, the IDF did not have a plan to respond to a large-scale Hamas attack on

Israeli soil. The units that the IDF deployed in the immediate area were primarily patrol units tasked

with monitoring the border and potentially responding to small-scale infiltrations by terrorists.

VII.     DEFENDANTS KNOWINGLY PROVIDED SUBSTANTIAL ASSISTANCE TO
         HAMAS

        231.    As the owners and operators of prominent business enterprises in Gaza, Masri and

the Corporate Defendants worked closely with Hamas, which exercised near-total control over the

Gazan economy. But Defendants did more than just passively allow their properties and money to

be appropriated by terrorists.
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        232.      Instead, they actively conspired with Hamas to develop new projects that were

central to maintaining and, indeed, expanding, Hamas’s terrorist infrastructure. Despite knowing of

Hamas’s near-total control of Gaza and its economy since 2007, Masri and the Corporate

Defendants affirmatively chose to work with Hamas. Defendants knowingly provided Hamas with

some of the infrastructure it would use on October 7, 2023, to carry out the most devastating terrorist

attack in Israel’s history.

        233.      To develop these projects, Defendants directly collaborated with Hamas’s terror

apparatus—the Qassam Brigades.

        234.      Three of Defendants’ properties were particularly central to their collaboration with

Hamas: the GIE, the Blue Beach Hotel, and the Al Mashtal Hotel.

        235.      Defendants worked closely with Hamas to facilitate its use of their properties for

terrorist activities over the course of many years and coordinated directly with Hamas leadership to

construct terror infrastructure.

         A.       Defendants Partnered with Hamas to Redevelop the GIE

        236.      The financing Defendants solicited and obtained from institutions in the United

States was critical to their assistance to Hamas.

        237.      This financing, much of it indirectly funded by U.S. taxpayers, was, on information

and belief, made from and through New York and Washington, DC, bank accounts.

        238.      Defendants went to great lengths to appeal to, among others, U.S.-based donor

institutions like USAID, IFC and MIGA, apply for funding (and insurance) from them in the U.S.,

and receive the funds necessary to develop both the GIE and later, the Hamas infrastructure within

(and below) it.




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                 1. USAID Helps Defendants Launch the GIE

       239.      Under Bashar Masri’s leadership and with financing provided by USAID, the

World Bank,16 the European Investment Bank, and the European Union, PADICO began

developing the GIE in 1997 through its subsidiary, Defendant Palestinian Industrial Estate

Development Company (“PIEDCO”).

       240.      The year before, PIEDCO had signed a concession agreement with the PA for a 49-

year period with eligibility for an extension of another 49 years.

       241.      The GIE is situated four kilometers from the center of Gaza City adjacent to the

Karni crossing into Israel and only a few hundred meters from Kibbutz Nahal Oz, which was

brutally attacked on October 7.

       242.      It is an industrial park consisting of approximately 480,000 square meters.

       243.      For more than 25 years, USAID and other international donors hoped the GIE

would serve as a model for private commercial development in Gaza and the normalization and

streamlining of trade between Gaza and Israel through the Karni crossing, a few hundred meters

from the site.

       244.      According to the Clinton-Gore Administration History Project:

                 The Gaza Industrial Estate opened in 1998 as a facility designed to support
                 the expansion of industrial production and jobs in the Gaza Strip. In addition
                 to providing funds for the construction of key installations at the estate,
                 [USAID] supported development of a legal framework and institutional
                 environment conducive to promoting investment at all industrial estates
                 planned for the West Bank and Gaza.




16
         The total project cost was originally estimated at US$84.5 million. The World Bank-supported components
(US$10 million) represented about 12% of total project costs which, it claims, “focused on off-site infrastructure,
capacity building, and project management.”


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       245.     The GIE industrial park purported to host pharmaceutical, cosmetics, woodworks,

plastic manufacturing, food and beverages, furniture, textiles and clothing, printing, and packaging

industries.




                             Aerial view of the Gaza Industrial Estate in 2023

       246.     However, Hamas attacked Israeli border officials on multiple occasions during the

Second Intifada, leading to temporary shutdowns of the Karni crossing, which was vital to the

success of the GIE.

       247.     In May 2007, Hamas initiated mortar and small arms attacks on the PA’s

Presidential Guard training camp (located near the GIE).

       248.     In the 15 years preceding the October 7 Attack, it became increasingly clear that

the GIE was not only situated in close proximity to various Hamas acts of terrorism but was also a

staging ground for these violent operations.




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       249.      During Operation Cast Lead, in December 2008, the IDF struck multiple targets

inside the GIE because parts of the facility were being used as a military asset by the Qassam

Brigades.

       250.      By 2011, Israel effectively shut down the Karni crossing because of Hamas’s

ongoing terrorist activities in the Gaza Strip and the danger the crossing and the transfer of goods

posed to Israeli security.

       251.      Following the abduction and murder of three Israeli teenagers and a Hamas rocket

barrage on Israeli cities, the IDF launched Operation Protective Edge in July-August 2014.

       252.      During the ensuing conflict, the IDF once again targeted parts of the GIE facility

being used by the Qassam Brigades.

       253.      According to the UN,17 the GIE “was severely destroyed during the 2014 hostilities.

The desalination plant was damaged and was out of order, 16 out of 24 transformer rooms were

demolished, one water well was targeted, the sewage treatment plant was also destroyed in addition

to most of the lighting poles and cables.” The UN estimated the damage at $5 million.

       254.      Beginning in September 2016 and continuing through 2019, with financial support

from the UN Development Program and the European Commission—and in coordination with

Hamas—Defendants rebuilt much of the GIE’s water and energy infrastructure. The Coca-Cola

Company and the Palestinian National Beverage Company (“NBC”) jointly opened a $20 million

bottling plant on the premises.

       255.      The successful pitching for grants from both the UN Development Program and

later the IFC (and MIGA) served multiple purposes beyond the obvious benefits of obtaining

financing. Masri, and by extension the other Defendants, burnished their image through these


17
        UN statistics and assessments set forth herein are not offered as empirical facts.
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projects and provided the GIE with a guise under which it coordinated with Hamas on its

subterranean construction activities under the protective umbrella of prestigious international

organizations. This cemented their appearance as vehicles for economic growth, “green”

investments and “good governance”—catnip to international donors and a significant deterrent to

Israeli countermeasures against Hamas at the site.

       256.     The post-2014 funding from the UN Development Program and other international

agencies helped “reconstruct” the GIE while simultaneously concealing the excavation and

construction of an extensive Qassam Brigades attack tunnel built under it.

       257.     According to the UN:

                Four complete tendering packages were produced and reviewed by UNDP
                senior engineers and rechecked on the ground. The packages were
                announced for local contractors through [the] UNDP site and the
                Contractors’ Union. Four contractors were identified to carry out the
                transformer[] rooms, external lighting, sewage and well rehabilitation and
                the desalination plant upgrading projects. The fifth package, which targeted
                the construction and drilling of a new water well, was signed later in
                September in 2018 following the approval of budget reallocation by the EU.
                The five contractors started the implementation process under UNDP’s
                direct supervision and quality assurance. All activities are implemented in
                close coordination with PIEFZA and PEIDCO in order to facilitate the
                movement of labours [sic] and engineers within the GIE premises, using
                well-planned security measures.

       258.     The UN did not disclose that Hamas controlled the “local contractors” and the

“Contractor’s Union”; nor did it describe the extensive Hamas attack tunnel built under the GIE in

2017-2018.

       259.     What is known is that much of the funding overseen by the UNDP was paid for by

the European Union and that the project—dubbed “Project Evaluation of the Rehabilitation and

Consolidation of the Gaza Industrial Estate Project”—was overseen by the unofficial “Dean” of




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Hamas’s tunnel project, the aforementioned Professor Muhamad Ziyara, who was named “Team

Leader.”18

       260.      Hamas tunnel construction of this kind required the active cooperation and

collaboration of the owners and operators of the above-ground infrastructure. As detailed above,

excavation “hosts” were required to take care of all the needs of the Hamas excavators working on

the tunnels from the moment they arrived at the excavation site until they completed the job,

including full access to the above-ground site.

       261.      In 2018, the IDF discovered the massive Hamas attack tunnel depicted below that

ran from within and underneath the GIE, across the border into Israel, near Kibbutz Nahal Oz.

       262.      The portion traversing Israeli territory was destroyed, but at least some of the tunnel

infrastructure under the GIE remained.




       263.      That is, Defendants knew of and assisted Hamas’s construction of an attack tunnel

into Israel. The GIE itself was part of Hamas’s attack infrastructure.


18
         The UNDP described Dr. Ziyara as “a contributor to advances in structural engineering, rehabilitation of
structures, construction materials, planning and management of construction and infrastructure projects,” and as
someone “with practical experience [that] covers vast range of subjects … includ[ing] reinforced concrete, steel and
stone structures, planning and design of infrastructure ….”
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       264.     In March of that same year (2018), Hamas launched the “Great March of Return,”

a series of violent demonstrations along the Gaza-Israel border. The purpose was to test Israel’s

response to mass assaults on the Gaza border fence.

       265.     On April 20, 2018, Hamas organized a violent protest in front of the GIE along the

border. (Hamas’s attack tunnel ran underground beneath the area where the border confrontation

took place.)




                           April 20, 2018, border confrontation in front of the GIE

       266.     On April 27, 2018, a large crowd estimated at between several hundred and several

thousand people rushed toward the Karni border crossing, after a speech delivered by Hamas leader

Ismail Radwan (reported by The New York Times) to rouse the crowd by exclaiming: “When we

are brave, we are getting closer toward martyrdom, martyrdom, martyrdom,” and “We say to Nikki

Haley, to Netanyahu, to the criminal Lieberman [referring, respectively, to the United States

ambassador to the United Nations, the Israeli prime minister, and Israel’s then-defense minister,

Avigdor Lieberman] we are afraid neither of death nor of martyrdom.”

       267.     The encampment from which this and other violent demonstrations were launched

at the crossing was located directly in front of the GIE.




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       268.       The border area in front of the GIE was, in fact, a key staging area used by Hamas

for the demonstrations it organized to probe the border fence and test the IDF’s reaction to potential

breaches.

       269.       For example, on March 30, 2019, on the first anniversary of the “Great March of

Return,” Hamas organized an estimated 40,000 protesters along the Gaza border, including in front

of the GIE, replete with ambulances.

       270.       On September 22, 2023—two weeks before the October 7 Attack—Hamas

organized yet another protest at the same location.

       271.       Like its predecessors, this confrontation was largely a media-driven event designed

to attract international attention. But it also served an important tactical purpose—testing IDF

security measures and response times in a key sector where a main thrust of the October 7 assault

would take place—and further lulling Israeli intelligence into complacency by convincing Israel

that Hamas was content with symbolic (if often violent) demonstrations along the border.

                  2. The World Bank’s International Finance Corporation in Washington, DC,
                     Helped Finance the GIE Solar Project Used to Power Hamas Attack
                     Tunnels

       272.       In 2017, Defendants began their initial plans to obtain funding from the IFC in

Washington, DC, for PRICO’s 7-megawatt peak rooftop photovoltaic solar energy project at the

Gaza Industrial Estate. The IFC is largely funded through capital provided by U.S. taxpayers.19

       273.       The project was expected to service the electricity needs of the GIE and connect to

Hamas’s Gaza Electricity Distribution Company (“GEDCO”) electrical grid.20


19
         The United States is the largest shareholder in the IFC, which means U.S. taxpayers indirectly contribute to
the IFC through the U.S. government’s capital contributions. Unlike direct foreign aid programs, taxpayer money is
not directly transferred to the IFC for its day-to-day operations.
20
         Electricity, like money, is fungible, and the resources Defendants provided to Hamas necessarily freed up
other resources that allowed Hamas to engage in additional terrorist activities.
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       274.      Led by Masri—and his long-cultivated image as a “visionary investor,”

American/Palestinian moderate, and “green energy” enthusiast—Defendants convinced the IFC in

Washington that the project would “enhance capacity building of local institutions to lay the

foundation for private sector participation and long-term growth,” support economic growth and

job creation, and improve the environment by providing “clean and cost competitive electricity”

and reducing greenhouse gas emissions in the process.




         Bashar Masri (far left) at ceremony promoting World Bank/ IFC Investment in the GIE Solar Project

       275.      The IFC was eager to fund the project “to demonstrate the commercial viability of

renewable energy investment in Gaza” and to “boost investor confidence and comfort” through the

IFC’s “presence and participation in the renewable energy program.”

       276.      In 2018, the IFC in Washington, DC, voted to approve what it described as a

“structured [] innovative debt financing package for the PRICO Solar project to promote the

installation of solar panels on the rooftops of several buildings belonging to the Gaza Industrial

Estate, Gaza’s largest business park.”21 PRICO sub-contracted the installation to PWSJV, a Nablus-

based firm approved by the IFC.


21
        The project was intended to run for five years. It was launched in 2017 but implemented in March 2021 and
extended until January 31, 2022.
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       277.    Seventy-five percent of the costs of the project were covered in one form or another

by the IFC.




                Masri at the GIE posing with solar panels that powered Hamas attack tunnels

       278.    That same firm also installed solar panels on the roof of the Blue Beach Hotel

(discussed below).

       279.    The solar panel installation project at the GIE successfully generated reliable

electricity for the light manufacturing companies with operations at the GIE but, with the full

knowledge and support of Defendants, the PWSJV installation on the site also provided reliable

electricity to the extensive Hamas attack tunnels underneath the GIE, powering the equipment

(including for construction machines, pumps, communications, etc.), lighting, and ventilation

needed to deploy Hamas terrorists below ground.

       280.    For example, the tunnels required significant ventilation systems to clear noxious

gases, given that the tunnel networks often concealed numerous operatives (filling the air with


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carbon dioxide), along with their equipment. The tunnels also required some form of sewage

system, and connectivity to power generators. In addition, during active operations, at least some

tunnels entrances were sealed most of the time for tactical reasons, preventing any natural air flow.

The “spider web” of interconnected tunnels sharing air therefore required energy-hungry ventilation

systems, making GIE’s sharing of solar power vital to the tunnels’ long-term operations.

        281.     In December 2019, Dr. Ziyara, Hamas’s unofficial “Dean” of tunnel engineering,

visited the GIE. He returned in July 2022 as part of a delegation from the Ministry of Public Works

and Housing touring the Siksik factory which manufactured plastic pipes.

        282.     Regardless of the stated purposes of Dr. Ziyara’s visits (including on behalf of the

UN), it is clear that Hamas regarded the GIE as an important military asset due to (1) its proximity

to the border and the kibbutz and nearby military base at Nahal Oz, (2) the road infrastructure

leading from Israel into Gaza which resulted from the area’s proximity to the Karni border crossing

(where goods and workers once crossed daily), and (3) the added protection of operating in an area

where a UN agency maintained warehouses and U.S. and international donors had invested

significant capital.

        283.     In fact, given the GIE’s proximity to the Israeli border, the former Karni crossing

and Kibbutz Nahal Oz and the nearby IDF base (which were overrun on October 7), Hamas’s

Qassam Brigades constructed or expanded two major attack tunnel branches after May 2022,

described below, in anticipation of ambushing IDF armor and infantry traversing the access roads

surrounding the GIE following the October 7 Attack.

        284.     In May 2021, during Operation Guardian of the Walls (discussed above), the IDF

launched airstrikes at Qassam Brigades targets inside the GIE.




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        285.      A PADICO press release issued on May 18, 2021, titled “Israeli aggression targets

Gaza Industrial City and destroys a number of factories,” reported airstrikes damaged 10 factories

in the GIE, adding: “What justification does the Israeli occupation fabricate for its aggression here?”

        286.      Masri, PADICO, and the other Corporate Defendants knew about the massive

Hamas attack tunnel constructed with their assistance under the GIE and that the “aggression” was

not “fabricated” but resulted from their own complicity in working with Hamas to construct and

hide tunnels under the GIE that were intended as a launch point for attacks on Israel.

        287.      According to the World Bank, the GIE “suffered significant damage as a result of

being directly hit on multiple occasions, resulting in an estimated US$ 20 – 25 million in damage

to facility structures, equipment, inventory, solar rooftop panels and operating equipment.”

        288.      But rather than desist from working with and shielding Hamas, Masri and the

Corporate Defendants doubled down on investing in the GIE and providing cover for Hamas’s use

of the GIE to prepare for the October 7 Attack.

        289.      According to its press statements, “with a budget exceeding $1 million, PADICO

built new structures” at the GIE following the airstrikes. And at Masri’s direction and with the help

of Massar and PADICO, PRICO obtained yet additional funding from the IFC in Washington, DC,

for a “green energy” initiative to fund a massive new solar panel project at the GIE.

        290.      At Masri’s direction and with the help of Massar and PADICO, PRICO also

obtained more than $6 million in insurance from “MIGA” in Washington, DC, to cover any damage

to the project.

        291.      Like the IFC, MIGA is a part of the World Bank Group and is headquartered in

Washington, DC. In securing insurance from MIGA, PRICO was required to submit a “Preliminary

Application” to MIGA at its Washington, DC, headquarters.

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       292.     Once “investment and financing plans” were established, PRICO was then required

to submit to MIGA in Washington, DC, a “Definitive Application along with any relevant project

documentation and a processing fee.”

       293.     According to MIGA: “The investor [PRICO] has applied for a guarantee under

MIGA’s West Bank and Gaza Investment Guarantee Trust Fund and under MIGA’s Conflict-

Affected and Fragile Economies Facility for up to $6.93 million for the equity investment in assets

for a period of up to 15 years against the risks of transfer and convertibility restrictions,

expropriation and war and civil disturbance, including temporary loss of income....”

       294.     In October 2021, the GIE solar project received the United Nations Global Climate

Action Award entitled “Self-Reliance” for its “environmentally friendly project.”

       295.     Further adding to the protective shield concealing Hamas activities at the GIE,

the United Nations Office for Project Services (“UNOPS”), a United Nations agency purportedly

dedicated to implementing humanitarian and development projects, maintained warehouses at the

GIE prior to October 7.

                3. Defendants Work with Hamas to Redevelop the GIE Before October 7

       296.     Hamas’s direct involvement in the GIE, including specifically in solar energy

projects partially funded by the IFC and insured by MIGA, is confirmed in several ways.

       297.     For example, Mofeed al-Hassayna (Hamas’s “Minister of Public Works and

Housing in Gaza”) and Masri appeared together at events promoting the project.

       298.     On May 25, 2022, Masri personally presided over the signing of a joint venture

agreement with Hamas to rebuild parts of the GIE. Masri represented PADICO and PRICO, and

Hamas’s Deputy Minister of Economy, Abdel Fattah Zrai’ (a/k/a Abed Al-Zeriei) attended the

signing in person and represented Hamas.

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                 Masri standing with Hamas leader Abdel Fattah Zrai’ at the signing ceremony

       299.     PADICO’s website quotes Hamas’s Zrai’ as saying at the ceremony: “We

appreciate the role of PADICO by its continuous investment and activation of the economic

movement through huge projects under the challenges and impediments that limit the capital

appetite to invest in Gaza Strip.”

       300.     He added that the presence of PADICO chairman Bashar Masri at the ceremony

affirmed the willingness of some investors to take risks to support their country.




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       301.     On November 21, 2022, one of the major tenants of the GIE, Siksik, again publicly

hosted Hamas’s Deputy Minister of Economy, Abdel Fattah Zrai’, at its factory in the GIE.22

       302.     Abdel Fattah Zrai’ was responsible within Hamas for both overseeing infrastructure

projects for the Qassam Brigades and overseeing the manufacturing division of Hamas’s terrorist

apparatus.

       303.     Zrai’ was killed by the IDF in 2024.

       304.     According to the IDF statement:




22
          Na’im Bashir Muhammad Siksik, the Chairman of the company, has been involved in Hamas’s version of
the local Chamber of Commerce at least since 2014.
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                Abed Al-Zeriei—a Hamas terrorist who stopped humanitarian aid from
                reaching Gazan civilians. Al-Zeriei was involved in the Manufacturing
                Department of Hamas’ Military Wing and Hamas’ Minister of Economy in
                Gaza. He had a significant role in directing Hamas’ efforts to seize control
                of humanitarian aid entering Gaza and in managing Hamas-controlled
                markets. Additionally, he was responsible for the distribution of fuel, gas,
                and funds for terrorist purposes.

        305.    On August 4, 2024, Hamas and the Qassam Brigades released an official statement

mourning the loss of Zrai’, whom they honored as “the leader, the Jihad fighter (mujahid), and

engineer.”

        306.    Hamas and (nominally) PRICO—with Masri’s public approval—jointly approved

the construction project which they awarded to the Qassam Brigades-affiliated Al Bayan Trading,

Industry and Contracting Company.

        307.    Under cover of the Al Bayan construction project and the IFC-funded and MIGA-

insured solar energy project, Hamas’s Qassam Brigades built (or rebuilt and expanded) two

significant attack tunnel branches after May 2022: one immediately across the street to the east of

the main cluster of solar paneled structures within the GIE and one along the north-south axis of

the GIE.

        308.    In both locations, once the new phase of the solar project was approved in 2022, Al

Bayan began constructing new buildings at the sites where Hamas attack tunnels were later

identified.

        309.    These construction sites helped to conceal Hamas’s attack tunnel excavations and

in the case of the southwestern tunnel system, the new construction was accompanied by the

presence of multiple pergolas, used to shield tunnel excavations from aerial reconnaissance.

        310.    In addition, an anti-tank battery was installed in a GIE water tower situated near

the entrance of the complex, facing Israel, as depicted below:

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        311.     Masri regularly visited his prized property, the GIE site—replete with Hamas attack

tunnels and Hamas anti-tank weaponry—including in January 2023 and on September 19, 2023,

just two weeks before October 7.

        312.     He proclaimed that the visit represented “important opportunities that align with

our vision at PADICO to stimulate the local economy in the Gaza Strip by intensifying investment

efforts. Such visits bring attention to various economic sectors and how to address the challenges

they face.”

        313.     In addition to assisting Hamas to build and conceal its attack tunnels and related

terrorist infrastructure at the GIE, Masri and the Corporate Defendants knowingly assisted Hamas

by providing it and its terror infrastructure with electricity.

        314.     The GIE’s solar energy infrastructure, partially financed by the IFC in Washington,

DC, consisted of more than 21,000 solar cells and initially generated 7.3 megawatts or about 18%

of the solar energy generated in the Gaza Strip prior to October 7. It also powered the Qassam




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Brigades’ attack tunnels that ran along two sides of the complex and provided Hamas additional

electricity for its other needs.23

        315.       Days before the October 7 Attack, PIEDCO installed a new Hamas-affiliated

chairman named Farid Sobeh Al-Qeeq, who served on the faculty of Hamas’s Islamic University

of Gaza (“IUG”) for more than 15 years, including as Dean of the Engineering Department (2015-

2017) and President of the university in 2020.

        316.       Al-Qeeq had long publicly advocated for complementary “Palestinian programs”

that included negotiation, political and diplomatic solutions and armed struggle (i.e., terrorism) that

should be pursued “along parallel lines to achieve our people’s right to freedom and

independence….” He had professional ties to Dr. Ziyara, the aforementioned fellow engineering

professor at IUG who taught special courses to Qassam Brigades operatives on tunnel engineering.

        317.       Al-Qeeq’s prior employer, the IUG, has been one of Hamas’s flagship institutions

for decades,24 and its senior staff all belong to Hamas.


 23
         Prior to October 7, Israel supplied approximately half of Gaza’s power (120 megawatts) much of it effectively
 provided free of charge. Gaza also had a single diesel power plant that generated an additional 65–75 MW, with fuel
 purchased from Israel and financed by Qatar.
 24
           Examples of international media identifying IUG as a Hamas institution date back three decades. For
 example, a May 3, 1994, article in the Los Angeles Times referred to the Islamic University of Gaza as “a Hamas
 stronghold.” The Miami Herald reported on November 27, 1994, on its front page: “Outside the white-walled Islamic
 University of Gaza, a center of Hamas support ….” A June 5, 2000, article in the Jerusalem Report (written by The
 New York Times correspondent Isabel Kershner) described “the Islamic University of Gaza (IUG), one of Hamas’s
 leading institutions, with prominent members of Hamas’s local political leadership, such as Dr. Mahmud Zahar and
 Dr. Abd al-Aziz Rantisi, on its staff.” An October 9, 2001, article by Lee Hockstader of The Washington Post observed
 that “Islamic University, with about 14,000 students, is a stronghold of Hamas, the Islamic Resistance Movement, a
 radical group that has carried out a string of suicide bombings against Israelis.” In 2007, the Arabic newspaper al-
 Mustaqbal described the IUG as “the main stronghold of Hamas in Gaza.” On May 29, 2007, the United States
 Department of Justice identified the Islamic University of Gaza as one of the entities that were part of the Hamas
 social infrastructure in the list of unindicted co-conspirators in the criminal case of the United States v. Holy Land
 Foundation, No. 3:04-cr-000240-L (N.D. Tex.). On February 28, 2010, the Boston Globe published an article titled
 “Hamas U.” reporting that: “the university is something else again: the brain trust and engine room of Hamas, the
 Islamist movement that governs Gaza and has been a standard-bearer in the renaissance of radical Islamist militant
 politics across the Middle East.” On August 2, 2014, The Independent (UK) reported that the Israel Defense Forces
 bombed the Islamic University of Gaza, claiming to strike a “weapons development centre.” The article notes that the


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       318.      On October 11, 2023, the Israel Defense Forces reported that it had targeted a

significant operational, political, and military hub of Hamas located at the Islamic University of

Gaza. According to the IDF, “Hamas transformed a university into a training camp for weapons

development and military intelligence.”

                 4. The GIE and the October 7 Attack

       319.      As noted above, two weeks prior to the October 7 Attack, Hamas staged yet another

protest in front of the GIE to test the IDF’s response and further probe weaknesses in border security

at the area around the Karni crossing.

       320.      In the very early hours on the morning of October 7, 2023, Hamas terrorists first

gathered in Sajaiya (a neighborhood to the northwest of the GIE) and began their route toward the

Karni crossing sector (adjacent to the GIE) as part of what Hamas dubbed “Operation 402.” One

group was on motorcycles, traveling in pairs. Other groups of engineers positioned near the north

end of the GIE were tasked with breaching the border fence and walled perimeter. Other contingents

(composed of platoons of various terrorist organizations) followed in trucks and other vehicles.

       321.      At 6:29 a.m., less than a mile away, both Kibbutz Nahal Oz and the IDF army base

nearby were hit with rocket and mortar shells from Gaza.

       322.      The shelling wrecked several houses, and the entire kibbutz lost electric power. By

a few minutes after 7 a.m., five motorcycles had reached the outside of the kibbutz.

       323.      Over the next several hours, 14 civilians, a police officer, and three IDF soldiers

were killed.

       324.      Hamas also kidnapped civilian hostages from the kibbutz.



IUG was “previously hit in the 2008 Gaza War, when the Israeli military again claimed that science facilities were
being used by Hamas to develop and store weapons.”


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        325.      At 1:30 p.m. an IDF Reconnaissance Unit arrived at the kibbutz and the attack was

slowly repelled, but not before Hamas seized nine hostages.

        326.      The remaining Hamas rapid assault teams traveled by motorcycle to the IDF base,

followed by a swarm of attackers in the second wave.

        327.      At least four different Palestinian terrorist organizations participated in the assault

on the base, totaling approximately 150-170 terrorists, from Hamas’s Qassam Brigades, Palestinian

Islamic Jihad’s Al-Quds Brigades, the Al-Aqsa Martyrs’ Brigades, and the Al-Ansar Brigades.

Another 450-850 terrorists broke through that sector of the border on October 7.

        328.      50 Israeli soldiers were killed and 10 were taken hostage.25

        329.      A Gaza-based photographer captured the scene of the death of one of Hamas’s

motorcycle teams at the GIE on October 7.




     Hamas operatives killed by IDF strike on October 7, 2023. The water towers of the GIE can be seen in the
                                                  background.

        330.      Under ordinary circumstances, because the GIE received international funding,

including from the IFC, MIGA, the UN, and the European Union and hosted warehouses leased by



25
          Itay Chen, whose estate and family are Plaintiffs, died defending Israel’s international border adjacent to the
base. For many long months he was thought to have been captured and taken alive to Gaza, but eventually the State
of Israel determined that Itay’s body had been taken back to Gaza.
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the UN, IDF targeting protocols would have required extensive review and approval before

approving airstrikes even in close proximity to this privileged facility.

       331.     However, the scale of the atrocities of October 7 compelled the IDF to launch a

ground assault on Hamas in Gaza. Because the Qassam Brigades tunnel installations at the GIE

were situated along important access roads in order to ambush IDF armor and infantry entering

Gaza, approvals were granted for targeted airstrikes on these installations in the days immediately

following the massacre.

        B.      Defendants Partnered with Hamas to Build and Refurbish the Al
                Mashtal Hotel, Including the Tunnel Beneath the Complex Used by the
                Qassam Brigades to Fire Rockets at Israel.

       332.     Bashar Masri owns the Ayan Hotel (formerly the Al Mashtal Hotel) through

PADICO, which nominally holds the property through its subsidiary Al Mashtal Tourism

Investment Company.26

       333.     Through intermediaries, PADICO purchased a controlling stake in the hotel prior

to 2011 with the approval of Hamas.

       334.     PADICO described the hotel venture as “in line with [its] commitment to …

promote the national economy in the Gaza Strip” and told its investors of “progress in several

projects including Al Mashtal Hotel….” It explained that PADICO’s operating expenses “soared

by 54.23% settling at $86.94 million in 2011 compared to $56.37 million in 2010 due to completing

the Gaza Strip Hotel—Al Mashtal—during 2011....”




26
         The Chairman of the Board of Directors of the company is Muhammad Fawzi Najjar who also serves as the
Director of PRICO. Wadie Muhammad Shaaban al-Masri served as the general manager of the Al Mashtal and Blue
Beach Hotels as well as a board member of the GIE.


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         335.      At the time the hotel opened, it was publicly known that it was built just 500 meters

north of a major Hamas “military” base belonging to the Qassam Brigades’ Shati Brigade.27

         336.      Already at that time (in 2011), Hamas used the hotel on a regular basis for events

and other activities, including hosting many of the terrorists released in the 2011 exchange for Gilat

Shalit, the Israeli soldier who was taken hostage in 2006.




     Terrorists released for IDF hostage Gilad Shalit posing for pictures poolside at the Al Mashtal Hotel in 2011

         337.      These included:

                   (1) Yusuf Musa Mahmud al-Khales (sentenced to life in prison for the
                       murder of an Israeli police officer);
                   (2) Hamuda Said Abd al-Rahim Salah (sentenced to 22 years in prison for
                       conspiracy to murder, planting a bomb and shooting people);
                   (3) Muhammad Musa Hussein Muhammad Taqatqa (sentenced to life in
                       prison for murder); and
                   (4) Ayad Dhiab Ahmed Abu Khizran (sentenced to life in prison for
                       murder).




27
        For example, an Israeli news broadcast regarding the opening of the hotel in 2011 casually noted its
immediate proximity to the Qassam Brigades’ base. On August 8, 2011, the Guardian similarly noted that the “al-
Mashtal doesn’t have tourists and sits next to a military training camp….”
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       338.     In 2013, Wadie Al-Masri (general manager) hosted Hamas’s “Minister for Tourism

and Antiquities” at the hotel and publicly thanked him for meeting the hotel’s needs.

       339.     Defendants undertook the initial development of the hotel in coordination with

Hamas, and it is likely that even the initial construction project helped to conceal Hamas’s

excavation and construction of a network of attack tunnels immediately below the hotel and

accessible from the hotel’s lower levels.

       340.     As noted above, nearly all Hamas tunnel projects were selected, in part, on the basis

that the above-ground hosts were reliable allies of Hamas, in order to ensure the hosts provide

logistical assistance to the Hamas engineer and excavation team throughout the tunneling process.

       341.     During Hamas’s July-August 2014 terror campaign, the Al Mashtal Hotel (and the

tunnel network below it) was used to launch rockets at Israel. The hotel itself was used as a Hamas

command center because the presence of foreign aid workers and international journalists initially

shielded the hotel from being targeted by the IDF.




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        342.     The hotel provided extremely useful cover for the Qassam Brigades both because

it was a prominent hotel that hosted foreign “dignitaries” and because the letters “UN” and “EU”

were painted on the hotel’s roof, as indicated below.




        343.     The use of UN and EU signage on the roof were intended to be visible to Israeli

aircraft and satellites, to deter Israel from attacking facilities that purportedly housed UN and EU

offices and personnel.

        344.     Indeed, during the conflict, Hamas operated openly within the hotel, utilizing it as

a base due to the presence of international media and the UN and EU insignia, which effectively

shielded it from Israeli airstrikes.

        345.     The media were denied access to certain restricted areas, particularly the basement

level of the hotel.

        346.     Nevertheless, once it became clear that Hamas was using the hotel to launch rockets

at civilian population centers in Israel, the IDF’s legal department and Office of the Chief of Staff

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approved strikes on the rocket launching sites across the street to suppress the rocket fire. These

launch sites were fed by the tunnel system under and accessible from the hotel itself.

       347.     The IDF’s effort to suppress the rocket fire also caused significant secondary

damage to the hotel.

       348.     At some point after the damage caused by the 2014 conflict, Masri and the

Corporate Defendants obtained permission from Hamas to commence another renovation that once

again included refurbishing Hamas’s tunnel network under the hotel.

       349.     Under Masri’s guidance, the renovated hotel thereafter once again served as a

premiere venue for international aid organizations, foreign corporations, and diplomats,28 as well

as for Hamas-sponsored events.

       350.     These included social events like the hosting of weddings for senior Hamas officials

as well as “official” ceremonies like the 2021 hosting of the head of Egyptian Intelligence, an event

hosted at the hotel by Yahya Sinwar, Hamas’s leader in Gaza, and his deputy, Khalil Hayya.

       351.     Rawhi Mushtaha, a member of Hamas’s Political Bureau and a Specially

Designated Global Terrorist, visited the hotel on multiple occasions.

       352.     More importantly, once again, the hotel provided extremely useful cover for the

Qassam Brigades, as a favorite site for the World Bank, USAID, and the European Union and as

Gaza’s most prominent hotel for foreign VIPs, journalists and NGOs, making it all but off-limits to

IDF strikes (under conditions prevailing before October 7, 2023).

       353.     The tunnel running under and into the hotel allowed Hamas to store rockets and

move Qassam Brigades operatives from the relative safety of the hotel’s underground passages to



28
         For example, Mohammed al-Emadi, the Qatari envoy to the Gaza Strip responsible for facilitating the
transport of Qatari money to Hamas in Gaza, maintained an office in the hotel.
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the prepositioned launch areas in the parking area west of the hotel’s main entrance and across the

street some 100 – 150 meters north. Hamas would later launch rockets at Israel on October 7 from

this site as part of its diversionary tactics to conceal its ground invasion and confuse the IDF and

delay its response.




                   Hamas’s attack tunnels ran under the Al Mashtal Hotel across the street to a rocket launch site

          354.   With Masri’s full knowledge and approval, the Corporate Defendants contracted

with the Qassam Brigades-affiliated construction company Al Bayan Contracting to help redevelop

and refurbish the Al Mashtal Hotel—a project completed only three months before the October 7

Attack.

          355.   Moreover, as discussed above, because the construction of these tunnels poses the

potential risk of destabilizing large structures situated above them, the Qassam Brigades had to

coordinate their work with Defendants to better ensure the continued structural integrity of the hotel

during and after construction and reconstruction of the tunnel network.




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        356.     The above-ground renovations also provided concealment for the Qassam

Brigades’ tunnel excavations, as the presence of heavy construction equipment and of large

quantities of debris attracts less notice when there is a credible reason for their appearance on site.

        357.     In addition, given the logistics of not only excavating tunnel passages and removing

debris during the project but also the need for Hamas operatives to familiarize themselves with the

interior of the hotel and train for the deployment of the rocket teams that would use the tunnel

complex whenever Hamas decided to attack Israel, none of these terrorist activities could go

unnoticed by hotel management.

        358.     Considering the events of July and August 2014 when the hotel was used as a

Hamas command center and the hotel’s Hamas tunnel infrastructure was used to launch rockets at

Israel and the consequent damage to the hotel that resulted, it is clear that in continuing to invest in

the maintenance and renovation of the hotel in the lead up to October 7, Masri and the Corporate

Defendants made a conscious decision to work with Hamas to build out their attack tunnel system

and provide (1) their facilities to Hamas, (2) logistical support (including electricity and hotel

access) to Hamas’s attack tunnels, and (3) important cover for Hamas’s terrorist activities—

including its regular rocket fire on Israeli civilians.

        359.     Despite all the foregoing, the Ayan Hotel was renovated and rebranded in 2023,

and Masri visited the hotel on multiple occasions, including January and September 2023, just prior

to Hamas’s invasion of southern Israel.

        360.     Masri exercised “hands-on” control of the hotel, using it (along with the GIE) as a

centerpiece of his public profile as a leading entrepreneur and investor in Gaza and as a venue to

showcase his role as a business leader and innovator committed to working and investing in Gaza

(with Hamas).

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         361.     For example, in September 2023, a few weeks before October 7, Masri announced

his “Energy of hope” program at a conference held at the hotel stating:

                  I announced today the “Taqa Amal” project in the Gaza Strip at a cost of
                  $60 million to generate clean additional electricity that alleviates the
                  suffering of our people.... We continue in PADICO with development and
                  investment in our beloved homeland….

         362.     As it did in 2014, prior to the October 7 Attack, the hotel maintained the giant

insignia on its roof, including “UN.”

         363.     On October 7 and thereafter, Hamas used the tunnel complex under and through

the hotel to launch rocket attacks on Israel. Nearly 4,000 rockets and mortars were fired from Gaza

on that day.

         364.     After October 7, when the IDF ground forces entered Gaza, the rocket launching

sites across from the hotel that depended on the tunnel network under the hotel were destroyed, and

Hamas gunmen fought a pitched battle against Israeli troops from inside the hotel, causing

substantial damage to the hotel’s interior and eventually the hotel’s destruction.

         365.     When the IDF’s Nahal Brigade’s 932nd Battalion reached the hotel complex, Hamas

operatives opened fire from a children’s play area on the premises (not far from the hotel’s pool

area).

         366.     When they gained control of the play area, the IDF recovered a weapons cache and

discovered a tunnel shaft linked to the attack tunnels beneath the hotel complex.29

         367.     Subsequent searches of the hotel’s rooms found a variety of weapons, including

rifles, ammunition, and mortars.




29
          See, e.g., https://www.youtube.com/watch?v=5nc3IKpgca0.


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       368.      In fact, both the Blue Beach Hotel and Ayan Hotel were strategically situated at the

edge of the Shati refugee camp30 in close proximity to the home base of the Qassam Brigades’

“Shati Brigade” – a main base of Hamas terror operations.31 Hence, the tunnel and terror

infrastructure developed in and under the hotels was of particular strategic importance to Hamas.

       369.      After the IDF’s post-October 7 operations destroyed the hotel, PADICO issued a

statement asserting that, “[t]he Ayan Hotel was bombed and eventually completely destroyed in

late 2023 during the aggression on the Gaza Strip.”

       370.      The statement made no reference to the October 7 Attack, the tunnel network

beneath the hotel, or Hamas’s use of the premises as a staging area for attacks on Israel.

        C.       Defendants Partnered with Hamas to Build and Refurbish the Blue Beach
                 Hotel and its Attack Tunnel Complex.

       371.      PADICO effectively owns the 160-room Blue Beach Hotel and controls its

operations.32

       372.      The Blue Beach Hotel complex sits directly on the Gaza shoreline across the street

from the Ayan Hotel (formerly the Al Mashtal Hotel) and diagonally across from the Qassam

Brigades’ “Badr Base,” a Hamas training facility where the Brigades trained their version of Navy

SEALs.33




30
         In the Palestinian Territories prior to October 2023, a “refugee camp” did not signify a place with tents or
other temporary housing but rather denoted a densely populated area more akin to an urban housing project in the U.S.
31
         Hamas’s Shati Battalion was responsible for attacking Nahal Oz on October 7. Prior to the attack, the Shati
Battalion was one of six Hamas battalion in the Gaza City Brigade. The Battalion’s primary role was to defend against
an IDF attack from the sea and to prevent IDF forces from advancing from the coast into the heart of Gaza City.
32
         In fact, PADICO’s 2022 audited financial statement lists among its intangible assets, “the right to benefit
from the coast land – Blue Beach – Gaza.”
33
        A Hamas “SEAL Team” landed on Zikim Beach in Israel on October 7.
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        373.     Like the Ayan Hotel discussed below, Masri and PADICO oversaw the Blue Beach

Hotel’s renovations (through PRICO) and promoted it as a luxury hotel for use by local VIPs (i.e.,

senior Hamas officials) and international visitors.

        374.     In keeping with Masri’s emphasis on “green energy,” in 2016, PRICO installed

solar panels comprehensively on the roof of the buildings constituting the Blue Beach Hotel

complex which were used to power the hotel’s operations and the tunnel infrastructure beneath it.

        375.     By agreement with Hamas, the Blue Beach Hotel provided excess electricity it

generated to Gaza’s main energy grid.

        376.     More notably, the Blue Beach Hotel complex also featured an underground network

of tunnels with at least seven separate shafts accessible on the premises, including one that provided

direct access to the beach and sea (for the benefit of the Qassam Brigades’ “Navy SEALs”), one

that exited the tunnel system next to a large mosque just north of the hotel complex, one that

connected to the Al Mashtal Hotel tunnel complex’s rocket-launching site, and one that provided

access to at least one guest room inside the hotel itself.

        377.     Upon information and belief, the Hamas strike team that set out in four speed boats

for Zikim Beach on October 7 was trained at the Badr Base and used the hotel tunnel complex to

access the sea as part of its training.34




 34
         Hamas murdered 18 individuals at Zikim Beach, 17 civilians, and one military personnel.
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                       Illustration of Hamas attack tunnel footprint linking Defendants’ resorts

       378.     Hamas’s tunnel infrastructure beneath the hotel was likely excavated after the hotel

was initially constructed—sometime after 2017. The process would have involved Hamas

operatives arriving daily to drop off and pick up the excavators, and to examine the progress of

tunnel excavation. Hamas’s on-site engineer would have been regularly present together with

deliveries of concrete, heavy machinery, and the removal of excess dirt and debris.

       379.     Tunnel construction involves displacement of significant amounts of earth and rock

which must be removed (shielded from Israeli surveillance, if possible). A common Hamas

procedure was to erect temporary covered areas like shaded pergolas to help disguise excavations

related to tunnel excavation and expansion.

       380.     Given the fact that the Blue Beach Hotel was perched on a bluff above the Gaza

beachfront and the extensive nature of the tunnel system burrowed below it and the fact that it was


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excavated at least in part on the grounds of the hotel itself (and even directly into individual hotel

rooms), Defendants plainly knew of and assisted in the construction of the Qassam Brigades’ tunnel

complex beneath the hotel.35

       381.       Moreover, because the construction of these tunnels poses the potential risk of

destabilizing large structures situated above them (particularly on sandy soil), the Qassam Brigades

necessarily coordinated their work with Defendants to better ensure the continued structural

integrity of the hotel complex—and the tunnels—during and after construction of the tunnel

network.

       382.       The Blue Beach Hotel’s roofs were covered by solar panels installed by the same

company that installed the IFC-financed solar power project at the GIE, and like the GIE, the

electricity generated by the solar panels was shared with Hamas for its subterranean tunnels.

       383.       Much like the GIE, the tunnel system below the Blue Beach Hotel and Ayan Hotel

complexes was designed, at least in part, to create a “kill zone” for IDF forces that would inevitably

target the Qassam Brigades’ Badr Base nearby.36

       384.       In fact, when the IDF did eventually reach the area after October 7, Hamas used the

Blue Beach Hotel complex as a base of operations for ambushing Israeli troops, and the IDF had to

storm the hotel to secure the area.

       385.       According to the IDF’s social media account on X:



35
          See, e.g., https://www.youtube.com/watch?v=56yGe2NNw6w. The depth of the tunnels beneath the Blue
Beach Hotel had to be shallow due to the hotel’s proximity to the seashore and water table. Therefore, the excavation
of the tunnel was performed close to the surface of the hotel’s lowest level.
36
          In addition to the children’s play area located at the Ayan Hotel complex (discussed above) the area
surrounding the Badr Base was dotted with schools used by Hamas to shield attack tunnels and store weapons as part
of a larger tactical schematic to draw in IDF forces and move Hamas terrorists below ground to create lethal fields of
fire.


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                IDF troops operated at a Hamas terrorist quarters under the Blue Beach
                Hotel by the beach in northern Gaza, using a range of methods and
                destroyed the infrastructure earlier this week. Hamas terrorists exploited the
                hotel, from where they planned and executed attacks both above and below
                ground. Many weapons were found under the hotel, including AK-47
                assault rifles, explosives and drones. During the course of combat, dozens
                of Hamas terrorists entrenched in the hotel fired anti-tank missiles at IDF
                forces, who returned fire. During the forces’ operations in the hotel’s area,
                the soldiers encountered and eliminated terrorists.

        D.      Defendants Have Blamed Israel for the Destruction of Their Properties

       386.     Masri and the Corporate Defendants chose not only to invest in Gaza after it came

under Hamas’s control once they fully understood that all major business operations in the Strip

would require the involvement of Hamas (both formally in the form of taxes, permits, and licenses

and informally in kickbacks to Hamas officials).They repeatedly invested more money and attracted

foreign financial aid and investment for projects at sites that were repeatedly (1) used by Hamas for

terrorist activities and (2) damaged by Israeli strikes as a result of Hamas’s use of those same sites

for terrorist purposes.

       387.     Defendants were aware of the IDF’s repeated targeting of terrorist activities

occurring on their properties but continued to invest in them, and by extension, the tunnel

infrastructure below them.

       388.     After the IDF struck the GIE during Operation Guardian of the Walls in May 2021,

PIEDCO’s chief, Khaled Anabtawi, was quoted in a PADICO press release as claiming that “the

Israeli occupation targeted on two consecutive days the [Gaza Industrial Estate], with several raids

launched by the occupation’s warplanes and artillery, which led to severe damage of more than 10

factories” and that “the Israeli raids on the Industrial city caused severe damage to the electric power

generation from solar energy on the roofs of buildings project.”




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       389.     Ignoring the presence of Hamas attack tunnels that Defendants helped excavate and

power, PADICO announced that “Anabtawi held the Israeli occupation authorities accountable for

all the damage to the Gaza Industrial City” and wondered “what justification is the Israeli

occupation using to fabricate its aggression here?”

       390.     In October 2021, after the GIE received a United Nations Global Climate Action

Award, PADICO issued a press release quoting Masri as stating that:

                This award is to our steadfast people in Gaza Strip living under the siege
                with patience after the destruction to heal their wounds. This strategic
                project has been launched to alleviate their sufferings and to contribute to
                strengthening the economic structure there, despite the destruction of a large
                part of it during the last aggression on the Gaza Strip, which incurred Gaza
                Industrial Estate losses exceeding $12 million.

       391.     After October 7, in his capacity as chairman of the board of PADICO, Masri also

released a statement acknowledging that the “scale of the damages and losses suffered by

PADICO’s investments in the Gaza Strip is significant, as reflected in the preliminary financial

statements for the year 2023.”

       392.     PADICO’s Preliminary Financial Statement goes on to say:

                The aggression on the Gaza Strip resulted in the destruction of the Ayan
                Hotel (formerly Al-Mashtal), the biggest five-star hotel located on the
                northern coast of Gaza City, which had recently undergone a multi-million-
                dollar renovation and rebranding and launched on 26 August 2023.
                Moreover, the entirety of the Blue Beach Resort facilities was also
                destroyed, in addition to the destruction of the Gaza Industrial Estate,
                including its entire solar energy project which was rebuilt in 2022 after one-
                third of it was destroyed in a previous aggression on the Gaza Strip in 2021;
                two months after production had begun.

       393.     The “previous aggression” referenced in this statement (i.e., Operation Guardian of

the Walls in May 2021), like previous Israeli strikes on properties owned by Masri and the

Corporate Defendants, was due to their extensive use by the Qassam Brigades.



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        394.     At the time these statements were made, Defendants were actively collaborating

with the Qassam Brigades. The fact that these same properties were damaged over and over again

after previous Hamas rocket barrages would have put even less complicit parties on notice that their

properties in Gaza were being used by Hamas for terrorist purposes.

        395.     In sum, and in addition to the foregoing, Defendants’ knowing assistance to Hamas

was substantial in at least five critical ways:

                 1) It provided infusions of capital into the Gaza Strip separate from
                    Hamas’s other illicit revenue streams (smuggling, Iranian and Qatari
                    funding, international NGOs).

                 2) It enhanced Hamas’s legitimacy as the rulers of the Gaza Strip by
                    normalizing and legitimizing commercial investments in a region
                    controlled by a Foreign Terrorist Organization.

                 3) It contributed to Hamas’s strategic deception by helping convince Israel
                    that Hamas’s primary focus (prior to October 7) was to stabilize the
                    Gaza economy and to allow entry to laborers from Gaza into Israel—a
                    deception whose success was necessary to Hamas’s ability to carry out
                    the October 7 Attack without advance detection.

                 4) It shielded and concealed Hamas’s terrorist activities at (and under)
                    Defendants’ development of various sites by attracting both
                    international development aid and cultivating their use by international
                    NGOs and corporations while clandestinely facilitating terrorist
                    activities.

                 5) It provided physical cover for the excavation and utilization of Hamas
                    attack tunnels and provided material support to Hamas’s Qassam
                    Brigades, including (solar based) electricity used to power its attack
                    tunnels.

         E.      Defendants Consistently Ignore the Events of October 7 or Deny Atrocities
                 Occurred

        396.     In an article published in the Palestinian daily newspaper Al-Quds on September

24, 2023, PADICO board member Dr. Dalal Iriqat emphasized that PADICO functions as an

ideological vehicle for “resistance” against Israel:

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                Since its founding in 1993, this [PADICO] company has been challenging
                the logic of borders and promoting sustainable economic development
                through investment in Palestine, specifically in the Gaza Strip…. These
                border areas are ripe for innovative entrepreneurship, adaptation, and
                muqawamah (resistance) if they are invested in and leverage their unstable
                geopolitical situation not only for survival or prosperity, but also in the hope
                of muqawamah (resisting) the reality of occupation through investment and
                innovation…. PADICO Holding has chosen to be a model for a
                muqawamah (resistance) economy, in a neoliberal global system focused
                on profit from investment.

       397.     On October 7, 2023, while the Hamas-led mass murder and rape in southern Israel

was unfolding, PADICO board member Dr. Iriqat posted on X that the attack was “just a normal

human struggle”:




       398.     In an article she published in the Palestinian daily newspaper Al Quds on October

8, 2023 (while Hamas Nukhba operatives were still fighting across southern Israel, especially at

Kibbutz Be’eri) Dr. Iriqat wrote:

                Resistance has exposed the occupying state. The resistance we are
                witnessing is simply a natural human struggle to achieve freedom and the
                most basic human rights. The Palestinian people, like all peoples, have the
                right to live with dignity, freedom, and independence, and they have the
                right to defend themselves, in accordance with Article 51 of the United
                Nations Charter.




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        399.      On October 9, 2023, Dr. Iriqat was interviewed on Al Jazeera and explained that

the October 7 Attack “is a Palestinian struggle for freedom. Diplomacy failed the Palestinian people

for 75 years….”

        400.      On October 9, 2023, Masri posted on Facebook: “Where are those who sing the

praises of humanity? What we are witnessing in Gaza now is not war and revenge, but a criminal

act.” At that point—two days after the October 7 massacres—Israel had not even regained full

control of its own territory, identified (let alone buried) most of those murdered on October 7, or

begun its ground assault into Gaza.

        401.      Dr. Iriqat declared on October 11, 2023, that “the right of muqawama [resistance]

is legitimate.”

        402.      On October 30, 2023, Dr. Iriqat justified the October 7 Attack as the result of “75

years under Israeli military occupation.” The “75 years” language parrots Hamas’s position that all

of Israel, from the UN partition plan forward, is “occupied” and implicitly rejects the existence of

Israel in its entirety.

        403.      Upon the release of an Israeli teenage hostage on November 28, 2023, who

managed to keep her dog alive with her in captivity, Dr. Iriqat posted on Facebook: “Even animals

are safe!!”, suggesting that Hamas’s abduction and torture of civilians was exaggerated.

        404.      On November 30, 2023, Dr. Iriqat again posted on X:

                  The industrial zone of #Gaza was targeted by Israeli missiles! A PADICO
                  mega project in Gaza that hosted factories and different manufacturing
                  outlets of food, juice, clothing, etc etc, the industrial zone stood as income
                  generating private sector project for so many civilians and business people.

        405.      The following day Dr. Iriqat posted an attack on CNN for reporting on the fact that

Hamas and its cohorts perpetrated many rapes and sexually mutilated many victims:



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           406.    On April 7, 2024, Masri posted a tribute on his Facebook account to a PFLP terrorist

who died of cancer in an Israeli prison while serving a life sentence for the 1984 murder of an Israeli

soldier.

           407.    The day after the September 27, 2024, IDF airstrike that killed Hezbollah’s supreme

leader, Hassan Nasrallah, PADICO board member Ruba Masrouji posted a picture on her Facebook

page of flowers with a decorative plate with Nasrallah’s image on it as a tribute to him.

           408.    Ms. Masrouji’s documented affinity for Hezbollah and other terrorists known for

murdering Jews dates back more than a decade.

           409.    In January 2009, Ms. Masrouji endorsed a petition advocating for the “Resistance,”

a term generally used in the region to refer to Hamas and the violent acts perpetrated by Hamas and

other terrorist groups.37 The petition stated, “Our firm stand [is] with our people and the Resistance




 37
           In the Middle East, the term “Resistance” when used in reference to Israel is used to refer to violent opposition
 to Israel. As noted above, Hamas’s full name is the Islamic Resistance Movement. Hezbollah’s main fundraising arm
 is the Islamic Resistance Support Association; Iran calls its stable of terrorist proxies surrounding Israel the “Axis of
 Resistance.”
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in the Gaza Strip, and our insistence [is] on supporting the steadfastness of our people in the face

of the barbaric Israeli aggression.”

       410.     On December 22, 2015, Ms. Masrouji published an article in which she mourned

the death of Samir Kuntar, a Lebanese terrorist convicted of several murders, including that of a

four-year-old Israeli girl. Upon his release from prison, he joined forces with Hezbollah to strategize

attacks on Israel from Syria. Ms. Masrouji lauded Kuntar, saying, “Rest in peace, Arab Guevara.

Your virtuous sacrifice will not be in vain,” and continued, “We are both proud and honored to

witness Hezbollah transform the power structure in our region.”

       411.     In another published article dated March 23, 2017, Ms. Masrouji asked rhetorically,

“Why do I hold the view that Palestine will be liberated in the next few years?” Her answer was

that “[t]he achievements and victories of the muqawamah [resistance movements] in Lebanon [i.e.,

Hezbollah] and Gaza [i.e., Hamas] have reinstated the younger generation’s belief in the truth and

the likelihood of success.”

       412.     On the one-year anniversary of the October 7 Attack (October 7, 2024), Ms.

Masrouji posted on Facebook: “On this day last year, the spark of revolution against the systematic

crimes of the occupation began. It is not only a day of history, but a slap in the face of the so-called

humanity they claim. It is a crime that has not and will not pass, and its reckoning will inevitably

come. A day made by the blood of free people, and what followed is a crime for which they will be

held accountable. Palestine will win.”

       413.     That post was followed by another on November 27, 2024, thanking Hezbollah for

its support: “To our brother Lebanon: Thank you for your sincere support for Palestine, and thank

you for the blood of your martyrs that mingled with the blood of our martyrs in the battle for dignity

and freedom.”

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        414.      In December 2023, Ms. Masrouji signed a document called the “National

Liberation Initiative” that stated: “The struggle in all forms of political, popular and armed

resistance is a right and a duty.”

        415.      Ms. Masrouji made her view known once again on January 15, 2025, when she

posted on her Facebook page: “The resistance is dignity.”

        416.      In a January 2025 statement disclosing that Bashar Masri’s Massar and Siraj

companies had recently purchased 58 million shares of PADICO stock, PADICO reiterated that the

“company has implemented several developmental projects in Gaza, such as the Gaza Industrial

Estate, Ayan Hotel (Al-Mashtal), and the Blue Beach Resort. Recently, it announced strategic

projects, including the ‘Energy for Hope’ solar energy project costing $60 million, just two weeks

before the aggression began.” The statement makes no reference to the October 7 Attack or to the

destruction of these properties due to the Hamas attack tunnel infrastructure beneath them or

Hamas’s deployments inside the hotels.

VIII.    HAMAS PLANNED, AUTHORIZED AND COMMITTED THE OCTOBER 7
         ATTACK WITH DEFENDANTS’ ASSISTANCE38

        417.      As noted above, in July 2018, Hamas established a Joint Operations Room in Gaza

to coordinate with 12 “resistance factions” active in Gaza, including PIJ, PFLP, AAMB and PRC.

The Joint Operations Room united the disparate terrorist organizations operating in the Gaza Strip

under one command and worked to coordinate their activities.

        418.      Since at least 2021, Iran’s IRGC-QF created a “Joint Operations Room” in Lebanon

as well, where senior Hezbollah, Hamas, PIJ, and IRGC officials met and coordinated their efforts



38
         A significant portion of the summary of the events of October 7 described in this Section is derived from the
published 7 October Parliamentary Commission Report, chaired by Lord Andrew Roberts and compiled by the UK-
Israel All Party Parliamentary Group. The Report is available at https://www.7octparliamentarycommission.co.uk/.
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against Israel, often under the auspices of Muhammad Izadi, the IRGC-QF official who served as

the head of the Palestinian Office of the IRGC-QF in Lebanon.

       419.     As Hamas regrouped after its latest round of fighting with Israel in May 2021, the

broad outlines of its “Big Project” came into sharper focus, and Hamas’s relationship with Iran took

on even greater importance.

       420.     According to a report by The New York Times, on October 12, 2024, Hamas

documents recovered by the IDF first hint at the October 7 Attack in January 2022, “when the

minutes [of the meeting] show that Hamas leaders discussed the need to avoid getting dragged into

minor skirmishes to focus on ‘the big project.’ Israeli intelligence officers found that Hamas leaders

repeatedly used the same phrase in similar contexts ….”

       421.     According to The New York Times, at a meeting in May 2023, Hamas leaders said

that they wanted to commit the October 7 Attack by the end of 2023 because Israel had announced

that it is developing a new type of laser that can destroy Hamas rockets more effectively than its

current air defense system (the Iron Dome and David Slingshot).

       422.     On June 19, 2023, Hamas leader Ismail Haniyeh also met with a delegation of high-

level Iranian security and military officials. Haniyeh, accompanied by his deputy Saleh al-Arouri

and other Hamas figures, also met with the IRGC chief, Hossein Salami, and a number of his aides

over a period of three days.

       423.     Starting no later than August 2023, IRGC-QF commanders used the Joint

Operations Room in Beirut to conduct biweekly planning meetings with Hamas, PIJ, Hezbollah,

and other Iranian-backed terror groups. Iran’s foreign minister Hossein Amir-Abdollahian attended

at least two of these meetings.

       424.     On August 13, 2023, Hassan Nasrallah met publicly with Hamas and PIJ officials.

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       425.     On August 25, 2023, Hezbollah’s Al-Mayadeen television channel broadcast an

extensive interview with Saleh al-Arouri, where he presented his assessment of Hamas’s

relationship with Israel, the preparations for an all-out confrontation against it in coordination with

the Axis of Resistance, and the expected nature of the campaign.

                The all-out war has become an unavoidable issue, and we believe it is
                necessary, we want it. We, the resistance, the axis of the resistance, [Arab
                and Islamic] peoples, the Palestinian people, the [Islamic] nation want this
                all-out campaign. We do not talk about it [about the war] in public. We
                discuss it in closed rooms.

                We meet with everyone. The components [partners to] the overall
                campaign, and we all discuss it. We discuss its scenarios and its potential,
                and we are convinced that we can … for sure, defeat them... We are
                convinced that this [Israeli] entity, honestly, if it starts an all-out conflict,
                its airspace will be closed, and IT will not be able to live without electricity,
                the sea will be closed to it, without communication, [and in a state of]
                curfew, the wheels of the economy will stop in an open campaign whose
                end is unknown. We can do all this [mentioned above]. All resistance forces
                can do this to change this situation, a real change.

       426.     Nasrallah met with Saleh al-Arouri again on September 2, 2023. Four days later,

al-Arouri gave an interview to Al Jazeera again expressing the view that a decisive confrontation

with the enemy was imminent.

       427.     On September 2, 2023, Hamas also published an article on the official website of

the Qassam Brigades warning of “the possibility that the enemy will launch a new aggression, one

of the manifestations of which will be the assassination of the leaders of the resistance [Hamas]

inside [Palestine] or outside [Palestine]” and warning that this would lead to “a severe reaction on

the part of the Palestinian resistance, and may develop into the entry of other fronts into the front

line, such as (Syria, Lebanon), and it is possible that other fronts will join in their wake.”

       428.     The Wall Street Journal has reported that meetings in the Joint Operations Room

in Beirut culminated with an October 2 meeting in which Iran provided the green light for Hamas,


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PIJ, and the other Iran-backed groups to launch the pre-planned attack against Israel, using Iranian

intelligence, training, and military supplies.

        A.      October 7, 2023

       429.     Saturday, October 7, 2023, was the Jewish holiday of Simchat Torah, often

celebrated in Israel by families spending time together at home, including IDF personnel who often

received a “weekend pass” to go home for the holiday weekend.

       430.     It was also the 50th anniversary of the Yom Kippur War, the most devastating war

in Israel’s history—itself a surprise attack intentionally launched on a Jewish holiday.

       431.     It was on this day that Hamas shattered the dawn with its brutal invasion of southern

Israel, resulting in the single deadliest day for the Jewish people since the Holocaust. More than

1,200 men, women, and children were brutally murdered. Many victims were raped, and over 250

were taken hostage, 35 of whom are known to have been killed, while 24, including five Americans,

remain unaccounted for.

        B.      Geography of the Attack

       432.     The attack on Israel started with combined air, sea, and land incursions from the

Gaza Strip into the Gaza border communities in Israel, collectively known as the “Gaza Envelope.”

       433.     The Gaza Envelope stretches along Israel’s southwestern border, with communities

situated primarily along Route 232, the main north-south highway that runs parallel to the Gaza

border. This area includes “kibbutzim,” collectivist communities such as Be’eri, Kfar (“village”)

Aza, Nir Oz, Nirim, Re’im, Nahal Oz, and Mefalsim; “moshavim,” cooperative agricultural

communities like Netiv HaAsara, Mivtahim, and Yesha; development towns like Sderot, built to

provide permanent housing for large influxes of Jewish immigrants expelled from Arab countries

and Holocaust survivors from Europe who arrived to the newly established State of Israel; and


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Bedouin communities (the Bedouin are Muslim Arabs and those living in Israel are generally Israeli

citizens; many serve in the IDF).

       434.     These communities have experienced decades of security threats due to their

proximity to Gaza, and yet many advocated for peace.

       435.     Kfar Aza was particularly prominent for the peace activism of its residents and

hosted an annual festival during which kites were sent to Gaza with messages of peace (Hamas

previously launched incendiary kites and balloons over the Gazan border to start fires in Israel).

       436.     Some of Israel’s most prominent peace activists lived at Kibbutz Be’eri, and many

residents were volunteers with organizations such as “The Road to Recovery,” which took cancer

patients from Gaza to Israeli hospitals. After the Second Intifada prompted the Israeli government

to halve Palestinian work permits, Kibbutz Be’eri established a pool of money to support its former

employees from Gaza, one that donated thousands of shekels per month to Gazan families. The

night before the attack, the community celebrated its 77th anniversary. The party brought former

residents and other guests to the kibbutz for the weekend. That kibbutz had the second largest

casualty count from the October 7 Attack.

       437.     Kibbutz Nir Oz was home to several prominent peace activists, including Oded and

Yocheved Lifshitz, who were both kidnapped to Gaza. Oded was a human rights journalist and

volunteer in an organization that drives Gazans to medical treatment in Israel. He was held for 503

days in Gaza before his body was returned for burial in Israel. The kibbutz also employed more

than 100 Gazans. Nir Oz had the third highest number of civilian deaths of any community attacked

on October 7, 2023, and the highest number of people kidnapped to Gaza—including 15 children

and 21 people over 70. People from Nir Oz made up a third of the 251 hostages taken on October

7, 2023.

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       438.    Hamas targeted these specific towns and villages in the Gaza Envelope (listed from

south to north): Holit, Sufa, Nir Yitzhak, Pri Gan, Talmei Yosef, Mivtachim, Yesha, Amioz, Magen,

Nir Oz, Nirim, Ein Hashlosha, Kissufim, Re’im, Be’eri, Alumim, Nahal Oz, Kfar Aza, Mefalsim,

Yachini, Nir Am, Sderot, Netiv Ha’asara, Karmia, Zikim Beach, and Ofakim, as well as public

spaces and outdoor festivals, such as the Nova Music Festival near Kibbutz Re’im and the Psyduck

music festival located between Nirim and Nir Oz. Ofakim was the easternmost town attacked on

the ground that day.

        C.     Hamas’s Rocket Barrage Overwhelms Israel’s Defense Systems

       439.    The October 7 Attack began with a first phase of infiltration that Hamas called the

“blinding plan” to ensure minimum resistance to infiltration. This phase involved a coordinated

rocket bombardment of unprecedented size, aimed in the direction of civilian targets in the Gaza

Envelope and elsewhere in Israel, including the cities of Ashkelon, Tel Aviv, and Jerusalem.

       440.    Hamas terrorists began heading toward the border fence at roughly 6:15 a.m.

       441.    At 6:29 a.m., rocket alerts sounded in over 30 Israeli communities as rockets were

launched from Gaza toward Israel. The rockets were primarily short-range unguided “Qassam” and

“Quds” rockets manufactured in Gaza, along with Russian-designed BM-21 “Grad” 122mm

rockets, with Chinese-made extended-range versions, Iranian Fajr-5 derivatives (M75) with 75 km

range, long-range rockets including Syrian-made “Khaybar” rockets (100 km range) and A-120

missiles (120 km range), and SH-85/Ayyash 250 rockets with 220 km range. Hamas forces also

fired hundreds of Katyusha-style 107mm unguided rockets from multi-launch rocket systems at the

communities and army bases around Gaza, together with 120mm mortar rounds, many of which

landed on and around Route 232 throughout the day.




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       442.     Nearly 4,000 rockets and mortars were fired on Saturday, followed by further

barrages on October 8 and 9.

       443.     The Iron Dome intercepted missiles, unintentionally masking the sound of snipers

systematically eliminating cameras along the border fence. Simultaneously, 100 remotely operated

drones targeted watchtowers equipped with machine guns and cameras that are connected to the

border’s thermal imaging sensors and to optical and radar detection systems. Hamas also dropped

incendiary explosives from drones, fired rocket-propelled grenades (“RPGs”), and used sniper fire

to attack several Sentry Tech systems along the border.

        D.      Hamas Attacks by Ground, Air, and Sea

       444.     Thus began the first wave of the ground attack, during which approximately 30

breach points were assaulted simultaneously. Trained terrorists began blowing holes in the security

fence using a wide range of explosives and munitions. Video footage from a fence infiltration near

Kibbutz Be’eri captured militants fixing explosives and propping an anti-tank mine against the

fence. Other methods to breach the fence include detonating a strip-and-frame charge explosive;

this was one of the many weapons Hamas specially created for the attack and was also designed to

be affixed to home saferoom doors in Israeli border communities. IEDs (Improvised Explosive

Devices) were used to target and breach both wire fences and concrete walls. Tractors were

deployed to dismantle sections of the barrier. Cutting charges and shaped explosives were used to

sever metal beams and posts.

       445.     With the surveillance systems around the border down, and Israel’s defenses

blinded, it took mere minutes for Hamas attackers to cross into Israel. Specialized engineering

teams were dedicated to breaking through barriers using tools like Bangalore Torpedo-type charges,




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linear shaped charges, and other explosives. Folding bridges were prepared to overcome obstacles,

like concrete walls, enabling motorcycles and vehicles to cross.

       446.     Most Hamas Nukhba commandos and regular Qassam Brigades troops crossed the

border and drove to targeted communities in white Toyota pick-up trucks and on motorcycles. At

Sderot and a few other places they also arrived in Israeli cars stolen or hijacked that morning.

Advance teams of Hamas commandos arrived at some targets in powered two-man paragliders. At

Zikim, north of the Gaza Strip, they came by sea in rigid inflatable boats. A small number of Hamas

vehicles used in the October 7 attack were “technicals” – pickup trucks mounted with heavier

weapons.

       447.     Some terrorists wore fatigues to resemble Israeli army uniforms or were dressed

like Israeli police to confuse Israeli security forces and civilians. Some carried radios for

communication and zip ties to restrain hostages. Some wore “Go-Pro” or other body cameras that

allowed them to capture video footage of the horrific acts they committed that day.

       448.     The thousands of Gazan civilians who followed Hamas troops through the border

breaches and joined in the attacks on nearby communities came in every kind of vehicle: in pick-

up trucks, in private cars, on all-terrain vehicles, on motorcycles, on bicycles—especially the

teenage and pre-teenage boys who joined in the looting of Be’eri and other kibbutzim—and on foot.

Many returned to Gaza in stolen vehicles, including golf carts and tractors.

       449.     By the end of the day, the border had been breached in 119 locations – equivalent

to nearly three breaches per mile. Breaches were as big as bulldozed holes in the fence and as small

as a gap between two concrete slabs.

       450.     The ground invasion was accompanied by airborne and naval breaches. Video

footage of the early morning rocket attacks shows motorized paragliders crossing into Israel above

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the fence and below the rocket fire. In addition, photos captured paragliders over Kfar Aza airspace

at 6:32 a.m. and Moshav Netiv HaAsara at 6:34 a.m. At approximately 6:40 a.m., motorized

paragliders could be seen airborne in the distance from the Nova Music Festival site.

       451.     During the morning’s first rocket attacks, which also targeted Israeli naval facilities,

four dinghies with 35 armed terrorists exited the Gaza fishing zone and entered Israeli coastal

waters. Four fast boats of the naval commando of the military arm of Hamas approached, carrying

35 terrorists of the Naval Nukhba. At the same time, Hamas terrorists fired anti-tank missiles at the

navy’s observation posts. The Israeli Navy’s 916th Patrol Squadron sunk three of the approaching

Hamas vessels. The fourth landed on Zikim Beach at about 6:45 a.m., offboarding an estimated 11

terrorists. The Israeli Navy alerted the rapid response unit of Kibbutz Zikim that there was an active

infiltration situation at 6:34 a.m. Hamas frogmen found in the area were neutralized by the Navy’s

Snapir unit – the harbor security force.

       E.       Hamas Infiltrates Civilian Communities, IDF Outposts, and Highways

       452.     Kibbutz Kfar Aza was the first civilian community infiltrated, with motorized

paragliders entering the airspace of the community at 6:32 a.m.; the last of these communities

Hamas infiltrated was Moshav Yated, which Hamas reached at approximately 9:15 a.m.

       453.     In the communities where the attackers were able to breach the fences and

overwhelm any organized internal defense, the terrorists went from house to house killing civilians

who hid in the bomb shelters and “safe rooms” Israel requires for private buildings and newer

family homes, respectively. These safe rooms are designed solely to protect against rockets,

mortars, or aerial bombardment. They are not secure rooms intended to keep intruders out. In fact,

they are meant to allow rescuers access in the event of a bombing and, therefore, should not have

locks on the doors.


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         454.   Over the course of the day, many residents fought to keep the door handles of their

safe rooms closed from attackers, and many were killed after being shot through the door or after

the attackers threw grenades inside. Other residents were burnt alive or died from smoke inhalation

when terrorists purposely set fire to the houses, knowing that civilians were hiding in their safe

rooms.

         455.   Additionally, buildings built before 1992 were not legally required to include

internal shelters. Therefore, residents living in those pre-1992 buildings were forced to run to

community shelters. In Ofakim, terrorists specifically targeted older neighborhoods, knowing that

residents would be running from their homes to these shelters. Many were killed while attempting

to reach or return from the shelter.

         456.   The Israeli villages that were under the control of the attackers for several hours

experienced high numbers of atrocities, such as torture, rape, and the mutilation of the dead. There

was widescale damage from the attacks and purposeful destruction of property, including arson

attacks.

         457.   According to the U.S. Secretary of State, after reviewing some of the footage and

pictures from the day: “It’s hard to find the right words. It’s beyond what anyone would ever want

to imagine, much less, G-d forbid, experience …. A baby, an infant, riddled with bullets. Soldiers

beheaded. Young people burned alive. I could go on, but it’s simply depravity in the worst

imaginable way.”39

         458.   The worst affected communities were Kibbutz Kfar Aza, Kibbutz Be’eri, and

Kibbutz Nir Oz. At Be’eri over 100 civilians were killed, and 62 at Kfar Aza.


39
         Shannon C. Crawford, Blinken describes images of Hamas attack victims, pledges, US support on trip to
Israel, ABC News, Oct. 12, 2023, available at https://abcnews.go.com/International/blinken-meets-hamas-
attacksurvivors-pledges-us-support/story?id=103925374.
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       459.        Hostages were also taken from these communities (231 of the 250 hostages were

taken from these communities). Nir Oz suffered the most kidnappings with 75 hostages taken alive

to Gaza and a further seven bodies kidnapped.

       460.        The attacks on the kibbutzim and moshavim were aided by the simultaneous attack

on the IDF outposts and bases in the area, which as part of their official functions act as a first line

of defense in the area. This prevented Israeli forces from coming to the aid of the civilian

communities.

       461.        Terrorists attacked the Re’im army base, which is the headquarters of the IDF’s

Gaza Division, taking control of the base before the IDF repelled them later in the day on October

7. They also attacked the army base at Nahal Oz, killing more than 60 Israeli soldiers and taking

six as hostages.

       462.        Hamas also attacked military posts at key crossing sites, including at the Erez

checkpoint, in the north of Gaza, and the Kerem Shalom crossing, located near Israel’s border with

Egypt. They attempted to take over the base in Zikim, the site of the amphibious landing.

       463.        Further adding to the chaos of the day was the deliberate sabotage of

communication networks by the terrorists as part of the border breach and hits on observation

outposts. It took hours for the Israeli response units to fully understand what was happening.

       464.        Hamas also took strategic control of the main highway, Route 232. Route 232 is

the main north-south highway in the Gaza Envelope, running parallel to the Gaza border and

connecting over twenty rural communities. On October 7, 2023, Hamas strategically seized control

of this critical artery, murdering nearly 300 people along a 33-mile stretch. The highway became a

killing zone as Hamas set up ambushes at 37 separate locations along the road, targeted civilians at




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major intersections and junctions, attacked roadside rocket shelters filled with Nova festival

escapees, and ambushed responding security forces and medical personnel.

       465.     By 7:30 a.m., Shahar HaNegev junction (the intersection between Route 232 and

Highway 34) was under full terrorist control. The main intersections along Route 232, including

the Re’im intersection and Gamma Junction, were taken in the next 10 minutes. This created

chokepoints which prevented the entry of security and emergency services who tried to respond to

the attack, as well as preventing civilians from escaping. By doing so, the terrorists effectively

created a confined killing zone, which enabled maximum bloodshed.

        F.      The Terrorists Committed Successive Waves of Attacks on Compromised
                Communities

       466.     The first wave of attacks was led by Hamas’s elite Nukhba Forces, followed over

the next two to three hours by Hamas “regular” corps of terrorists, the Qassam Brigades, together

with other Palestinian militias and terror groups, including Al-Quds Brigades (Palestinian Islamic

Jihad), the Abu Ali Mustafa Brigades (Popular Front for the Liberation of Palestine), the Jihad Jibril

Brigades (Popular Front for the Liberation of Palestine-General Command), the National

Resistance Brigades (Democratic Front for the Liberation of Palestine), the Nassar Salah Al-Din

Battalions (Popular Resistance Committees), the Al-Aqsa Martyrs’ Brigades, the Holy Warriors’

Battalions (Mujahideen), and the Al-Ansar Brigades (Al-Ansar Movement).

       467.     Then, in midmorning, there was a third invasion from Gaza by several thousand

Gazan civilians instructed or encouraged by Hamas officials to engage in looting and kidnapping.

        G.      Attack on the Nova Music Festival

       468.     In the early morning hours of October 7, 2023, between 3,000-4,000 young people

were celebrating at the Nova Music Festival in Kibbutz Re’im in southern Israel. The event,



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scheduled to coincide with the end of the Sukkot holiday, was in full swing—DJs played electronic

music on two stages as attendees danced under colorful tarpaulins or rested in tented camping areas.

        469.     At approximately 6:29 a.m., the sky filled with rockets launched from Gaza. The

music initially drowned out the sound of incoming fire.

        470.     Festival organizers quickly cut the music. A producer shouted “Tseva Adom” (Red

Alert) through the speakers, ordering everyone to lie on the ground. Shortly afterward, police

ordered a complete evacuation of the site. In the confusion, thousands rushed to their vehicles,

creating traffic jams at the exits.

        471.     What no one at the festival realized yet was that this was not just a rocket attack.

Hamas fighters had breached the Gaza border and were systematically setting up ambush points

along Route 232, the main escape route from the festival. By 8:00 a.m., pickup trucks carrying

Hamas Nukhba commandos arrived at the festival grounds from both the north and south. The small

contingent of police officers, armed only with pistols, were quickly overwhelmed by terrorists with

assault rifles, machine guns, and RPGs.

        472.     With the site under their control, Hamas gunmen began methodically hunting for

survivors, targeting those trying to flee. Some attendees abandoned cars and ran across open fields,

where they were pursued by gunmen on motorcycles and in trucks. Others hid under festival stages,

inside portable toilets and in trash containers. Many fled to nearby concrete rocket shelters along

Route 232, which became death traps when terrorists threw grenades inside.

        473.     About 20 people crowded into an ambulance for protection. Hamas terrorists

discovered them, fired at the vehicle, and then launched a thermobaric RPG inside, killing 18 of the

20 people.




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        474.     Those who managed to escape the festival tried to take refuge in roadside concrete

shelters along Route 232. At the Be’eri shelter, with its distinctive mural of a girl blowing bubbles,

Hamas terrorists fired hundreds of rounds into the crowded space and tossed grenades inside.

        475.     At the Re’im west shelter, Hersh Goldberg-Polin lost part of his arm to a grenade

explosion and was later taken hostage, dragged by his hair into a pickup truck while bleeding

heavily.

        476.     Military and police reinforcements arrived only around noon, about four hours after

the initial assault began. By then, the terrorists had killed 375 people, making it the deadliest concert

attack in history.

        477.     First responders discovered scenes of unimaginable brutality. Bodies were strewn

across the festival grounds—in the bar, medical tent, camping area, dancing space, parking lots,

and portable toilets. Evidence indicated many victims had been subjected to rape and sexual

violence before being killed, with women found tied to trees, stripped of clothing. Many bodies

showed signs of deliberate mutilation or had been intentionally burned.

        478.     The 375 victims represented a cross-section of Israeli society: young people from

cities and kibbutzim, Arab Israelis, Bedouins, foreign nationals, security guards, and first

responders.

           H.    Hostage-Taking into Gaza

        479.     Hamas abducted 251 hostages on October 7, 2023, into Gaza. Of these, 210 people

were taken alive; 41 bodies were abducted after they had been killed. Their families were placed in

a nightmarish state of limbo, not knowing the fates of their loved ones, what they were experiencing,

or whether they would ever see them again. The hostages simply vanished.




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       480.     Evidence indicates that hostage-taking was a premeditated part of the attack plan,

with Hamas having prepared a manual titled “How to take captives” that included instructions on

separating hostage groups and methods of controlling them.

       481.     Among the 210 living hostages, 176 held Israeli nationality (51 with dual

citizenship from 14 different countries), while others were Thai, Philippine, Nepalese, and U.S.

nationals. The vast majority (197) were civilians, while 13 were military personnel. Nearly half of

those taken (102) were women and children, including 35 children under 18 years old. The youngest

hostage was Kfir Bibas, only nine months old, and the oldest was 85-year-old Shlomo Mantzour.

       482.     The hostages were taken from multiple locations, with the largest numbers coming

from Kibbutz Nir Oz (75), the Nova Music Festival (34), Kibbutz Be’eri (27), and Kibbutz Kfar

Aza (20). The abductions often involved breaking into family homes across seven kibbutz

communities, impacting 44 families. Many hostages were forced to witness the murder of family

members before being taken.

       483.     Documentation through videos, CCTV footage, and bodycams worn by terrorists

revealed that many hostages suffered abuse during their abduction, including physical assault,

verbal abuse, sexual assault, and degrading treatment. Footage showed hostages bound, partially

undressed, beaten, and threatened. According to testimony from released hostages, this abuse

continued during captivity and included sunlight deprivation, starvation, binding, beatings, sexual

abuse, and other degrading and terrorizing treatment.

       484.     Hamas used the Gaza tunnel system that it built beneath, into, and through various

properties to transport and hide many of the hostages they captured during the October 7 Attack.

       485.     In the days leading up to October 7, Yahya Sinwar was seen fleeing into the tunnels

with his family. It is from there that Sinwar ordered the October 7 Attack to begin.

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       486.      Yocheved Lifshitz, an eighty-five-year-old hostage who was released after several

weeks in captivity, described the vast network of tunnels as looking like a spider web.

       487.      Aviva Siegel, a resident of Kfar Aza who was taken hostage in Gaza for 51 days,

described being pushed down into a tunnel during the October 7 Attack. She described being locked

in a tunnel with another hostage and left for days on end without food.

       488.      Sapir Cohen, a young woman taken hostage in Gaza for 55 days, recalled being

moved from homes above-ground to the tunnels, which were filled with mold, lice, and bed bugs.

       489.      Qaid Farhan Alkadi, a Bedouin Arab Israeli, was rescued by the IDF from a tunnel

under southern Gaza after 326 days in captivity.

       490.      In July 2024, the bodies of five hostages—Ravid Katz, Oren Goldin, Maya Goren,

Sgt. Kiril Brodski, and Staff Sgt. Tomer Yaakov Ahimas—were recovered from a tunnel located

underneath an Israeli-designated humanitarian zone in the southern Gaza city of Khan Younis.

       491.      In August 2024, the bodies of six hostages—Israeli American Hersh Goldberg-

Polin, Ori Danino, Eden Yerushalmi, Almog Sarusi, Alexander Lobanov, and Carmel Gat—were

recovered by the IDF in a tunnel underneath the southern Gaza city of Rafah after having been

executed at close range. The IDF reported that the hostages had been held there for days prior to

their murders.

        I.       Hamas’s Use of Hostages as Bargaining Chips

       492.      Hamas has used the hostages to effect multiple goals. It places them as human

shields—for example, Israel located members of Hamas’s leadership in Gaza but could not strike

without risking injury to the hostages they kept with them as personal shields.

       493.      Through the kidnappings, Hamas also attempted to influence Israeli and U.S. policy

in other ways by presenting taped messages by hostages to the media to intimidate and demoralize


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the Israeli government and civilian population and to affect the conduct of both the Israeli and

American governments in the way they approached the conflict.

       494.     Most critically, Hamas uses the hostages as bargaining chips. As noted above,

Hamas has a history of this strategy, releasing Israeli soldier Gilad Shalit in 2011 in exchange for

over 1,000 Palestinian prisoners (including Sinwar) after holding him for over five years.

       495.     During the weeklong truce in late November 2023, 105 hostages were released (and

four were released before that) in exchange for hundreds of Palestinian terrorists held in Israeli

prisons.

       496.     Hamas then released 33 Israeli women, children, civilian men over 50, and those

deemed “humanitarian cases” during the hostages-for-terrorists exchange and ceasefire which took

effect from January 19 to March 18, 2025. Eight more hostages were returned dead, including Ariel

and Kfir Bibas, aged four and nine months, respectively, as well as their mother Shiri. During the

first phase, Hamas also released five Thai nationals.

       497.     Eight hostages have been rescued alive by Israeli security forces, and the bodies of

41 were also recovered, including three hostages mistakenly killed by Israeli troops while escaping

captivity and a soldier whose body Hamas held hostage since he was killed in the 2014 war.

           J.   Israel’s Response to October 7 in Gaza

       498.     In response to the October 7 Attack, Israeli ground operations in the northern Gaza

Strip began on October 27, 2023, with advances along three axes: a southward drive along the

western coast toward al Shati camp, a southwestward drive into Beit Hanoun, and a westward drive

from Juhor ad Dik to the western coast, thereby cutting the Gaza Strip in half and isolating the

northern Strip from the southern Strip.




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        499.     For a period of 14 months, the IDF engaged in violent confrontations with Hamas

and other terrorist groups seeking to inflict casualties on Israeli forces in the Gaza Strip.

        500.     To date, over 700 IDF soldiers, including several dual U.S.-Israeli citizens, have

been killed and many more injured (often severely). As described above, many of those held by

Hamas and its co-conspirators, some of them U.S. citizens, have been murdered, or are believed to

have been murdered, by their captors.

        501.     Hamas specifically prepared for IDF’s incursions, and ambushing and killing as

many IDF soldiers as possible was part of the larger October 7 plan.

        502.     Hamas used its attack tunnels to evade capture and ambush Israeli forces.

        503.     During the IDF’s counterstrikes, Hamas leaders took refuge in their tunnels to hide

from the attacks, regroup, and rearm.


 IX.     THE PLAINTIFFS ARE ALL VICTIMS OF ACTS OF INTERNATIONAL
         TERRORISM

         A.      The Shalom Family

        504.     Ram Shalom was a citizen of the State of Israel when he was murdered by Hamas

on October 7, 2023. He was 24 years old.

        505.     Ram was attending the Nova Music Festival near Kibbutz Re’im in Israel. He was

there with ten friends when the festival was overrun by Hamas terrorists, who proceeded to

massacre more than 350 civilians.

        506.     At 6:30 a.m. on October 7, Ram and his friends fled the festival at the sight and

sounds of rockets.

        507.     By around 8:00 a.m. on October 7, Ram had escaped the Nova festival by car. An

hour or two later, he and his friend left the car to hide and shelter by the side of the road. As shooting


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erupted around them, they remained quiet. In a surviving video from where Ram was sheltering

among vehicles to the side of the road, automatic gunfire can be heard, followed by Ram observing:

“these are not soldiers, they are terrorists.”

        508.     Shortly thereafter, the terrorists approached Ram’s hiding spot. Ram was

determined not to allow himself and those around him to be executed. He attacked one of the

terrorists, but other terrorists fired a rocket propelled grenade (“RPG”) at Ram’s position, murdering

Ram, and most of those hiding with him.

        509.     For the next few hours, Ram’s mother, Nurit, and his brother, Plaintiff Tom

Shalom, made every call and inquiry they could to locate Ram. For hours and then days, they heard

nothing.

        510.     On Monday, October 9, 2023, Tom flew to Israel. No news arrived of Ram for two

more days.

        511.     On Thursday, October 12, 2023, two army officers knocked on Nurit Shalom’s

door. They informed Nurit and Tom that Ram had been murdered on October 7.

        512.     Thousands attended Ram’s funeral and visited during the shiva period. Tom stayed

in Israel for weeks trying to piece together Ram’s final moments.

        513.     Plaintiff Tom Shalom is a citizen of the United States. He is the brother of Ram

Shalom.

        514.     As a direct and foreseeable result of the October 7 Attack and the death of Ram

Shalom, Plaintiff Tom Shalom has suffered severe mental anguish and extreme emotional distress,

and economic loss.




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        B.      The Sasi Family

       515.     Avraham Sasi was a citizen of the United States and a resident of the State of

California when he was murdered by Hamas at the Nova Music Festival on October 7, 2023. He

was 64 years old.

       516.     Avraham was the fourth of 12 siblings in a close-knit family. He married Plaintiff

Ester Sasi in 1982, and the couple raised three daughters – Plaintiffs Moran Sasi, Danielle Sasi, and

Natalie Sasi – in Woodland Hills, California.

       517.     Plaintiff Ester Sasi is a citizen of the United States and a resident of the State of

California. She is the wife of Avraham Sasi.

       518.     Plaintiff Moran Sasi is a citizen of the United States and a resident of the State of

California. She is the daughter of Avraham Sasi.

       519.     Plaintiff Danielle Sasi is a citizen of the United States and a resident of the State of

California. She is the daughter of Avraham Sasi.

       520.     Plaintiff Natalie Sasi is a citizen of the United States and a resident of the State of

California. She is the daughter of Avraham Sasi.

       521.     In September 2023, Avraham and Ester traveled to Israel for the Jewish holidays

with their daughter Danielle to visit Natalie, who was living in Israel at the time (after the October

7 Attack, Natalie moved back to California from Israel), along with various siblings, nieces, and

nephews. During that trip, Avraham’s niece, Plaintiff Lee Meltz Sasi, got engaged.

       522.     During that trip, Avraham attended the Nova Music Festival with his daughter,

Plaintiff Danielle Sasi, her husband, Maor, and Plaintiff Lee Meltz Sasi. Alex, a longtime family

friend who traveled with them, also joined, along with Nitzan, another one of Avraham’s nieces,

and her boyfriend, Lidor.


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        523.     Danielle was dancing with her father at the festival when air raid sirens started,

followed by incoming rockets and mortar fire. Avraham instructed everyone in the Sasi family

group to run to their cars, and the group divided up into two and drove to two separate roadside

shelters. Nitzan and Lidor took refuge inside the same shelter that U.S. citizen Hersh Goldberg-

Polin hid in before his arm was shot off and he was taken hostage into Gaza. Nitzan and Lidor were

both murdered at the scene.

        524.     Avraham, Danielle, Maor, Lee, and Alex arrived at a shelter at 7:06 a.m., which

was already packed with young people fleeing from the Hamas terrorists attacking at the Nova

Music Festival. Avraham, a former high-ranking service member in the IDF during the First

Lebanon War, positioned himself at the shelter entrance, assembled men with him, and told them

not to let any of the terrorists enter.

        525.     Hamas gunmen approached the shelter, shot Alex, and then lobbed a grenade into

the shelter, murdering Avraham. The terrorists then threw an explosive into the shelter and stepped

inside, walking over the bodies of the people that they had just murdered. The Hamas gunmen,

wielding AK-47 rifles, fired into the bodies huddled in the shelter. Danielle was shot in the leg and

her elbow was fractured. A young woman in front of her was shot in her torso and screamed and

cried as she died. Danielle and her husband Maor tried to help the injured woman, but she died of

her wounds.

        526.     Lee was sheltered by the bodies of the people in front of her who had been killed.

Black smoke filled the shelter and began to suffocate Lee. She put her jacket over her mouth but

blacked out. When she opened her eyes to check on whether her uncle Avraham was okay, she saw

that he was dead. All but 13 of those inside the shelter were killed in the initial attack, including

Avraham and Alex. Five more would die over the course of the next few hours.

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       527.     After the initial assault, the terrorists remained positioned around the shelter,

shooting at cars and passersby on the road. About every 15 to 20 minutes, they returned to shoot

and throw stun grenades and hand grenades into the shelter. It seemed to Danielle and Lee that

another survivor in the shelter died in each new assault. Danielle covered her face with blood from

her leg wound to appear to the terrorists to have already been killed. Maor sheltered Danielle

beneath the just-murdered bodies of fellow Nova Music Festival attendees. The body of a third

person fell on Danielle’s legs. She started counting the seconds between explosions to estimate

whether the terrorists had retreated far enough for the survivors to try to escape.

       528.     Lee spent time in between waves of attacks encouraging survivors to stay positive

and stay alive, while she texted their location to others. She also called her mother, Plaintiff

Samantha Meltz, to say goodbye.

       529.     Shrapnel had embedded itself all over Danielle’s body and had entered her lungs.

Lee felt the blast of each grenade and sensed a strange taste on her tongue. It was the taste of

someone else’s flesh that had been blown into her mouth.

       530.     After a few hours of these attacks, Hamas terrorists fired a rocket propelled grenade

at the back of the structure. The resulting explosion was so powerful that it lifted Lee off the ground.

       531.     More than seven hours after the Sasi family arrived at the shelter, the father of a

young woman in the shelter arrived with a car at about 2:30 p.m., escorted by soldiers. He sped the

survivors away—there were only eight.

       532.     Avraham’s daughters Moran and Natalie, his wife Ester, and his niece Gital had

heard from Lee that Avraham had been murdered earlier that day, but they refused to believe it. As

she was being evacuated, Danielle called and confirmed that her father Avraham had been murdered

in front of her at the roadside shelter near Be’eri and that his body was still there.

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       533.      Moran, her husband, and their three young children flew from California to Israel

that day (most airlines canceled flights to and from Israel immediately following the October 7

Attack, and just two airlines were offering emergency flights).

       534.      Danielle, Maor, and Lee went to Soroka Hospital where, at about 3:30 p.m. on

October 7, they joined the throng of horrifically injured people emerging from the Hamas-

perpetrated massacre. All around them, people were missing limbs, bloodied, and dead. The doctors

advised Danielle to wash her bullet wound with soap and water, explaining that they would not be

able to operate that day.

       535.      Danielle was then taken to a hospital further north in Netanya. The doctors there

removed the bullet from her leg. She was hospitalized for two weeks.

       536.      Avraham’s body was not found for over a week. His funeral was held on October

15. Thousands of mourners attended.

       537.      Plaintiff Danielle Sasi lived near her parents. She has struggled to return to life after

witnessing the murder of her father and so many others. In addition to the pain and suffering from

the bullet wound, Danielle has pain and ongoing medical needs resulting from the shrapnel

embedded throughout her body, including in her lungs. She has undergone further surgery for her

leg and suffers from tinnitus. She has seen specialists for damage sustained to her nervous system.

       538.      Plaintiff Lee Meltz Sasi is a citizen of the United States and a resident of the State

of California.

       539.      She has not been the same since the October 7 Attack. She has had difficulty eating,

working, and engaging in ordinary tasks. Formerly social, she now wants only to be alone.

       540.      Lee’s parents, Plaintiffs Samantha Meltz and Eli Sasi (who is Avraham’s brother),

and siblings, Plaintiffs Daniel Lawrence Sasi, Elin Levy Sasi, and Tal Meltz Sasi, are all citizens

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of the United States. They are suffering extreme emotional distress from Lee’s trauma and worry

deeply about her. Despite everything they have been doing to help her recover, she continues to

struggle.

       541.     Avraham’s siblings have suffered extreme emotional distress in the aftermath of

his murder. Plaintiffs Shulamith Zani, Ronit Rahoum (Nitzan’s mother), Ester Halif, Yosef Sasi,

Vito Sasy, and Izhak Sasi are citizens of the State of Israel; Plaintiffs Bekhor Sassi and Meir Sasy

are citizens of the United States and residents of the State of Israel; and Plaintiffs Eli Sasi (Lee’s

father) and Yaaqov Sasi are citizens of the United States and residents of the State of California.

       542.     As a direct and foreseeable result of the October 7 attack, Plaintiffs Danielle Sasi

and Lee Meltz Sasi have suffered severe physical and mental anguish and extreme emotional

distress, and economic loss.

       543.     Danielle also brings this action on behalf of her minor son R.P.

       544.     R.P. is a citizen of the United States and a resident of the State of California.

       545.     As a direct and foreseeable result of the October 7 Attack and the injuries to his

mother, Danielle Sasi, R.P. has suffered severe mental anguish and extreme emotional distress.

       546.     As a direct and foreseeable result of the October 7 Attack and the death of their

brother, Avraham Sasi, Plaintiffs Shulamith Zani, Ronit Rahoum, Ester Halif, Yosef Sasi, Vito

Sasy, Izhak Sasi, Bekhor Sassi, Meir Sasy, Eli Sasi, and Yaaqov Sasi have suffered severe mental

anguish and extreme emotional distress, and economic loss.

       547.     As a direct and foreseeable result of the October 7 Attack and the injuries to his

daughter, Lee Meltz Sasi, Plaintiff Eli Sasi has also suffered severe mental anguish and extreme

emotional distress, and economic loss.




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        548.     As a direct and foreseeable result of the October 7 Attack and the injuries to her

daughter, Lee Meltz Sasi, Plaintiff Samantha Meltz has suffered severe mental anguish and extreme

emotional distress, and economic loss.

        549.     As a direct and foreseeable result of the October 7 Attack and the injuries to their

sister, Lee Meltz Sasi, Plaintiffs Daniel Lawrence Sasi, Elin Levy Sasi, and Tal Meltz Sasi have

suffered severe mental anguish and extreme emotional distress, and economic loss.

        550.     Plaintiff Ester Sasi brings this action individually and on behalf of the Estate of

Avraham Sasi.

        551.     As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Avraham Sasi experienced conscious pain and suffering and suffered economic loss.

        552.     As a direct and foreseeable result of the October 7 Attack and the death of her

husband, Avraham Sasi, and the injuries to her daughter, Danielle Sasi, Plaintiff Ester Sasi has

suffered severe mental anguish and extreme emotional distress, and economic loss.

        553.     As a direct and foreseeable result of the October 7 Attack and the death of their

father, Avraham Sasi, Plaintiffs Moran Sasi, Danielle Sasi, and Natalie Sasi have suffered severe

mental anguish and extreme emotional distress, and economic loss.

        554.     Plaintiffs Moran Sasi and Natalie Sasi have also suffered economic loss and severe

mental anguish and extreme emotional distress as a direct and foreseeable result of the October 7

Attack and the injuries to their sister, Danielle Sasi.

         C.      The Abramov Family

        555.     Laor Abramov was murdered by Hamas on October 7, 2023.

        556.     He had lived in New Jersey for some time before moving back to Israel where he

was raised in the hopes of following the footsteps of his father, a famous Israeli disk jockey known


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as DJ Darwish. His first headlined event was scheduled for November 24, 2023. It was called “To

The Light,” an English translation of Laor’s Hebrew name. Laor had plans to travel the world after

that event before returning to study music editing.

         557.   Prior to his death, Laor spoke daily to his mother, Plaintiff Michal Halev. They also

traveled together, having toured London in June 2023. The two were close; Laor was Michal’s only

child.

         558.   On October 6, Laor and his lifelong friend, Tamar, headed to southern Israel to

attend the Nova Music Festival. Laor sent a message to his mother that he was out with friends and

assured her that they would talk the next day.

         559.   On the morning of October 7, at the sound and sight of rockets, Laor fled the Nova

festival and called his family to say that he was okay and on his way home. But as he and Tamar

drove north, they hit a Hamas roadblock, came under fire, and sought shelter.

         560.   By 7:48 a.m., Laor updated his family that he was in a roadside shelter— unharmed,

doing well, but staying silent to avoid getting caught up in the fighting unfolding around them. His

text read: “I am going into a missile shelter, a bomb shelter, and don’t worry. I’m not going to be

able to speak because it’s very noisy.”

         561.   Pictures and videos from Laor’s last known location—the roadside shelter near

Re’im—show Laor’s towering figure among those who took refuge within the structure, including

Hersh Goldberg-Polin. Taller than almost everyone else inside, he reported to the others what he

was seeing on the road.

         562.   Hamas terrorists then approached the shelter and threw hand grenades inside (the

first several of which were thrown back out by Hersh’s friend Aner Shapira, as well as by Laor and




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Tamar). The terrorists then fired upon everyone in their line of sight and entered the shelter,

instructing the survivors to march outside and board a pickup truck.

       563.     Laor and Tamar never made it out of the shelter alive.

       564.     After Laor’s text to his family, they did not hear from him again. As the hours and

days passed, they received mixed and confusing information: A photo showed Laor at the roadside

shelter near Re’im, but Laor’s phone tracked closer to a fortified shelter near Be’eri.

       565.     Michal was in the United States at the time and managed to get onto the last seat of

an October 8 flight to Israel.

       566.     On Monday evening, October 9, a woman who survived from the roadside shelter

near Re’im told Laor’s parents that she saw someone who she thought was Laor taken as a hostage

onto the back of a pickup truck. Michal hoped her son was still alive.

       567.     On the evening of Wednesday, October 11, two soldiers and two social workers

knocked on the door of Laor’s home in Israel. Before Laor’s family heard even a word, they began

to scream. The family was notified that Laor’s body had been recovered.

       568.     Laor’s body was later identified by Michal’s brother, and for months after, Michal

called him to confirm that he was sure he had correctly identified Laor’s body.

       569.     She gathered as much information as she could about Laor’s final moments but is

still haunted by the lack of certainty.

       570.     Plaintiff Michal Halev is a dual citizen of the State of Israel and the United States.

       571.     As a direct and foreseeable result of the October 7 Attack and the death of Laor

Abramov, Plaintiff Michal Halev has experienced severe mental anguish and extreme emotional

distress, and economic loss.




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        D.      The Goldberg-Polin Family

       572.     Hersh Goldberg-Polin was a dual citizen of the United States and the State of Israel

when he was murdered by Hamas in August 2024. He was 23 years old.

       573.     Hersh was born in Berkeley, California, and then moved to Israel with his family

when he was eight years old.

       574.     Hersh attended high school and completed his mandatory IDF service in April

2023. He planned to travel through Asia before attending college and was scheduled to begin his

trip during the last week of December 2023.

       575.     Hersh had a deep passion for music, which is what brought him to the Nova festival

on the Saturday morning of October 7, 2023. He had turned 23 on October 3 and wanted to celebrate

his birthday there with his childhood friend, Aner Shapira.

       576.     The Goldberg-Polin family had been at the home of their friends for Shabbat dinner

the night before the festival. At about 11:00 p.m., Hersh picked up the backpack he had brought

with him to dinner and left to meet Aner and go to the festival. On his way out, Hersh kissed his

mother goodbye.

       577.     The next morning, sirens blared across Jerusalem, where the Goldberg-Polins live,

starting at about 8:00 a.m. Plaintiff Rachel Goldberg, Hersh’s mother, woke up her two daughters

and they went to the safe room in their apartment. She turned on her phone at about 8:20 a.m. to

make sure Hersh was safe and saw two messages from him at 8:11 a.m. The first said “I love you,”

and the second said “I’m sorry.”

       578.     Rachel immediately knew something terrible was happening. She responded at 8:23

a.m., “Are you okay?” Receiving no response, Rachel sent another message at 8:29 a.m.: “Please




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let me know you are okay.” At 8:36 a.m., Rachel wrote: “I’m leaving my phone on. Let us know

you are okay.”

        579.     Hersh’s parents later found out that he and his friend had tried to escape from the

massacre that was taking place at the Nova festival by hiding with approximately 30 others in a

roadside bomb shelter. Hamas terrorists threw grenades inside, and Hersh’s friend managed to pick

up seven and throw them back out. The eighth exploded in his hands, killing him. Two more

detonated inside. The terrorists then fired an RPG into the shelter and sprayed the room with gun

fire.

        580.     The dust settled, and the Hamas terrorists entered the shelter. Most of the fleeing

festivalgoers inside were dead, and some hid under bodies pretending to be dead. Those are the

witnesses who described to Hersh’s parents how the terrorists ordered Hersh and a few other young

men to stand. They did so, and it was apparent that Hersh’s left arm had been blown off below the

elbow. He had managed to fashion a tourniquet for himself to stop the bleeding and was able to

walk outside, where he and the other men were loaded onto a pickup truck.

        581.     Hersh’s last cellphone signal was at 10:25 a.m., from inside Gaza.

        582.     On April 24, 2024, Hamas released a video of Hersh, the first proof that he survived

his capture on October 7 despite being badly wounded. The video showed Hersh sitting in a chair,

addressing the camera. Gesturing occasionally with his injured arm, he identifies himself and gives

his date of birth and parents’ names. He states that he had been “here for almost 200 days” (April

24, 2024, was the 201st day since his abduction).

        583.     In the video, Hersh appeared significantly thinner than before his capture. He was

missing most of his left arm, and it was apparent that he had not received proper medical treatment

for the severe injuries he sustained during the initial attack.

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        584.       On August 31, 2024, Israeli forces recovered Hersh’s body along with five other

hostages from a tunnel beneath Rafah in southern Gaza. Medical examinations indicated they had

been executed one by one shortly before Israeli forces reached them.

        585.       The two hostages who had been loaded onto the pickup truck with Hersh have since

been released. One of these two hostages, Or Levy, described how, on their 52nd day of captivity,

Hersh told him: “He who has a ‘why’ can bear with any ‘how.’” Levy tattooed the quote onto his

arm after his release. Levy learned from Hersh’s parents that the line is from Nietzsche and was

cited in Viktor Frankl’s “Man’s Search for Meaning” to describe the mental strength required of

him to survive the Holocaust.

        586.       Hersh’s funeral was held on September 2, 2024, and was attended by tens of

thousands of mourners.

        587.       Plaintiffs Rachel Goldberg and Jon Polin bring this action on behalf of the Estate

of Hersh Goldberg-Polin. Hersh Goldberg Polin was a dual citizen of the United States and the

State of Israel.

        588.       Plaintiffs Rachel Goldberg and Jon Polin also bring this action individually. They

are dual citizens of the United States and the State of Israel and the parents of Hersh Goldberg-

Polin. They have become prominent advocates for hostage families, having traveled extensively to

meet with political leaders worldwide, including former President Biden and Pope Francis.

        589.       Plaintiff Leebie Goldberg-Polin is a dual citizen of the United States and the State

of Israel. She is the younger sister of Hersh Goldberg-Polin.

        590.       Plaintiff Orly Goldberg-Polin is a dual citizen of the United States and the State of

Israel. She is the younger sister of Hersh Goldberg-Polin.




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       591.      As a direct and foreseeable result of the October 7 Attack and 330 days in captivity,

the Plaintiff Estate of Hersh Goldberg-Polin experienced conscious pain and suffering and suffered

economic loss.

       592.      As a direct and foreseeable result of the October 7 Attack, and the abduction,

captivity, and murder of Hersh Goldberg-Polin, Plaintiffs Rachel Goldberg, Jon Polin, Leebie

Goldberg-Polin, and Orly Goldberg-Polin have suffered severe mental anguish and extreme

emotional distress, and economic loss.

        E.       The Waldman Family

       593.      Danielle Waldman was a citizen of the United States and a resident of the State of

Israel when she was murdered by Hamas on October 7, 2023. She was 24 years old.

       594.      Danielle was attending the Nova Music Festival near Kibbutz Re’im in Israel. She

was there with her boyfriend of six years, Noam Shay, when the festival was infiltrated by Hamas

terrorists, who proceeded to massacre more than 350 civilians.

       595.      The morning of the October 7 Attack, Danielle’s brother Guy wrote in the family

group chat to ask where everyone was. Danielle responded that everything was fine, and that the

family should not worry. That was the last time Danielle’s family heard from her.

       596.      Upon learning of the October 7 Attack, and that Danielle was missing, Danielle’s

father, Eyal, rushed home from a trip outside of Israel. The morning of Monday, October 9, 2023,

Eyal traveled south, to the site of the massacre, using the emergency tracking features on Danielle’s

phone to search for Danielle and Noam. Making his way in a Jeep through an ongoing combat zone,

Eyal eventually came upon Danielle’s car, riddled with bullet holes, and stained with blood. Eyal

found shells from a Kalashnikov rifle near the car.




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       597.     It was evident that the car had been attacked by Hamas terrorists. But the family

hoped that Danielle had not been in the car, or perhaps that she was only wounded and had escaped,

or even that she had been taken hostage and was still alive.

       598.     But on Wednesday, October 11, 2023, the family’s worst fears were confirmed.

They learned that Danielle’s body had been found in the car and had been taken away from the

scene by first responders. The family later received a video of some of Danielle’s final moments,

recorded in her car on the phone of someone who had been with her and Noam.

       599.     Danielle’s parents, Eyal and Ella Waldman, bring this action on behalf of the Estate

of Danielle Waldman.

       600.     Plaintiff Eyal Waldman also brings this action individually. He is a citizen of the

State of Israel. He is the father of Danielle Waldman.

       601.     Plaintiff Ella Waldman also brings this action individually. She is a citizen of the

State of Israel. She is the mother of Danielle Waldman.

       602.     Plaintiff Guy Waldman is a citizen of the State of Israel. He is the brother of

Danielle Waldman.

       603.     Plaintiff Sharon Waldman is a citizen of the State of Israel. She is the sister of

Danielle Waldman.

       604.     As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Danielle Waldman experienced conscious pain and suffering and suffered economic loss.

       605.     As a direct and foreseeable result of the October 7 Attack and the death of Danielle

Waldman, Plaintiffs Eyal Waldman, Ella Waldman, Guy Waldman, and Sharon Waldman have

suffered severe mental anguish and extreme emotional distress, and economic loss.




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         F.     The Weiser Family

        606.    Roey Weiser was a citizen of the United States and a resident of the State of Israel

when he was killed by Hamas on October 7, 2023. He was 21 years old.

        607.    Roey was on his base guarding the Erez Crossing into Gaza. The Erez Crossing is

a border crossing between the Gaza Strip and Israel, located at the northern end of the Gaza Strip

between the Israeli kibbutz of Erez and the Palestinian town of Beit Hanoun. That crossing is a

place where food and goods are regularly transported into Gaza, and where thousands of Gazans

come and go to work in Israel or for medical care.

        608.    Early in the morning of October 7, 2023, Hamas terrorists breached the Erez

Crossing.

        609.    Although Roey was not on guard at the time, he leapt into action. One of two

commanders at the outpost, he assigned soldiers to positions, provided updates on the situation, and

ensured that as many non-combatant soldiers as possible reached the security room.

        610.    Seeing that his comrades were not reaching the security room because they were

pinned down by attacking Hamas terrorists, he conceived of a daring maneuver to outflank the

terrorists.

        611.    He led three soldiers out of cover and traveled under fire to join additional soldiers

to draw fire away from their other comrades.

        612.    For more than one hour, Roey and his comrades fought a fierce battle against

Hamas terrorists, killing dozens of them.

        613.    Running low on ammunition, Roey and his comrades decided to retreat to the safe

room area, but Hamas terrorists ambushed them along the way, killing Roey.




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       614.     Thanks to Roey’s tactical thinking and his heroism, at least 12 of his fellow soldiers

were saved.

       615.     Roey’s parents, Naomi Feifer-Weiser and Yisrael Weiser, bring this action on

behalf of the Estate of Roey Weiser.

       616.     Plaintiff Naomi Feifer-Weiser also brings this action individually. She is a citizen

of the United States and is a resident of the State of Israel. She is the mother of Roey Weiser.

       617.     Plaintiff Yisrael Weiser also brings this action individually. He is a citizen of the

United States and is a resident of the State of Israel. He is the father of Roey Weiser.

       618.     Plaintiff Shani Weiser is a citizen of the United States and is a resident of the State

of Israel. She is the sister of Roey Weiser.

       619.     Plaintiff Nadav Weiser is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Roey Weiser.

       620.     As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Roey Weiser experienced conscious pain and suffering and suffered economic loss.

       621.     As a direct and foreseeable result of the October 7 Attack and the death of Roey

Weiser, Plaintiffs Naomi Feifer-Weiser, Yisrael Weiser, Shani Weiser, and Nadav Weiser have

suffered severe mental anguish and extreme emotional distress, and economic loss.

        G.      The Morell Family

       622.     Maoz Morell was a citizen of the United States and a resident of the State of Israel

when he was killed by Hamas. He was 21 years old.

       623.     In April 2022, Maoz was drafted into the IDF’s elite Paratroopers Brigade’s

reconnaissance unit.




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          624.   On October 7, 2023, Maoz was on holiday from the IDF. As soon as he learned of

Hamas’s attack on Israel, he collected his army equipment and rushed to the fighting underway in

Re’im—the site of the Nova Music Festival and a kibbutz of the same name, both of which were

under heavy attack from Hamas terrorists.

          625.   Maoz was relocated to Gaza, where he fought for seven weeks. During that time,

he was only able to call home once. The voicemail he left for his mother spanned 11 seconds, and

said: “Hi Mommy, it’s Maoz. Everything is sababa [Hebrew slang for great]. That’s it. I’ve updated

you.”

          626.   Maoz was injured on February 15, 2024, while fighting in the southern Gaza Strip.

He and his unit were positioned in an evacuated house when Hamas terrorists threw a grenade inside

one of the rooms, injuring many of the soldiers situated there. Maoz, who was in a different room,

immediately entered the room under attack and started administering medical support to the

wounded.

          627.   Once Maoz provided whatever support he could, he went up to the roof to assist

those engaged in active combat with the Hamas terrorists on the ground who were continuing to

attack.

          628.   An IDF tank providing cover fired at one of the buildings where the Hamas

terrorists were located. The blast dispersed fragmentation, a large piece of which struck Maoz in

his head, critically injuring him.

          629.   While Maoz was in the hospital, hundreds of his friends came to visit him. His

parents were told there was no hope for his recovery, but Maoz lived until February 19, 2024, when

he succumbed to his wounds.




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          630.   Maoz’s parents, Varda and Eitan Morell, bring this action on behalf of the Estate

of Maoz Morell.

          631.   Plaintiff Varda Morell also brings this action individually. She is a citizen of the

United States and is a resident of the State of Israel. She is the mother of Maoz Morell.

          632.   Plaintiff Eitan Morell also brings this action individually. He is a citizen of the

United States and is a resident of the State of Israel. He is the father of Maoz Morell.

          633.   Varda and Eitan Morell also bring this action on behalf of their minor child, E.E.M.

E.E.M. is a citizen of the United States and is a resident of the State of Israel. He is the brother of

Maoz Morell.

          634.   Varda and Eitan Morell also bring this action on behalf of their minor child, C.M.

C.M. is a citizen of the United States and is a resident of the State of Israel. She is the sister of Maoz

Morell.

          635.   Plaintiff Shachar Yehuda Morell is a citizen of the United States and is a resident

of the State of Israel. He is the brother of Maoz Morell.

          636.   Plaintiff Mordechai Eliezer Menachem Morell is a citizen of the United States and

is a resident of the State of Israel. He is the brother of Maoz Morell.

          637.   Plaintiff Dov Yerachmiel Morell is a citizen of the United States and is a resident

of the State of Israel. He is the brother of Maoz Morell.

          638.   As a direct and foreseeable result of the October 7 Attack and the attack which

followed on February 15, 2024, the Plaintiff Estate of Maoz Morell experienced conscious pain and

suffering and suffered economic loss.

          639.   As a direct and foreseeable result of the October 7 Attack and the attack that

followed on February 15, 2024, in which Maoz Morell was murdered, Plaintiffs Varda and Eitan

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Morell, E.E.M., C.M., Shachar Yehuda Morell, Mordechai Eliezer Menachem Morell, and Dov

Yerachmiel Morell have suffered severe mental anguish and extreme emotional distress, and

economic loss.

        H.       The Leiter Family

       640.      Moshe Yedidyah Leiter was a citizen of the United States and a resident of the State

of Israel when he was killed by Hamas on November 10, 2023. He was 39 years old.

       641.      Moshe Leiter was a father of six children. He served in the IDF until he was 33,

when he retired from active duty as a Major. He then entered medical school and completed his

studies in August 2023, and was scheduled to begin hospital residency on October 8, 2023, the day

after the October 7 Attack. At the time of his death, he was serving as a company commander in

the reserves.

       642.      Moshe Leiter and three other IDF reservists were killed by a Hamas booby trap in

the Beit Hanoun area of Gaza while inspecting a tunnel entrance.

       643.      Plaintiff Jay Michael (Yechiel) Leiter is a citizen of the United States and is a

resident of the State of Israel. He is the father of Moshe Leiter.

       644.      Plaintiff Chana Leiter is a citizen of the United States and is a resident of the State

of Israel. She is the mother of Moshe Leiter.

       645.      Plaintiff Neriya Dov Leiter is a citizen of the United States and is a resident of the

State of Israel. He is the brother of Moshe Leiter.

       646.      Plaintiff Sara Bracha (Leiter) Attias is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Moshe Leiter.

       647.      Plaintiff David Elimelech Leiter is a citizen of the United States and is a resident

of the State of Israel. He is the brother of Moshe Leiter.


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       648.     Plaintiff Sophia (Leiter) Redler is a citizen of the United States and is a resident of

the State of Israel. She is the sister of Moshe Leiter.

       649.     Plaintiff Samuel Yair Leiter is a citizen of the United States and is a resident of the

State of Israel. He is the brother of Moshe Leiter.

       650.     Plaintiff Noam Elisha Leiter is a citizen of the United States and is a resident of the

State of Israel. He is the brother of Moshe Leiter.

       651.     Plaintiff Amikam Tzion Leiter is a citizen of the United States and is a resident of

the State of Israel. He is the brother of Moshe Leiter.

       652.     As a direct and foreseeable result of the November 10, 2023, attack on and the death

of Moshe Leiter, Plaintiffs Jay Michael (Yechiel) Leiter, Chana Leiter, Neriya Dov Leiter, Sara

Bracha (Leiter) Attias, David Elimelech Leiter, Sophia (Leiter) Redler, Samuel Yair Leiter, Noam

Elisha Leiter, and Amikam Tzion Leiter have experienced severe mental anguish and extreme

emotional distress, and economic loss.

        I.      The Rousso Family

       653.     Ofek Rousso was a citizen of the United States and a resident of the State of Israel

when he was murdered by Hamas. He was 21 years old.

       654.     Just months before, Ofek had completed the grueling training course of Shayetet

13, an elite IDF combat unit that is often analogized to the U.S. Navy SEALs. Within his unit, he

was selected to serve as a combat medic and trained to provide first aid to his fellow soldiers.

       655.     On October 7, 2023, Ofek was on routine standby duty at his base. Early in the

morning, when reports of the ongoing terror attacks started to surface, Ofek and several other

soldiers from his unit were called to respond.




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       656.     They first set out for Ofakim, one of the towns that had been infiltrated by Hamas

terrorists. By the time Ofek and his fellow soldiers arrived there, no terrorists remained, and Ofek

provided medical treatment to several civilians.

       657.     At 4:15 p.m., Ofek arrived at Kibbutz Be’eri, along with several dozen soldiers

from Shayetet 13. They rushed into the kibbutz. For many hours, under the harshest of conditions,

Ofek and his comrades went from house to house, fighting Hamas terrorists and rescuing civilians.

       658.     Ofek provided medical attention to both civilians and soldiers, including a family

with four children that his team had saved.

       659.     Ofek and his fellow soldiers took their first break around 1:45 a.m. in the early

hours of October 8, 2023. His unit had been fighting all day without food or water, wearing heavy

combat gear, and bearing witness to horrific atrocities against the residents of Kibbutz Be’eri. But

the shooting soon resumed, and Ofek immediately responded.

       660.     At 2:15 a.m., Ofek heard the shout of a fellow soldier who had been hit by gunfire

and needed a medic. Ofek was lying in a cover position about ten meters away. Ofek was the only

medic in the group. He signaled to his commander that he was going to the wounded soldier, got

approval, and immediately rushed toward him. Just as Ofek began treating his wounded comrade,

he was attacked by a burst of gunfire from Hamas terrorists. One of the bullets struck Ofek’s right

temple, killing him.

       661.     Ofek died on Sunday, October 8, 2023, at 2:15 a.m. His final messages to his father,

Yaniv, read “Go to sleep, everything’s fine, we’ll talk tomorrow. Goodnight.”

       662.     On the afternoon of October 8, Yaniv first learned from a father of one of the

soldiers in Ofek’s unit that Ofek had been hurt. Yaniv began contacting anyone he could who might

provide him with more information about Ofek. No one gave him any answers. Yaniv did not know

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if his difficulty in gathering information was a product of the chaos unfolding in southern Israel or

if something had happened to Ofek and the army was withholding information.

       663.      Days went by without any contact from Ofek. The Rousso family experienced

tremendous stress as they awaited any word about their son’s fate. It was not until 3:40 a.m. on

October 11, 2023, that the doorbell rang. Two IDF officers had arrived to deliver the worst possible

news to Ofek’s parents, Yaniv and Fanny, and his sister, Inbar.

       664.      Ofek’s parents, Yaniv and Fanny Rousso, bring this action on behalf of the Estate

of Ofek Rousso.

       665.      Plaintiff Yaniv Rousso also brings this action individually. He is a citizen and

resident of the State of Israel. He is the father of Ofek Rousso.

       666.      Plaintiff Fanny Rousso also brings this action individually. She is a citizen of the

United States and is a resident of the State of Israel. She is the mother of Ofek Rousso.

       667.      Plaintiff Inbar Rousso is a citizen of the United States and is a resident of the State

of Israel. She is the sister of Ofek Rousso.

       668.      As a direct and foreseeable result of the October 7 Attack and the attack that

followed on October 8, 2023, the Plaintiff Estate of Ofek Rousso experienced conscious pain and

suffering and suffered economic loss.

       669.       As a direct and foreseeable result of the October 7 Attack and the attack that

followed on October 8, 2023, in which Ofek Rousso was killed, Plaintiffs Yaniv Rousso, Fanny

Rousso, and Inbar Rousso have suffered severe mental anguish and extreme emotional distress, and

economic loss.




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         J.      The Chen Family

        670.     Itay Chen was a citizen of the United States and a resident of the State of Israel

when he was killed by Hamas. He was 19 years old.

        671.     On October 7, 2023, Itay was serving on the Israel-Gaza border with his tank unit,

the Seventh Armored Brigade’s 75th Battalion. Itay was killed during an intense battle with Hamas

terrorists following their breach of Israel’s borders, and he was taken to Gaza.

        672.     Itay’s family last heard from him early that morning. Two days later, the Chen

family learned that the IDF considered Itay to be missing in action, and that he was likely being

held in captivity by Hamas.

        673.     For months, Itay’s family believed that Itay was being held alive as a hostage in

Gaza. The Chen family became, and has remained, outspoken advocates for the families of hostages

being held by Hamas.

        674.     In March 2024, five months after the October 7 Attack, Itay’s family received word

that Itay had in fact been killed on October 7, 2023. The IDF was able to confirm his death based

on intelligence and findings it had obtained from troops operating in Gaza.

        675.     Then President Joe Biden released a statement on March 12, 2024, recalling when

“Itay’s father and brother joined me at the White House, to share the agony and uncertainty they’ve

faced as they prayed for the safe return of their loved one. No one should have to endure even one

day of what they have gone through.”

        676.     Itay’s parents, Ruby and Hagit Chen, bring this action on behalf of the Estate of

Itay Chen.

        677.     Plaintiff Ruby Chen also brings this action individually. He is a citizen of the United

States and is a resident of the State of Israel. He is the father of Itay Chen.


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        678.     Plaintiff Hagit Chen also brings this action individually. She is a citizen and

resident of the State of Israel. She is the mother of Itay Chen.

        679.     Plaintiff Roy Chen is a citizen of the United States and is a resident of the State of

Israel. He is the brother of Itay Chen.

        680.     Ruby and Hagit Chen also bring this action on behalf of their minor child A.C. A.C.

is a citizen of the United States and is a resident of the State of Israel. He is the brother of Itay Chen.

        681.     As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Itay Chen experienced conscious pain and suffering and suffered economic loss.

        682.     As a direct and foreseeable result of the October 7 Attack and the death of Itay

Chen, Plaintiffs Ruby Chen, Hagit Chen, Roy Chen, and A.C. have suffered severe mental anguish

and extreme emotional distress, and economic loss.

         K.      The Shay Family

        683.     Yaron Oree Shay was a citizen of the United States and a resident of the State of

Israel when he was killed by Hamas on October 7, 2023. He was 21 years old.

        684.     Yaron was the youngest child of Plaintiffs Izhar and Hilla Shay and the younger

brother of Plaintiffs Shir, Lior, and Ophir Shay.

        685.     Yaron was born in New Jersey on December 13, 2001, and moved to Israel with

his family when he turned four. He attended the American School in Israel for four years and was

a proud dual American-Israeli citizen.

        686.     For several weeks prior to October 7, Yaron was serving on active duty within a

special unit of the Nahal Brigade of the IDF that was stationed at the Gaza border at the Kerem

Shalom military base, guarding the southern end of the Gaza Strip around the Kerem Shalom border

crossing between Israel and Gaza.


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       687.     His parents had planned to travel to Yaron’s base on the Gaza border as part of a

pre-planned visit with their son on October 7.

       688.     Yaron messaged his parents by WhatsApp at 6:29 a.m. on October 7 to tell them

that Israel had been attacked, they should not come to visit, and he would update them later in the

day.

       689.     He subsequently sent a message via WhatsApp to his uncle who lived in another

kibbutz within the Gaza Envelope warning him of the attack. It was the only warning that kibbutz

received that morning.

       690.     Yaron and two other soldiers from his unit drove to the entrance of the nearby

kibbutz at Kerem Shalom and held off dozens of Hamas Nukhba terrorists for more than an hour.

       691.     Their heroic battle saved the lives of hundreds of civilians at the kibbutz and the

adjacent military base. Sometime between 8 and 9 a.m., Yaron was severely wounded and

eventually airlifted to a hospital in Jerusalem where he was pronounced dead. His two comrades

were both wounded in the same firefight but survived.

       692.     Yaron’s parents lost contact with him after his initial message to them at 6:29 a.m.,

and they called various military personnel during the following 24 hours trying to obtain

information about him, to no avail.

       693.     The October 7 Attack caused confusion and chaos inside Israel, and reliable

information was difficult to obtain. On Sunday morning of October 8, Plaintiffs Izhar and Hilla

Shay received news that a number of Yaron’s fellow soldiers had been wounded, and that one of

them had been airlifted to Hadassah Ein Kerem Hospital in Jerusalem. Later that afternoon, they

decided to make their way to the hospital.




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          694.   They arrived there on Sunday afternoon and encountered masses of other families

who were also looking for their loved ones.

          695.   Amid the chaos, Yaron’s mother stopped a female military officer tasked with

updating the families about the conditions and whereabouts of their relatives, asking if she had any

news about their son. The officer assured her that if something had happened to Yaron, the family

would have been notified by that point. Hilla pressed the officer and gave her Yaron’s full name –

Yaron Oree Shay.

          696.   The officer immediately recognized the unusual middle name and decided to inform

them that Yaron had been pronounced dead at the hospital the day before rather than force them to

wait for an official notification.

          697.   Plaintiff Izhar Shay immediately called his three surviving children to break the

news to them that their brother had died so they would hear it first from him before the media

announced it. Izhar had been a minister in the Israeli government, and as a public figure, the media

would have been keen to report this tragic news about his family. Indeed, moments after Izhar

finished relaying the terrible news to his children, Yaron’s death was made public and reported on

widely.

          698.   Izhar called his oldest son Lior first. Lior had been on his honeymoon in the south

of Argentina and was on the second leg of his flight back to Israel after being called back to

emergency duty by his unit. Izhar then called Ophir, his middle son, who was also boarding a plane

back to Israel after cutting short a vacation in the Philippines. Lastly, Izhar called his daughter Shir,

who was at home with her husband and their then-two-month-old child.

          699.   There are special procedures for the delivery of tragic news about the death of a

soldier in the IDF which have been developed over many years and many thousands of cases.

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Dedicated professionals are trained for a number of years before they are allowed to deliver news

of death to a victim’s family members, and there is a strict protocol which has to be followed. The

delivery of the tragic news about Yaron’s death to his parents by non-professionals at the hospital

and to his siblings by phone broke with this protocol and added significant mental anguish and

extreme emotional distress to them.

       700.     All five surviving relatives of Yaron (Hilla, Izhar, Shir, Lior, and Ophir) required

emotional support counseling, and some continue to receive treatment.

       701.     Yaron’s parents, Hilla Shay and Izhar Shay, bring this action on behalf of the

Plaintiff Estate of Yaron Oree Shay.

       702.     Plaintiff Hilla Shay also brings this action individually. She is a citizen of the

United States and is a resident of the State of Israel. She is the mother of Yaron Oree Shay.

       703.     Plaintiff Izhar Shay also brings this action individually. He is a citizen and resident

of the State of Israel. He is the father of Yaron Oree Shay.

       704.     Plaintiff Shir Shay is a citizen of the United States and is a resident of the State of

Israel. She is the sister of Yaron Oree Shay.

       705.     Plaintiff Lior Shay is a citizen of the United States and is a resident of the State of

Israel. He is the brother of Yaron Oree Shay.

       706.     Plaintiff Ophir Shay is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Yaron Oree Shay.

       707.     Hilla Shay quit her job as an interior designer as a result of her son’s murder. Ophir

Shay was only able to resume his professional career three months after October 7, 2023, and

worked part-time until June 2024.




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          708.   As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Yaron Oree Shay experienced conscious pain and suffering and suffered economic loss.

          709.   As a direct and foreseeable result of the October 7 Attack and the death of Yaron

Oree Shay, Plaintiffs Hilla Shay, Izhar Shay, Shir Shay, Lior Shay, and Ophir Shay have suffered

severe mental anguish and extreme emotional distress, and economic loss.

          L.     The Ziering Family

          710.   Aryeh Ziering was a citizen of the United States and a resident of the State of Israel

when he was killed by Hamas on October 7, 2023. He was 27 years old.

          711.   Aryeh was a member of the IDF’s Oketz (canine) unit. He was at his parents’ home

for the Jewish holiday when he was called to duty in southern Israel to respond to the October 7

Attack.

          712.   He went to his base to meet other members of his unit and get his combat gear and

headed to defend an instillation near Zikim, which had been attacked by Hamas.

          713.   Aryeh was killed sometime around midday on October 7 during a firefight with

Hamas terrorists.

          714.   Aryeh’s parents, Mark and Deborah Ziering, bring this action on behalf of the

Estate of Aryeh Ziering.

          715.   Plaintiff Mark Ziering also brings this action individually. He is a citizen of the

United States and is a resident of the State of Israel. He is the father of Aryeh Ziering.

          716.   Plaintiff Deborah Ziering also brings this action individually. She is a citizen of the

United States and is a resident of the State of Israel. She is the mother of Aryeh Ziering.

          717.   After Aryeh left home that Saturday morning, Mark and Deborah did not hear from

him and assumed he and his unit were engaging the terrorists. Because Aryeh was an experienced


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soldier and a strong, confident, and seemingly indestructible young man, even though they worried

about him, his parents assumed he would be okay. Around 11:30 p.m. on Saturday night, after some

confusion in the notification, Mark and Deborah received a knock on the door from IDF

representatives notifying them of Aryeh’s death.

       718.        Plaintiff Eliana Ziering is a citizen of the United States and is a resident of the State

of Israel. She is the sister of Aryeh Ziering.

       719.        On October 7, Eliana was in her apartment in Jerusalem which she shared with her

roommates. Like most people in Israel that day, Eliana learned of the attack that morning, but unlike

her siblings, she had completed her army service so when IDF representatives knocked on her

apartment door in the middle of the night (during the early hours of October 8), she assumed they

had come to summon her roommate (who was still doing her military service) to report for

emergency duty. Unfortunately, the knock on the door was for her and she was notified of her

brother’s death.

       720.        Plaintiff Yonatan Ziering is a citizen of the United States and is a resident of the

State of Israel. He is the brother of Aryeh Ziering.

       721.        Like his brothers, Yonatan was called back to active duty in the IDF on the morning

of October 7 to respond to the attack. At some point during the day, he learned from a fellow soldier

that Aryeh had been shot, but he did not assume the worst because he could not imagine his older

brother would fall in the battle. He was later informed by his commanding officer that Aryeh had

been killed and was sent home to join his family.

       722.        Plaintiff Tal Ziering is a citizen of the United States and is a resident of the State of

Israel. She is the sister of Aryeh Ziering.




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         723.    Tal was also at home with her parents on October 7 but left to go back to the army

that morning once she was notified that she was needed. She was later informed by her commanding

officer that Aryeh had been killed and was sent home to join her family.

         724.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Aryeh Ziering experienced conscious pain and suffering and suffered economic loss.

         725.    As a direct and foreseeable result of the October 7 Attack and the death of Aryeh

Ziering, Plaintiffs Mark Ziering, Deborah Ziering, Eliana Ziering, Yonatan Ziering, and Tal Ziering

have experienced severe mental anguish and extreme emotional distress, and economic loss.

          M.     The Glisko Family

         726.    Itai Glisko was a citizen of the United States and a resident of the State of Israel

when he was killed by Hamas on October 7, 2023. He was 20 years old.

         727.    Itai was born in New Jersey and moved with his family to Israel as a baby. On

October 7, 2023, he had served in the IDF for just twenty months.

         728.    Itai was not scheduled to be on base on October 7; he had plans to spend the Jewish

holiday with his parents and brothers. A friend went on leave that day, and Itai offered to take his

place.

         729.    Itai was positioned 500 meters from the Gaza border when 3,000 terrorists invaded.

         730.    He sent his family a WhatsApp message at 6:30 a.m. telling them not to worry, and

that he was in a bomb shelter. His family turned on the news and continued to message him.

         731.    The severity of the attack became apparent quickly, and at 11:00 a.m., Itai messaged

his family saying he was not sure if his messages would be his last. Throughout the attack on Itai’s

base, Itai, along with the battalion’s medic, evacuated the wounded into the base’s dining room to

receive first aid.


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          732.    At 2:30 p.m., Hamas terrorists burned the entrance to the dining room to try and

suffocate the soldiers who were sheltering inside. Itai and three more troops went out to fight and

try to save the others. At 5:00 p.m., the army arrived to rescue those who had survived. Twenty-

four soldiers were saved.

          733.    For four days, Itai’s family did not know what had happened to him. They tracked

his phone, whose GPS location was 20 kilometers away from Itai’s base. They checked every list

of kidnapped and missing Israelis, but his name was not on them. They held out hope that Itai was

still alive until October 11, 2023, when the IDF knocked on the Gliskos’ door to inform them that

Itai had been killed.

          734.    The State of New Jersey honored Itai by issuing a proclamation that was delivered

to the Glisko family’s home. In part, it reads:

          Be It Resolved by the Senate and General Assembly of the State of New Jersey:

          That this Legislature hereby salutes the memory of Itay Ofek Glisko, pays
          tribute to his valiant service, and extends sincere sympathy and profound
          condolences to all who mourn his passing.

          735.    Itai’s parents, Oren and Liat Glisko, bring this action on behalf of the Estate of Itai

Glisko.

          736.    Plaintiff Oren Glisko also brings this action individually. He is a citizen and

resident of the State of Israel. He is the father of Itai Glisko.

          737.    Plaintiff Liat Glisko also brings this action individually. She is a citizen and resident

of the State of Israel. She is the mother of Itai Glisko.

          738.    Plaintiff Ori Glisko is a citizen and resident of the State of Israel. He is the brother

of Itai Glisko.




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       739.     Oren and Liat Glisko also bring this action on behalf of their minor child, Y.G.

Y.G. is a citizen and resident of the State of Israel and the brother of Itai Glisko.

       740.     As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Itai Glisko experienced conscious pain and suffering and suffered economic loss.

       741.     As a direct and foreseeable result of the October 7 Attack and the death of Itai

Glisko, Plaintiffs Oren Glisko, Liat Glisko, Ori Glisko, and Y.G. have suffered severe mental

anguish and extreme emotional distress, and economic loss.

        N.      The Schenkolewski Family

       742.     Yakir Schenkolewski was the second youngest child of Plaintiff Tova

Schenkolewski and her husband Ariel Schenkolewski, and the brother of Yehuda, Aviraz, Ofer, and

Renana. He was 21 years old when he was killed by Hamas.

       743.     Yakir was born in Israel and lived with his parents and siblings in Kibbutz Migdal

Oz. He enlisted in the IDF and was proud of his service with the 188th Armored Brigade’s 53rd

Battalion. Just before he enlisted, Yakir learned that he had a medical issue with his foot that would

prevent him from becoming a combat soldier candidate. He delayed his enlistment by four months

in order to complete physical therapy and thus be eligible to become a combat soldier.

       744.     Prior to October 7, 2023, Yakir was serving on active duty with his tank unit.

       745.     On the morning of October 7, Yakir’s parents and eldest brother, Yehuda, with his

wife and children, were at the family home. They were woken up by Ariel’s phone, which was

receiving calls and messages alerting the family that Israel had been attacked.

       746.     The family went to their synagogue, where they saw many people outside,

including the rabbi and security forces. The family learned that war had broken out, and everyone

in the kibbutz was instructed to shelter in place because the fighting could reach them.


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       747.     Later in the evening of October 7, Yakir called his parents to tell them that his unit

had been called up to go south and assist with efforts to repel the attack. Within twenty-four hours,

Yakir’s three older brothers had been drafted into service as well: Yehuda as a tank commander,

Aviraz as part of a special army ranger unit, and Ofer as security for Kibbutz Migdal Oz.

       748.     For the next two months, Yakir was on the front lines of Israel’s war against Hamas

in the south of Israel and Gaza. He had intermittent access to his cell phone, and his family waited

anxiously to hear from him during periods when he could not be in contact. During one

conversation, Yakir asked his mother if she would tell him to stop serving. His mother responded

that as much as she did not want him to be in danger, she knew Yakir would be angry if she tried

to stop him. Yakir agreed and said “yes, I am supposed to go.”

       749.     On two occasions during this time, Yakir was allowed to visit his family for short

periods of leave.

       750.     On Wednesday, November 29, 2023, Yakir’s parents and younger sister Renana

came to visit him in the south. On the morning of December 1, 2023, he called to tell his family

that his unit was preparing to go back into Gaza. Yakir’s parents lost contact with him before he

entered Gaza and waited anxiously for his next call.

       751.     The following Monday, on December 4, 2023, Yakir’s tank came under fire by

Hamas terrorists from short range. Yakir and two other soldiers in his tank were killed in the blast.

The tank driver was badly wounded but survived.

       752.     That day, three officers knocked on the door of the Schenkolewski family home.

Tova was home alone and opened the door. As soon as she saw the officers, she knew her son had

been killed.




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        753.    Her husband Ariel and son Ofer returned home from synagogue a few minutes later.

Tova and Ariel immediately broke the news that Yakir had been killed to their other children so

that they would hear of their brother’s death from their family before the media announced it.

Shortly thereafter, Yakir’s death was made public.

        754.    Plaintiff Tova Schenkolewski is a citizen of the United States and is a resident of

the State of Israel. She is the mother of Yakir Schenkolewski.

        755.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 4, 2023, in which Yakir Schenkolewski was killed, Plaintiff Tova

Schenkolewski has suffered severe mental anguish and extreme emotional distress, and economic

loss.

         O.     The Haggai Family

        756.    Judy Weinstein Haggai and Gad Haggai were U.S. citizens and residents of the

State of Israel when they were murdered by Hamas on October 7, 2023.

        757.    They lived in Kibbutz Nir Oz and shared four children, Iris Weinstein Haggai, Ahl

Haggai, Rahm Haggai, and Zohar Haggai, and seven grandchildren. Judy is also survived by her

95-year-old mother.

        758.    Judy was an English teacher who worked with children with special needs and also

used meditation and mindfulness techniques to treat children suffering from anxiety caused by years

of rocket fire over the kibbutz from Gaza.

        759.    On Saturday, October 7, Judy and Gad took a walk around their kibbutz and its

surrounding nature, as they did every Saturday morning.

        760.    The couple was in the field when the first sirens sounded at 6:30 am. They heard

the rockets and took shelter by lying flat on the ground.


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       761.     Their daughter texted Judy upon hearing of the attacks, and Judy responded, “We’re

outside. Face down in the field. We see tons of rockets.”

       762.     Around 6:50 a.m., Hamas terrorists passed Judy and Gad, who were lying down on

the ground, on motorcycles. They shot Gad in the head, and Judy once in the face and once in the

arm.

       763.     At 7:15 a.m., an Israeli ambulance service called Judy, who described her

husband’s fatal injury and her own injury. Terrorists, however, had taken over the roads, and the

ambulance never arrived.

       764.     Judy’s phone was shut off by 7:26 a.m., and she was not heard from again.

       765.     Terrorists picked up the couple’s bodies and brought them into Gaza.

       766.     For weeks, Judy and Gad’s family did not know what had happened to their loved

ones. They did not know whether the couple was dead.

       767.     Then, when Judy was not released during the November 2023 hostage release, their

family members came to believe she was the last American woman still held hostage in Gaza.

       768.     On December 22, 2023, it was reported that Gad had been murdered, and his body

was being held in Gaza. One week later, the news came that Hamas had also killed Judy, and her

lifeless body was being held in Gaza.

       769.     In response to the tragic news, President Biden first released a statement that said

he was “heartbroken by the news” and praying “for the well-being and safe return” of Judy.

       770.     Then, upon the announcement that Judy had also been murdered, President Biden

issued another statement, which said that he and First Lady Jill Biden “are devastated to learn” of

her death. He added that he “will never forget what their daughter, and the family members of other




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Americans held hostage in Gaza, have shared with [him]. They have been living through hell for

weeks. No family should have to endure such an ordeal.”

        771.     Judy and Gad’s children and siblings have suffered immeasurably. Initially, they

believed that Judy and Gad had been badly injured but were being held alive in Gaza. Then, when

they learned that Judy and Gad had been murdered, they still could not find peace, as their bodies

are still being held in Gaza. Knowing that the terrorists continue to hold Judy and Gad’s bodies is

torture for their family members. Their grief is overbearing.

        772.     Judy Weinstein Haggai and Gad Haggai’s daughter, Iris Weinstein Haggai, brings

this action on behalf of the Estates of Judy Weinstein Haggai and Gad Haggai.

        773.     Plaintiff Iris Weinstein Haggai also brings this action individually. She is a citizen

of the United States and is a resident of the State of Israel.

        774.     Plaintiff Ahl Haggai is a citizen of the United States and is a resident of the State

of Israel. He is the son of Judy Weinstein Haggai and Gad Haggai.

        775.     Plaintiff Rahm Haggai is a citizen of the United States and is a resident of the State

of Israel. He is the son of Judy Weinstein Haggai and Gad Haggai.

        776.     Plaintiff Zohar Haggai is a citizen of the United States and is a resident of the State

of Israel. She is the daughter of Judy Weinstein Haggai and Gad Haggai.

        777.     As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estates of

Judy Weinstein Haggai and Gad Haggai experienced conscious pain and suffering and suffered

economic loss.

        778.     As a direct and foreseeable result of the October 7 Attack and the deaths of Judy

Weinstein Haggai and Gad Haggai, Plaintiffs Iris Weinstein Haggai, Ahl Haggai, Rahm Haggai,




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and Zohar Haggai, have suffered severe mental anguish and extreme emotional distress, and

economic loss.

         P.      The Zimbalist Family

        779.     Eliyahu Moshe Zimbalist, nicknamed “Eli Mo,” was a citizen of the United States

born in Silver Spring, Maryland, who was murdered by Hamas. He was 21 years old.

        780.     He was the fourth of seven children. His family moved to Israel in 2005 when he

was two years old.

        781.     A member of the IDF’s Combat Engineering Battalion 601, Eliyahu was killed by

Hamas alongside seven fellow soldiers on June 15, 2024.

        782.     They were engaged in an operation targeting Hamas terrorist infrastructure in Rafah

(in the southernmost part of the Gaza Strip) when their armored personnel carrier was hit by an

anti-tank missile launched from a few meters away by Hamas terrorists. The missile hit the back

section of their vehicle which held ammunition and caused a massive explosion.

        783.     As a member of the IDF’s Combat Engineering Corps, Eliyahu’s responsibilities

included locating and destroying Hamas terrorist infrastructure such as tunnels and buildings used

by terrorists.

        784.     On the Saturday morning of June 15, 2024, three IDF soldiers came to Eliyahu’s

home to inform his family of his death. One of Eliyahu’s sisters, Plaintiff Nechama Zimbalist, was

in her own home about 25 miles away. Eliyahu’s parents, Plaintiffs Simeon and Sara Zimbalist, did

not want to send the soldiers to their daughter’s house, fearing it would cause unnecessary panic

among the residents in her community. Instead, Eliyahu’s parents contacted their daughter’s father-

in-law, asking him to break the news to her personally. They also ensured that the news did not

become public until the entire family had been informed.


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       785.     Plaintiffs Simeon and Sara Zimbalist, both of whom are citizens of the United

States, bring this action individually as Eliyahu’s parents and on behalf of the Estate of Eliyahu

Moshe Zimbalist.

       786.     Plaintiffs Simeon and Sara Zimbalist also bring this action on behalf of their minor

daughters, Plaintiff S.Z. and Plaintiff B.Z., who are both citizens of the United States.

       787.     Plaintiffs Simeon and Sara Zimbalist also bring this action as legal guardians of

their son, Plaintiff A.Z., who is a citizen of the United States.

       788.     Plaintiff Nechama Zimbalist is a citizen of the United States. She is the sister of

Eliyahu Moshe Zimbalist.

       789.     Plaintiff Aviva Zimbalist is a citizen of the United States. She is the sister of

Eliyahu Moshe Zimbalist.

       790.     Plaintiff Shira Zimbalist is a citizen of the United States. She is the sister of Eliyahu

Moshe Zimbalist.

       791.     As a direct and foreseeable result of the October 7 Attack and the attack that

followed on June 15, 2024, the Plaintiff Estate of Eliyahu Moshe Zimbalist experienced conscious

pain and suffering and suffered economic loss.

       792.     As a direct and foreseeable result of the October 7 Attack and the attack that

followed on June 15, 2024, in which Eliyahu Moshe Zimbalist was killed, Plaintiffs Simeon

Zimbalist, Sara Zimbalist, Nechama Zimbalist, Aviva Zimbalist, Shira Zimbalist, A.Z., S.Z., and

B.Z. have suffered severe mental anguish and extreme emotional distress, and economic loss.

        Q.      The Katsman Family

       793.     Hayim Katsman was a dual citizen of the United States and the State of Israel when

he was murdered by Hamas on October 7, 2023. He was 32 years old.


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       794.     Hayim was one of six children born to Hannah Wacholder Katsman, a writer and

women’s rights activist, and Daniel Katsman. The couple moved to Israel in 1990, and Hayim was

born there a year later.

       795.     Hayim was a peace activist who studied philosophy and earned a PhD in political

science from the University of Washington’s Henry M. Jackson School of International Studies.

       796.     When Hamas struck on October 7, Hayim lived in Kibbutz Holit, where he worked

as a gardener, landscaper, and deejay. Hayim also taught at various colleges and pre-army

programs.

       797.     On the morning of October 7, 2023, Hayim was awoken by the sounds of sirens

and gunshots. He sent his mother a message letting her know he was okay at about 7:15 a.m.

       798.     He ran to his safe room but could not lock it from the inside. He then left to go to

his neighbor’s house, where he hid with a neighbor in the closet within their safe room.

       799.     For a time, Hayim stayed on the phone with his friend until he heard terrorists

nearby. He hung up and continued texting.

       800.     Terrorists then attacked the safe room in which he was hiding. Hayim shielded his

neighbor by placing himself closest to the door of the closet. He absorbed the bullets fired into the

closet, thereby saving his neighbor’s life.

       801.     Hayim’s mother initially thought he had been taken hostage into Gaza. His body

was later identified and his family notified early the next day, Sunday, October 8.

       802.     Hannah Wacholder Katsman brings this action on behalf of the Plaintiff Estate of

Hayim Katsman.




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       803.     Plaintiff Hannah Wacholder Katsman also brings this action individually. She is a

citizen of the United States and is a resident of the State of Israel. She is the mother of Hayim

Katsman.

       804.     As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Hayim Katsman experienced conscious pain and suffering and suffered economic loss.

       805.     As a direct and foreseeable result of the October 7 Attack and the death of Hayim

Katsman, Plaintiff Hannah Wacholder Katsman has suffered severe mental anguish and extreme

emotional distress, and economic loss.

        R.      The Rosenfeld Family

       806.     Maya Treger Rosenfeld was a citizen of the United States and a resident of the State

of Israel when she was injured by Hamas on October 7, 2023.

       807.     Maya and her husband, Dvir Rosenfeld, lived in Kfar Aza with their then-11 months

old son, Z.R. On the morning of October 7, Z.R. woke his parents up early. Soon after, at about

6:00 a.m., they heard loud explosions, so the family headed into their safe room, which was their

baby’s room.

       808.     Dvir left the house briefly to bring the family’s dogs inside. He returned without

the dogs but left the door open for them. The Rosenfelds were later told by a neighbor that five

terrorists passed by their house right after Dvir went back inside, and likely did not enter because

the door was open. The terrorists assumed that the house was already under attack.

       809.     The Rosenfeld family hid in their safe room for the next 24 hours, hearing terrorists

roaming outside and explosions periodically throughout the ordeal. They had lost electricity and

were without air conditioning, water or food throughout the extremely hot day and night. Dvir held




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the door closed the entire time, and Maya held the baby and kept him quiet, which sometimes meant

covering his mouth with her hand.

       810.       Maya and Dvir received constant WhatsApp messages about neighbors and other

people they knew who had been murdered as well as people who were injured and needed help.

They felt helpless; they knew if they went out to try to assist others, they would likely be killed.

       811.       For example, Dvir’s sister messaged Maya at about 6:55 a.m. to tell her that she

and her twin babies were safe.

       812.       Hours later, at about noon, Maya and Dvir received a message that the twins needed

to be rescued. Dvir wanted to go, but Maya begged him not to. She continues to feel guilty for not

letting him go.

       813.       That night, while still barricaded in their safe room, Maya and Dvir were told that

Dvir’s sister and brother-in-law had been killed. They found out later that Dvir’s sister was shot

through a window and then shot a second time when the terrorists entered the house. After the

terrorists shot Dvir’s brother-in-law, they left the twin babies in the house as bait and shot at anyone

who tried to rescue them. The babies were left in the safe room with their dead father for 14 hours.

       814.       Maya and Dvir received messages during the ordeal that they needed to stay in their

safe room and could not be rescued yet. They heard that terrorists were burning down houses, and

so they kept feeling the walls of their room to see if their own house was on fire. At some point that

night, their mobile phones died.

       815.       At about 5:30 a.m. on October 8, Maya and Dvir woke up to guns in their faces.

The IDF had come to evacuate them, and warned them that terrorists were still outside, and they

had just minutes to pack and leave.




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       816.      The soldiers took them to another building within the kibbutz, where they joined

19 other civilians who had also been evacuated from their homes. The building had no electricity,

water, or food. The group stayed there for almost five more hours while the IDF fought off the

terrorists that continued to attack the kibbutz. Maya, Dvir, and their son were released at about

10:00 a.m., and learned more about the devastation that had taken place. Over 60 residents of their

kibbutz had been murdered, among them Dvir’s sister, brother-in-law, and cousin. The family’s

babysitter was kidnapped into Gaza along with 17 others. Two of the hostages have died in Gaza.

       817.      Maya, Dvir, and their son have not been back in their home since the attack.

       818.      Maya and Dvir attend therapy together and individually; they’ve lost weight from

not eating and suffer from nightmares. It took each of them months to return to work; Maya

currently works on a part-time schedule. She misses her sister-in-law immensely; the two had babies

at the same time and were in the maternity ward together. Maya suffered a miscarriage recently,

and attributes her loss to the stress and grief the attack caused her.

       819.      As a direct and foreseeable result of the October 7 Attack, Plaintiff Maya Treger

Rosenfeld has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

        S.       The Levy Family

       820.      Roy Joseph Levy was a citizen of the United States and a resident of the State of

Israel when he was killed by Hamas on October 7, 2023. He was 44 years old.

       821.      Roy moved from Massachusetts to Israel as a child with his family and spent his

career in the IDF. He had achieved the rank of colonel at the time of his death.




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       822.     On the morning of October 7, Roy received a call informing him of the unfolding

attacks in southern Israel. He left his house by 7:45 a.m. after warning his wife, Yael Levy

Oppenheimer, that it would be a long day.

       823.     Roy drove south and headed straight into the battle – a highly unusual move for a

colonel. Around this time, Roy spoke to his brother Iddo, instructing Iddo to shelter in place and

telling him that he was on a mission to save lives. These were the last words that Roy’s family ever

heard from him.

       824.     At approximately 10:30 a.m., Roy arrived in the vicinity of Re’im (near the Gaza

border), where he encountered heavy gunfire from Hamas terrorists who had infiltrated the area.

Roy engaged the terrorists. Advancing from home to home, under heavy gunfire and massively

outnumbered by terrorists, Roy liberated captives and saved families. Many lived to tell how Roy

personally saved them from captivity, torture, and death.

       825.     In the course of battle, Roy was shot in his wrist. He paused to bandage the wound

and kept fighting. He then took another more serious wound to his torso. Nonetheless, Roy pushed

through the pain to pick up his rifle and continue fighting.

       826.     At about 1:30 p.m., as Roy was attempting to stop further murder and kidnapping

of civilians in Re’im, a Hamas terrorist shot Roy in the heart.

       827.     At about 5 p.m., Roy’s brother Iddo received a call from a friend, asking about Roy

because of something the friend had heard about Roy having been shot, and possibly killed. Roy

had not answered any calls or messages from his family, who were anxiously checking on his well-

being. Nor did he return home that night.

       828.     At about 12:30 a.m. on October 8, two officers appeared on Yael Levy

Oppenheimer’s doorstep to deliver the tragic news of Roy’s death.

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        829.     The Plaintiff Estate of Roy Joseph Levy is represented here by his wife, Yael Levy

Oppenheimer.

        830.     Plaintiff Yael Levy Oppenheimer also brings this action individually. She is a

citizen and resident of the State of Israel.

        831.     Plaintiff Yael Levy Oppenheimer also brings this action on behalf of her three

minor children, Plaintiffs I.O., Y.L., and J.L. They are citizens and residents of the State of Israel.

I.O. is Roy’s stepson. Y.L. and J.L. are Roy’s sons.

        832.     Plaintiff Tzuria Levy is a citizen and resident of the State of Israel. She is Roy

Joseph Levy’s daughter.

        833.     Plaintiff Zohar Levy is a citizen and resident of the State of Israel. She is Roy

Joseph Levy’s daughter.

        834.     Naomi Kahana brings this action on behalf of Plaintiff A.L., who is a citizen and

resident of the State of Israel. A.L. is Roy Joseph Levy’s minor daughter.

        835.     Plaintiff Judith Levy is a citizen and resident of the State of Israel. She is Roy

Joseph Levy’s mother.

        836.     Plaintiff Shlomo Levy is a citizen and resident of the State of Israel. He is Roy

Joseph Levy’s father.

        837.     Plaintiff Eliyahu Levy is a citizen and resident of the State of Israel. He is Roy

Joseph Levy’s oldest brother.

        838.     Plaintiff Iddo Moshe Levy is a citizen of the United States and a resident of the

State of Israel. He is Roy Joseph Levy’s brother.

        839.     Plaintiff Nir Yehezkel Levy is a citizen and resident of the State of Israel. He is

Roy Joseph Levy’s youngest brother.

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        840.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Roy Joseph Levy experienced conscious pain and suffering and suffered economic loss.

        841.    As a direct and foreseeable result of the October 7 Attack and the death of Roy

Joseph Levy, Plaintiffs Yael Levy Oppenheimer, I.O., Y.L., J.L., Tzuria Levy, Zohar Levy, A.L.,

Judith Levy, Shlomo Levy, Eliyahu Levy, Iddo Moshe Levy, and Nir Yehezkel Levy have suffered

severe mental anguish and extreme emotional distress, and economic loss.

         T.     The Shafer Family

        842.    Plaintiff Shoshana Bracha Shafer was a citizen of the United States when she was

injured by Hamas on November 30, 2023. She was 22 years old.

        843.    Shoshana Bracha was waiting at a bus stop on David Ben Gurion Boulevard in

Jerusalem when two Hamas gunmen got out of a vehicle and opened fire on civilians at

approximately 7:40 a.m. Three people were killed in the attack.

        844.    The attack was carried out by brothers Murad Namr, 38, and Ibrahim Namr, 30,

both Hamas operatives who had previously been jailed for terror activities. Murad was jailed

between 2010 and 2020 for planning terror attacks under directions from the Qassam Brigades in

the Gaza Strip, and Ibrahim was jailed in 2014 for undisclosed terror activity.

        845.    The terrorists were armed with an M-16 assault rifle and a handgun. Police found

large amounts of ammunition in their vehicle.

        846.    Two off-duty soldiers and an armed civilian in the area returned fire, killing the two

terrorists.

        847.    Hamas claimed responsibility for the attack that afternoon, hailing the perpetrators

as “jihad-waging martyrs.”




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       848.     Shoshana Bracha sustained a bullet entry wound in her back and an exit wound

through her lower abdomen, leaving nine holes in her body. She has undergone three surgeries to

repair severe injuries to multiple internal organs, as well as broken bones. She has yet to return to

her beloved job as a teacher for middle school students and is still in outpatient rehabilitation in the

hospital.

       849.     Shoshana Bracha’s parents, Plaintiffs Michael Martin Shafer and Rivka Yehudis

Shafer, were both in the United States at the time of the attack. It was very rare for them both to

have traveled abroad at the same time, but they had been invited to celebrate a family wedding.

Shoshana Bracha was on the phone with her grandmother, Rivka’s mother with whom Rivka was

staying in the U.S., when the shooting started. Shoshana Bracha hung up the phone quickly, and

Rivka’s mother commented to Rivka that she heard a lot of commotion.

       850.     Rivka called her daughter twice with no answer, and after Shoshana Bracha called

back to tell her she had been in an attack and was bleeding, Rivka called her older children in Israel

and instructed them to go find their sister immediately. In fact, Plaintiff Nechama Sorah Gove,

Shoshana Bracha’s oldest sister, met Shoshana Bracha in the hospital as she was being wheeled to

a pre-surgery CT scan. She had rushed to the attack scene and one of the emergency responders

there drove her to the hospital right away.

       851.     Rivka and Michael made immediate arrangements to fly back to Israel and arrived

at about 11:00 a.m. the next day. They rushed straight from the airport to the hospital, and have

stayed by Shoshana Bracha’s side since, remaining with her during her inpatient stays in the hospital

and at rehab.




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        852.     Shoshana Bracha’s nine brothers and sisters have also been a tremendous source of

support, while each, like their parents, has experienced the anguish of witnessing their sister’s

prolonged pain. The family has experienced newfound fears and anxiety since the terrorist attack.

        853.     Plaintiffs Michael Martin Shafer and Rivka Yehudis Shafer, both of whom are

citizens of the United States, bring this action individually and on behalf of their minor children,

Plaintiff A.S., Plaintiff E.L.S., and Plaintiff E.P.S., who are all citizens of the United States.

        854.     Plaintiff Yehuda Shafer is a citizen of the United States. He is a brother of Shoshana

Bracha Shafer.

        855.     Plaintiff Yisroel Meir Shafer is a citizen of the United States. He is a brother of

Shoshana Bracha Shafer.

        856.     Plaintiff Yitzchok Shafer is a citizen of the United States. He is a brother of

Shoshana Bracha Shafer.

        857.     Plaintiff Nechama Sorah Gove, née Shafer, is a citizen of the United States. She is

the sister of Shoshana Bracha Shafer.

        858.     Plaintiff Chana Shira Abraham, née Shafer, is a citizen of the United States. She is

the sister of Shoshana Bracha Shafer.

        859.     Plaintiff Chaim Shafer is a citizen of the United States. He is a brother of Shoshana

Bracha Shafer.

        860.     As a direct and foreseeable result of the October 7 Attack and the attack that

followed on November 30, 2023, Plaintiff Shoshana Bracha Shafer suffered severe physical and

mental anguish and extreme emotional distress, and economic loss.

        861.     As a direct and foreseeable result of the October 7 attack and the attack that

followed on November 30, 2023, during which Shoshana Bracha Shafer was injured, Plaintiffs

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Michael Martin Shafer, Rivka Yehudis Shafer, Yehuda Shafer, Yisroel Meir Shafer, Yitzchok

Shafer, Nechama Sorah Gove, née Shafer, Chana Shira Abraham, née Shafer, Chaim Shafer, A.S.,

E.L.S., and E.P.S. have experienced severe mental anguish and extreme emotional distress, and

economic loss.

        U.       The Neutra Family

        862.     Omer Maxim Neutra was a dual citizen of the United States and the State of Israel

when he was murdered by Hamas on October 7, 2023. He was 21 years old.

        863.     Born in New York City and raised in Long Island, Omer had been accepted to study

at SUNY Binghamton, but after spending time in Israel post-high school, he decided instead to

enlist in the IDF.

        864.     Omer became a tank platoon commander in the IDF. On October 7, 2023, Omer

was on duty as the commander of a post called the White House, in charge of two tanks and a

platoon from the Golani Brigade. The White House post is situated between Kibbutz Nirim and

Kibbutz Nir Oz.

        865.     Omer was last seen in Hamas video footage taken on the morning of the October 7

Attack. In the video, he was lying on the ground outside his tank at the Gaza border, injured.

        866.     Omer was taken hostage into Gaza. For almost 14 months, Omer’s family believed

that he was still alive. But on December 2, 2024, Israeli intelligence revealed that Omer had been

killed on October 7, 2023, a few hours after he was forced into the tunnels in Gaza.

867.    Upon this announcement, New York Governor Kathy Hochul ordered flags to be flown at

half-staff on the day of Omer’s funeral. A section of road in the Long Island town where Omer

grew up us was renamed “Captain Omer Neutra Way.”

        868.     Hamas still holds Omer’s body hostage.

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          869.   Plaintiffs Ronen Neutra and Orna Esther Neutra bring this action on behalf of the

Estate of Omer Maxim Neutra.

          870.   Plaintiffs Ronen Neutra and Orna Esther Neutra also bring this action individually.

They are dual citizens of the United States and the State of Israel and the parents of Omer Maxim

Neutra.

          871.   Plaintiff Daniel Yum Neutra is a dual citizen of the United States and the State of

Israel. He is the younger brother of Omer Maxim Neutra.

          872.   Plaintiff Or Joseph Rahbek is a Danish citizen. He is the older half-brother of Omer

Maxim Neutra.

          873.   Plaintiff Keren Rahbek is a Danish citizen. She is an older half-sister of Omer

Maxim Neutra. Omer had recently celebrated Keren’s wedding in Copenhagen in May 2023.

          874.   Plaintiff Leah Rahbek is a Danish citizen. She is an older half-sister of Omer Maxim

Neutra.

          875.   As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Omer Maxim Neutra experienced conscious pain and suffering and suffered economic loss.

          876.   As a direct and foreseeable result of the October 7 Attack, and the abduction and

murder of Omer Maxim Neutra, Plaintiffs Ronen Neutra, Orna Esther Neutra, Daniel Yum Neutra,

Or Joseph Rahbek, Keren Rahbek, and Leah Rahbek have suffered severe mental anguish and

extreme emotional distress, and economic loss.

      V.         The Airley Family

          877.   Benyamin Airley was a citizen of the United States and a resident of the State of

Israel when he was killed by Hamas. He was 21 years old.




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       878.       Benyamin Airley was a member of the Paratroopers Brigade’s 101st Battalion in

the IDF.

       879.       On November 18, 2023, Benyamin was fighting Hamas terrorists in the northern

Gaza Strip when he was killed. Benyamin was deployed to the Gaza Strip as a direct result of the

October 7 Attack.

           880.   Benyamin and fellow soldiers were staying in a beach house in Gaza. They were

eating breakfast, when at 7:30 a.m., they were called to the scene of a house that had been invaded

by Hamas terrorists.

           881.   Benyamin insisted on joining his fellow soldiers on this mission, believing his

Negev gun would keep him safe. He and two other soldiers entered the house and began scouting

rooms. They saw a terrorist on the floor and assumed he was alone, but there was another hiding

behind a couch. That terrorist shot and killed all three of the soldiers.

           882.   Benyamin’s parents, Robert and Jennifer Airley, bring this action on behalf of the

Estate of Benyamin Airley.

           883.   Plaintiff Robert Airley also brings this action individually. He is a citizen of the

United States and is a resident of the State of Israel. He is the father of Benyamin Airley.

           884.   Plaintiff Jennifer Airley also brings this action individually. She is a citizen of the

United States and is a resident of the State of Israel. She is the mother of Benyamin Airley.

           885.   As a direct and foreseeable result of the October 7 Attack and the attack that

followed on November 18, 2023, attack, the Plaintiff Estate of Benyamin Airley experienced

conscious pain and suffering and suffered economic loss.

           886.   As a direct and foreseeable result of the October 7 Attack and the attack that

followed on November 18, 2023, during which Benyamin Airley was killed, Plaintiffs Robert

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Airley and Jennifer Airley have suffered severe mental anguish and extreme emotional distress,

and economic loss.

        W.     The Bours Family

        887.   Aaron Bours was a citizen of the United States and a resident of the State of Israel

when he was injured by Hamas. He was 33 years old at the time.

       888.    Aaron was in the United States, en route to a conference in Las Vegas on October

7, 2023. When he landed in Las Vegas, he had 20 messages from his wife trying to reach him to

inform him of the invasion of Israel by Hamas.

        889.   Aaron was called up to his IDF reserve unit, the Givati Brigade serving under the

Southern Command, almost immediately following the events of October 7, 2023.

        890.   Aaron was part of the ground invasion into Gaza. He was going house-to-house

looking for Hamas terrorists and Hamas tunnels for the combat engineers to destroy.

        891.   He was in Gaza for two weeks before he was injured.

        892.   On November 14, 2023, Aaron was with his unit heading toward a home in Beit

Hanoun in the Gaza Strip. His unit was the last to cross the street in open view of a school that was

affiliated with the United Nations Relief and Works Agency. As is protocol, Aaron’s commander

stopped to ask permission to enter the house, and Aaron felt like someone was watching him.

When he arrived at the house, he turned back to see if his officer was behind him, but at that same

time, Aaron heard two gunshots and saw his officer and a communications person fall to the

ground. Aaron saw at least two, and as many as four, Hamas terrorists with AK-47s and a sniper

shooting at them.

        893.   Aaron began to shoot back at the school. He stopped to look at his officer, who

according to Aaron, “looked terrible.” Aaron decided to attempt to rescue his officer to try to save


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his life. Aaron ran to grab his officer but was only able to travel a few feet before he was shot in

the right leg, shattering his bone. He was crawling back to the safety of the house when he was

shot in the left leg. He continued to crawl to the house and was rescued by the Unit 669 rescue

team.

         894.   He was brought to Sheba Medical Center, where he underwent three surgeries to

his right leg, including a bone graft. Aaron spent five months in recovery and underwent months

of intensive rehabilitation afterward. In addition to the injuries to his legs, Aaron currently suffers

from difficulty concentrating and sleeping.

         895.   As a direct and foreseeable result of the October 7 Attack and the attack that

followed on November 14, 2023, Plaintiff Aaron Bours has suffered severe physical and mental

anguish and extreme emotional distress, and economic loss.

         X.     The Davidovich Family

         896.   Rivka Davidovich was a citizen of the United States and a resident of the State of

Israel when she was injured by Hamas. She was 33 years old at the time of the attack.

        897.    Rivka was at home in Ofakim, Israel, with her children on October 7, 2023. Her

husband and oldest son were at the synagogue from 6:00 a.m. until approximately 12:00 p.m.

because it was the Jewish holiday of Simchat Torah.

         898.   Rivka reports hearing many alarms and feeling a great deal of fear on October 7,

2023.

         899.   In the first week following October 7, 2023, neither Rivka, nor her family, left their

home, even to buy bread and milk, due to the intense fear and trauma. Remaining shut in her home

was extremely difficult because two of her children were diagnosed with ADHD and were intensely

affected by the atmosphere both inside and outside of the house.


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          900.   Once the family was able to leave their home, the entire family, including Rivka,

received emotional and art therapy to process their trauma.

          901.   Plaintiff A.D. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Rivka Davidovich, as guardian of A.D., brings this claim on behalf of A.D., a minor child.

          902.   Plaintiff H.M.D. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Rivka Davidovich, as guardian of H.M.D., brings this claim on behalf of H.M.D., a minor

child.

          903.   Plaintiff M.D. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Rivka Davidovich, as guardian of M.D., brings this claim on behalf of M.D., a minor child.

          904.   Plaintiff M.D. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Rivka Davidovich, as guardian of M.D., brings this claim on behalf of M.D., a minor child.

          905.   Plaintiff S.E.D. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Rivka Davidovich, as guardian of S.E.D., brings this claim on behalf of S.E.D., a minor

child.

          906.   Plaintiff Y.D. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Rivka Davidovich, as guardian of Y.D., brings this claim on behalf of Y.D., a minor child.

          907.   Plaintiff A.E.D. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Rivka Davidovich, as guardian of A.E.D., brings this claim on behalf of A.E.D., a minor

child.

          908.   As a direct and foreseeable result of the October 7 Attack, Plaintiff Rivka

Davidovich has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.




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           909.   As a direct and foreseeable result of the October 7 Attack on and the injuries of

Rivka Davidovich, Plaintiffs A.D., H.M.D., M.D., M.D., S.E.D., Y.D. and A.E.D. have experienced

severe mental anguish and extreme emotional distress, and economic loss.

           Y.     The Ben Zaken Family

           910.   Chana Sarah Ben Zaken was a citizen of the United States and a resident of the

State of Israel when she was injured by Hamas. She was 31 years old at the time.

        911.      Chana Sarah Ben Zaken was at home with her family in Ofakim, Israel, on October

7, 2023.

           912.   When the terrorists invaded Ofakim, Chana and her children hid in the safe room

in their home. Her husband, who was outside, saw the terrorists shooting in the vicinity of their

home.

           913.   Following the October 7 Attack, Chana and her family were displaced until

December 2023 from their home in Ofakim to Hever, a villa donated to refugees from the South.

           914.   Chana Sarah Ben Zaken suffers from anxiety, panic attacks, insomnia, and paranoia

as a result of the October 7 Attack.

           915.   As a direct and foreseeable result of the October 7 Attack, Plaintiff Chana Sarah

Ben Zaken has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

           Z.     The Goodman Family

           916.   Donald R. Goodman was a citizen of the United States and a resident of the State

of Israel when he was injured by Hamas. He was 70 years old at the time.

        917.      On October 7, 2023, Donald was at home in Kibbutz Nir Yitzhak, with his wife and

granddaughter. They were asleep at 6:30 a.m., when Donald and his family heard the alarm in their


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community instructing them to take cover within 15 seconds. They heard booming sounds and 50-

60 rocket attacks.

         918.    Donald and his family got into their safe room with water and crackers and

attempted to get information on their cell phones.

         919.    Hamas terrorists invaded Donald’s home, smashed windows, destroyed his

computer, and stole money and kitchen appliances from his home.

         920.    Donald and his family were also displaced from their home. When the IDF released

the alarm, the Goodmans were told to relocate into four shelters, each housing 120 people. Donald

and his family slept on the floor and had no accessible bathroom.

         921.    As a direct and foreseeable result of the October 7 Attack, Plaintiff Donald

Goodman has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

         AA.     The Hamo Family

         922.    Hadas Pnina Saffer Ben Hamo was a citizen of the United States and a resident of

the State of Israel when she was injured by Hamas. She was 31 years old at the time.

        923.     On October 7, 2023, Hadas was at home in Ofakim with her three young children,

ranging in age from five years old to less than a year old, when the terrorists invaded. Her husband

was in synagogue for the Jewish holiday of Simchat Torah, unaware of what was happening in

town.

         924.    Hadas’s next-door neighbors were shot by the terrorists, causing Hadas intense fear.

         925.    Hadas and her children were stuck in their home for two days.

         926.    Hadas suffers from psychological trauma, insomnia, and inability to readjust to

normal life.


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        927.   As a direct and foreseeable result of the October 7 Attack, Plaintiff Hadas Pnina

Saffer Ben Hamo has suffered severe physical and mental anguish and extreme emotional distress,

and economic loss.

        BB.    The Klughaupt Family

        928.   Amichay Klughaupt was a citizen of the United States and a resident of the State

of Israel when he was injured by Hamas. He was 19 years old at the time.

       929.    Amichay was a member of the IDF when he was injured by Hamas terrorists on

December 8, 2023. Amichay’s commander was standing outside the door of their tank when

terrorists ambushed them. The commander was shot and fell into the tank, where Amichay

attempted, unsuccessfully, to resuscitate him by administering CPR. The tank was bombarded with

so many RPGs that it flipped over, landing upside down in a ditch on the side of the road. For the

next six hours before Amichay and his team were evacuated, Amichay believed he would die.

        930.   As a result of the attack, two fingers from Amichay’s hands detached and he

incurred shrapnel to his thigh, back and hands.

        931.   Amichay has had two surgeries thus far, and a third will be necessary in the near

future to attempt to restore feeling and function to the re-attached fingers. The likelihood of success

is very low.

        932.   As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 8, 2023, Plaintiff Amichay Klughaupt has suffered severe physical and

mental anguish and extreme emotional distress, and economic loss.

        CC.    The Moses Family

        933.   Elitzur Moses was a citizen of the United States and a resident of the State of Israel

when he was injured by Hamas. He was 42 years old at the time.


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       934.     On December 2, 2023, Elitzur was serving as a member of the IDF in Gaza when

he was wounded by an RPG that was shot at him by a terrorist, injuring his left hand.

        935.    Elitzur wrapped his injured hand and tried to continue fighting, but he was told he

had to leave battle and was sent to Barzillai Hospital. He had a 90% tear to the tendon in his hand,

which had to be surgically repaired at Sheba Hospital.

        936.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 2, 2023, Plaintiff Elitzur Moses has suffered severe physical and mental

anguish and extreme emotional distress, and economic loss.

        DD.     The Newman Family

        937.    David Newman was a citizen and resident of the State of Israel when he was

murdered by Hamas. He was 21 years old.

       938.     On October 7, 2023, David was attending the Nova Music Festival in Kibbutz

Re’im when terrorists invaded Israel and began attacking the people at the festival.

       939.     David was with his girlfriend at a party at the festival when they heard what they

thought were fireworks, but what turned out to be missiles. David remained calm and started to

leave the festival with his girlfriend. David and his girlfriend realized the terrorists were inside the

festival, wearing Israeli military uniforms, so David told his girlfriend to lie down with her hands

covering her head. They would remain like that until the shooting subsided before trying to flee.

David and his girlfriend got to a large metal dumpster and climbed inside of it, with anywhere

between ten to fifteen other people. They hid in the dumpster, underneath garbage bags, for

approximately four hours. During their time hiding in the dumpster, David remained calm and tried

to keep the others calm as well.




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       940.      David texted a friend who was a high-level official within the IDF asking to be

rescued. Unfortunately, his phone died before his location could be shared with the friend.

      941.       At some point, the group heard people outside the dumpster speaking in Arabic.

       942.      The terrorists came right up to the dumpster, and with David on top, began shooting.

Only four of the people hiding in the dumpster came out alive. David was shot dead.

       943.      Plaintiff Mitchel Newman is a citizen of the United States and is a resident of the

State of Israel. He is the father of David Newman.

       944.      Plaintiff Noach Newman is a citizen of the United States and is a resident of the

State of Israel. He is the brother of David Newman.

       945.      Plaintiff Gavriel Newman is a citizen of the United States and is a resident of the

State of Israel. He is the brother of David Newman.

       946.      Plaintiff Dvir Tuvia Newman is a citizen of the United States and is a resident of

the State of Israel. He is the brother of David Newman.

       947.      Plaintiff Batya Leah Sprei is a citizen of the United States and is a resident of the

State of Israel. She is the sister of David Newman.

       948.      As a direct and foreseeable result of the October 7 Attack and the death of David

Newman, Plaintiffs Mitchel Newman, Noach Newman, Gavriel Newman, Dvir Tuvia Newman,

and Batya Leah Sprei have suffered severe mental anguish and extreme emotional distress, and

economic loss.

       EE.       The Rothner Family

       949.      Avraham Rothner was a citizen of the United States and a resident of the State of

Israel when he was injured by Hamas. He was 22 years old at the time of the attack.




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       950.      On October 7, 2023, Avraham was in Kfar Aza Kibbutz. He saw the brutality of

the Hamas terrorists firsthand and witnessed the murders of countless innocent Israeli civilians.

        951.     During the attack, he made great efforts to help the wounded, but many of those

died before Avraham’s eyes.

       952.      Avraham is suffering from severe PTSD and mental and emotional trauma as a

result of the events of October 7, 2023.

        953.     As a direct and foreseeable result of the October 7 Attack, Plaintiff Avraham

Rothner has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

        DD.      The Shindman Family

        954.     Nadav Benjamin Shindman was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas. He was 21 years old at the time.

       955.      Nadav was a member of the IDF on March 31, 2024.

        956.     On March 31, 2024, Nadav and his unit were in an armored IDF vehicle evacuating

the wounded when they were injured by an RPG. Nadav was injured by shrapnel and the

shockwave of the RPG.

        957.     Nadav still has three pieces of shrapnel in his throat, four in his arm, and one in his

knee. Nadav lives in constant pain, making daily tasks a challenge.

        958.     As a direct and foreseeable result of the October 7 Attack and the attack that

followed on March 31, 2024, Plaintiff Nadav Benjamin Shindman has suffered severe physical

and mental anguish and extreme emotional distress, and economic loss.

        EE.      The Spitz Family




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       959.    Aaron Moshe Spitz was a citizen of the United States and a resident of the State of

Israel when he was injured by Hamas. He was 21 years old at the time.

      960.     Aaron was a combat soldier in the Givati Brigade.

       961.    Aaron was severely injured on February 27, 2024, while serving as an IDF soldier

in the Northern Gaza Strip. Aaron lost both of his legs and his right hand due to an explosion and

was thought to be dead by fellow soldiers who observed the attack. Aaron had a weak pulse and

was quickly evacuated and then air-lifted to Soroka Medical Center.

       962.    He underwent a complex and prolonged surgery while there. In total, Aaron

received over 30 blood transfusions to save his life and was unconscious for 41 days before waking

up.

       963.    Plaintiff Leah Spitz is a citizen of the United States and is a resident of the State of

Israel. She is the mother of Aaron Moshe Spitz.

       964.    Plaintiff Gavriel Binyamin Spitz is a citizen of the United States and is a resident

of the State of Israel. He is the father of Aaron Moshe Spitz.

       965.    Plaintiff Avital Miriam Spitz is a citizen of the United States and is a resident of

the State of Israel. She is the sister of Aaron Moshe Spitz.

       966.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on February 27, 2024, Plaintiff Aaron Moshe Spitz has suffered severe physical and

mental anguish and extreme emotional distress, and economic loss.

       967.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on February 27, 2024, during which Aaron Moshe Spitz was injured, Plaintiffs Leah

Spitz, Gavriel Binyamin Spitz, and Avital Miriam Spitz have suffered severe mental anguish and

extreme emotional distress, and economic loss.

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        FF.     The Thaler Family

        968.    Aryeh Thaler was a citizen of the United States and a resident of the State of Israel

when he was injured by Hamas. He was 23 years old at the time of the attack.

       969.     Aryeh was a graduate of the ultra-Orthodox Netzah Yehuda Battalion and an officer

in the IDF.

       970.     On December 8, 2023, Aryeh was fighting in Gaza when an IED exploded and a

large piece of shrapnel entered his lower abdomen, causing severe damage to his lower internal

organs and intense bleeding. He survived by being airlifted to Ashdod Hospital, while receiving

blood transfusions. He was on the operating table within an hour of being attacked. He spent 2.5

weeks in the hospital and is currently still in rehab.

        971.    Plaintiff Jeffrey Thaler is a citizen of the United States and is a resident of the State

of Israel. He is the father of Aryeh Thaler.

        972.    Plaintiff Karen Thaler is a citizen of the United States and is a resident of the State

of Israel. She is the mother of Aryeh Thaler.

        973.    Plaintiff Zev Thaler is a citizen of the United States and is a resident of the State of

Israel. He is the brother of Aryeh Thaler.

        974.    Plaintiff Eliyahu Thaler is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Aryeh Thaler.

        975.    Plaintiff Yosef Thaler is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Aryeh Thaler.

        976.    Plaintiff Pesha Thaler is a citizen of the United States and is a resident of the State

of Israel. She is the sister of Aryeh Thaler.




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       977.    Plaintiffs Jeffrey Thaler and Karen Thaler bring this action on behalf of Plaintiff

A.T., a minor child, as his legal guardians. A.T. is a citizen of the United States and is a resident

of the State of Israel. He is the brother of Aryeh Thaler.

       978.    Plaintiffs Jeffrey Thaler and Karen Thaler bring this action on behalf of Plaintiff

L.T., a minor child, as her legal guardians. L.T. is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Aryeh Thaler.

       979.    Plaintiffs Jeffrey Thaler and Karen Thaler bring this action on behalf of Plaintiff

R.T., a minor child, as her legal guardians. R.T. is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Aryeh Thaler.

       980.    Plaintiffs Jeffrey Thaler and Karen Thaler bring this action on behalf of Plaintiff

H.T., a minor child, as her legal guardians. H.T. is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Aryeh Thaler.

       981.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 8, 2023, Plaintiff Aryeh Thaler has suffered severe physical and mental

anguish and extreme emotional distress, and economic loss.

       982.    As a direct and foreseeable result of the October 7 Attack and the attack that

followed on December 8, 2023, during which Aryeh Thaler was injured, Plaintiffs Jeffrey Thaler,

Karen Thaler, Zev Thaler, Eliyahu Thaler, Yosef Thaler, Pesha Thaler, A.T., L.T., R.T., and H.T.

have suffered severe mental anguish and extreme emotional distress, and economic loss.

       GG.     The Vardi Family

       983.    Laurie Vardi was a citizen and resident of the State of Israel when she was murdered

by Hamas. She was 24 years old.




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       984.     Laurie Vardi was at the Nova Music Festival on October 7, 2023, when rockets

began to fall in the vicinity of the festival. She and her boyfriend got into their car and attempted to

leave but then took shelter in a concrete bomb shelter near Kibbutz Alumim. Hamas terrorists threw

a grenade at the bomb shelter, and Laurie went outside for air because of the smoke and was shot

and killed immediately outside the bomb shelter.

        985.    Plaintiff Ariel Vardi is a citizen of the United States and a resident of the State of

Massachusetts. He is the brother of Laurie Vardi.

        986.    As a direct and foreseeable result of the October 7 Attack and the death of Laurie

Vardi, Plaintiff Ariel Vardi has suffered severe mental anguish and extreme emotional distress,

and economic loss.

        HH.     The Zer-Chen Family

        987.    Leor Zer-Chen was a citizen of the United States and a resident of the State of Israel

when he was injured by Hamas. He was 25 years old at the time.

       988.     On October 7, 2023, Leor was in synagogue services in Ashkelon, Israel, when the

attacks began. Though Israeli security forces set up protection in the vicinity of the synagogue, Leor

was compelled to reach his family. It took him thirty minutes to reach his family by foot. There

were rockets landing in the streets near him, and armed people were all over. Leor feared for his

safety because he did not know if the gunmen he saw were Israeli security forces or terrorists, and

he worried that his family would never see him again.

       989.     He was finally able to obtain a ride in an ambulance to reach his wife and son.

       990.     Leor has been diagnosed with depression caused by the October 7 Attack.

       991.     Plaintiff Yaakov Zer-Chen is a citizen of the United States and is a resident of the

State of Israel. He is the son of Leor Zer-Chen.


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       992.     Plaintiff Yael Zer-Chen is a citizen of the United States and is a resident of the State

of Israel. She is the spouse of Leor Zer-Chen.

       993.     As a direct and foreseeable result of the October 7 Attack, Plaintiff Leor Zer-Chen

has suffered severe physical and mental anguish and extreme emotional distress, and economic loss.

       994.     As a direct and foreseeable result of the October 7 Attack and the injuries of Leor

Zer-Chen, Plaintiffs Yaakov Zer-Chen and Yael Zer-Chen have suffered severe mental anguish and

extreme emotional distress, and economic loss.

        II.     The Edan Family

        995.    Smadar Mor Edan was a citizen of the United States and a resident of the State of

Israel when she was murdered by Hamas. She was 38 years old.

       996.     Roee Edan was a citizen and resident of the State of Israel when he was murdered

by Hamas. He was 43 years old. He was Smadar’s husband.

       997.     A.E. was a dual U.S.-Israeli citizen when she was kidnapped by Hamas on October

7, 2023. She was three years old when she was kidnapped.

       998.     M.E. was a dual U.S.-Israeli citizen when he saw his parents murdered and his sister

kidnapped by Hamas on October 7, 2023. He was nine years old.

       999.     Am.E. was a dual U.S.-Israeli citizen when she saw her parents murdered and her

sister kidnapped by Hamas on October 7, 2023. She was six years old.

       1000.    On October 7, 2023, the family was at home in Kibbutz Kfar Aza, just a few miles

from the Gaza border.

       1001.    After infiltrating the kibbutz, Hamas terrorists came into the home and shot and

killed Smadar in front of A.E., M.E., and Am.E. The three children ran outside and saw their father,




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a newspaper photographer, running toward the house. Roee took A.E. into his arms with his other

children beside him.

        1002.   Roee was shot from behind and fell with A.E. in his arms. M.E. and Am.E. thought

both their father and youngest sister were dead. They immediately ran back into their house and hid

on shelves in a closet next to where their mother’s body lay.

        1003.   Roee collapsed on top of A.E., but his body had shielded her from the bullets. She

managed to free herself and ran, covered in her father’s blood, to a neighbor’s house where she took

shelter with Avihai and Hagar Brodetz and their children.

        1004.   Avihai went outside to defend the kibbutz while A.E. stayed with Hagar and her

children. A.E., Hagar Brodetz, and the Brodetz children were taken hostage into Gaza.

        1005.   A.E. was held in Gaza for 50 days before being released as part of a 4-day ceasefire

between Israel and Hamas on November 26, 2023. She celebrated her fourth birthday in captivity

in Gaza.

        1006.   M.E. and Am.E. hid in the closet next to where their mother’s body lay for nearly

14 hours. They had a phone and spoke with a social worker for a long part of this time, but it was

not clear if it was safe for them to come out of hiding until soldiers with the IDF came to rescue

them.

        1007.   Smadar’s parents, Eitan Mor and Shlomit Miriam Mor, bring this action on behalf

of the Estate of Smadar Mor Edan.

        1008.   Plaintiff Eitan Mor also brings this action individually. He is a citizen and resident

of the State of Israel. He is the father of Smadar Mor Edan.

        1009.   Plaintiff Shlomit Miriam Mor also brings this action individually. She is a citizen

of the United States and is a resident of the State of Israel. She is the mother of Smadar Mor Edan.

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        1010.    Leron Mor and Zoltan Ivan Gyongyosi bring this action on behalf of minor

Plaintiffs, A.E., M.E., and Am.E., as their legal guardians.

        1011.    Leron Mor also brings this action individually. She is a citizen and resident of the

State of Israel. She is the sister of Smadar Mor Edan.

        1012.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Smadar Edan experienced conscious pain and suffering and suffered economic loss.

        1013.    As a direct and foreseeable result of the October 7 Attack, Plaintiff A.E. suffered

severe physical and mental anguish and extreme emotional distress, and economic loss.

        1014.    As a direct and foreseeable result of the October 7 Attack, Plaintiffs M.E. and

Am.E. suffered severe physical and mental anguish and extreme emotional distress, and economic

loss.

        1015.    As a direct and foreseeable result of the October 7 Attack, the murder of Smadar

Mor Edan, and A.E. being taken hostage, Plaintiffs Eitan Mor, Shlomit Miriam Mor, Leron Mor,

A.E., M.E., and Am.E. have suffered severe mental anguish and extreme emotional distress, and

economic loss.

        1016.    As a direct and foreseeable result of the October 7 Attack and the murder of their

father Roee Edan, Plaintiffs A.E., M.E., and Am.E. have also suffered severe mental anguish and

extreme emotional distress, and economic loss.

         JJ.     The Zafrani Family

         1017. Itay Zafrani was a citizen of the United States and a resident of the State of Israel

 when he was murdered by Hamas. He was 35 years old.

        1018.    Itay was attending the Nova Music Festival in Re’im Negev, Israel, on October 7,

2023. Itay left the festival immediately by car when the rockets started at approximately 6:35 a.m.


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and drove toward the Mefalsim junction where he first encountered Hamas terrorists. He tried to

make a U-turn but was shot and killed there at 6:52 a.m. The terrorists then pulled Itay out of the

car to see what they could steal from him, taking his iPhone and Apple Watch.

        1019.      Plaintiff Michal Zipporah Zafrani is a citizen of the United States and is a resident

of the State of Israel. She is the mother of Itay Zafrani. She brings this action individually, and on

behalf of the Estate of Itay Zafrani.

        1020.      Plaintiff Inbal Chen is a citizen and resident of the State of Israel. She brings this

action individually, as the surviving spouse of Itay Zafrani, and as the legal guardian of A.Z., the

surviving child of Itay Zafrani.

        1021.      Plaintiff David Zafrani is a citizen and resident of the State of Israel. He is the father

of Itay Zafrani.

        1022.      Plaintiff Ori Zafrani is a citizen of the United States and a resident of the State of

Israel. He is the brother of Itay Zafrani.

        1023.      Plaintiff Osnat Tal Zafrani is a citizen and resident of the State of Israel. She is the

sister of Itay Zafrani.

        1024.      Plaintiff Roni Zafrani is a citizen of the United States and a resident of the State of

Israel. She is the sister of Itay Zafrani.

        1025.      As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Itay Zafrani experienced conscious pain and suffering and suffered economic loss.

        1026.      As a direct and foreseeable result of the October 7 Attack and the murder of Itay

Zafrani, Plaintiffs Inbal Chen, A.Z., David Zafrani, Michal Zipporah Zafrani, Ori Zafrani, Osnat

Tal Zafrani, and Roni Zafrani have suffered severe mental anguish and extreme emotional distress,

and economic loss.

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         KK.    The Natan Family

         1027. Odeya Chen Natan, a/k/a Odeya Chen Teicher, was a citizen of the United States

and a resident of the State of Israel when she was injured by Hamas. She was 30 years old at the

time.

        1028.   Odeya was at home in Sderot on October 7, 2023. She heard the events of October

7, 2023, unfolding outside her home and took her children, father-in-law, and brother-in-law to their

safe room to hide. They barricaded themselves in the safe room for 48 hours until the IDF was able

to rescue them. They heard non-stop rockets as well as the gunfire all around them from the

terrorists who were lurking on the streets of Sderot.

        1029.   While Odeya, her father-in-law, brother-in-law, and her children were hiding in the

safe room in her home, Eitan had heard the rocket sirens going off in Sderot and proceeded in his

vehicle to the entrance to Sderot where he was attacked by a pickup truck filled with terrorists who

were infiltrating Sderot. Eitan was shot in the arm, but he continued to drive until his vehicle could

no longer move after continuing to be hit with gunfire. He got into another resident’s vehicle who

had also been shot. Eitan plugged the other individual’s gunshot wound with his finger, and the two

were able to get north of Sderot where they found an ambulance to receive care.

        1030.   Odeya did not know what happened to her husband as she was holed up in the safe

room for 48 hours. She believed him to be among the dead or captured and, aside from the emotional

distress she endured because of her own personal ordeal within the safe room, she also suffered

emotional distress from the belief that her husband had been killed. While Eitan survived, he has

undergone multiple surgeries, physical therapy, and emotional trauma that has caused additional

emotional distress for Odeya.




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         1031.   Plaintiff Naomi Teicher is a citizen of the United States and a resident of the State

of Israel. She is the mother of Odeya Chen Natan, a/k/a Odeya Chen Teicher.

         1032.   Plaintiff Michael Jay Teicher is a citizen of the United States and a resident of the

State of Israel. He is the father of Odeya Chen Natan, a/k/a Odeya Chen Teicher.

         1033.   As a direct and foreseeable result of the October 7 Attack, Plaintiff Odeya Chen

Natan, a/k/a Odeya Chen Teicher, has suffered severe physical and mental anguish and extreme

emotional distress, and economic loss.

         1034.   As a direct and foreseeable result of the October 7 Attack and the injuries of Odeya

Chen Natan, a/k/a Odeya Chen Teicher, Plaintiffs Naomi Teicher and Michael Jay Teicher have

suffered severe mental anguish and extreme emotional distress, and economic loss.

          LL.    The Amar Family

          1035. Naama Saffer Amar was a citizen of the United States and a resident of the State of

Israel when she was injured by Hamas. She was 34 years old at the time.

         1036.   Naama Saffer Amar was at home in Ofakim on October 7, 2023, when Hamas

terrorists invaded. Terrorists surrounded Naama’s house shooting, prohibiting her and her family

from leaving their building for two days. There were 50 deaths in the neighborhood, with many, if

not all, of her neighbors dying, leaving her to fear for her safety.

         1037.   Naama was displaced from her home for two weeks.

         1038.   Plaintiff A.A. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Naama Saffer Amar, as guardian of A.A., brings this claim on behalf of A.A., a minor

child.




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         1039.   Plaintiff G.A. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Naama Saffer Amar, as guardian of G.A., brings this claim on behalf of G.A., a minor

child.

         1040.   Plaintiff O.A. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Naama Saffer Amar, as guardian of O.A., brings this claim on behalf of O.A., a minor

child.

         1041.   Plaintiff A.M.A. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Naama Saffer Amar, as guardian of A.M.A., brings this claim on behalf of A.M.A., a minor

child.

         1042.   Plaintiff A.E.A. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Naama Saffer Amar, as guardian of A.E.A., brings this claim on behalf of A.E.A., a minor

child.

         1043.   As a direct and foreseeable result of the October 7 Attack, Plaintiff Naama Saffer

Amar suffered severe physical and mental anguish and extreme emotional distress, and economic

loss.

         1044.   Plaintiffs A.A., G.A., O.A., A.M.A., and A.E.A. have experienced severe mental

anguish and extreme emotional distress as a direct and foreseeable result of the attack on and the

injuries of Naama Saffer Amar.

         1045.   As a direct and foreseeable result of the October 7 Attack, Plaintiff Naama Saffer

Amar suffered severe physical and mental anguish and extreme emotional distress while also being

forced to relocate from her home, and economic loss.




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         1046.   As a direct and foreseeable result of the October 7 Attack on and the injuries of

Naama Saffer Amar, Plaintiffs A.A., G.A., O.A., A.M.A., and A.E.A. have experienced severe

mental anguish and extreme emotional distress, and economic loss.

          MM. The Goodman Family

          1047. Yehoshua Goodman was a citizen of the United States and a resident of the State

of Israel when he was injured by Hamas. He was 43 years old at the time.

         1048.   On October 7, 2023, Yehoshua was in Tifrach, Israel, unable to get back to his

home in Ofakim. Rockets fell two houses away from where he and his family were staying and

shattered windows in the house where he was staying, causing him to fear for his safety.

         1049.   When Yehoshua was able to return home to Okafim, he was afraid to leave his

house.

         1050.   Plaintiff A.G. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Yehoshua Goodman, as guardian of A.G., brings this claim on behalf of A.G., a minor

child.

         1051.   Plaintiff B.G. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Yehoshua Goodman, as guardian of B.G., brings this claim on behalf of B.G., a minor

child.

         1052.   Plaintiff Y.G. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Yehoshua Goodman, as guardian of Y.G., brings this claim on behalf of Y.G., a minor

child.

         1053.   Plaintiff B.G. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Yehoshua Goodman, as guardian of B.G., brings this claim on behalf of BG., a minor child.




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         1054.   Plaintiff M.G. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Yehoshua Goodman, as guardian of M.G., brings this claim on behalf of M.G., a minor

child.

         1055.   Plaintiff N.G. is a citizen of the United States and a resident of the State of Israel.

Plaintiff Yehoshua Goodman, as guardian of N.G., brings this claim on behalf of N.G., a minor

child.

         1056.   As a direct and foreseeable result of the October 7 Attack, Plaintiff Yehoshua

Goodman suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

         1057.   As a direct and foreseeable result of the October 7 Attack on and the injuries of

Yehoshua Goodman, Plaintiffs A.G., B.G., Y.G., B.G., M.G. and N.G. have experienced severe

mental anguish and extreme emotional distress, and economic loss.

          NN.    The Gutstein Family

          1058. Avraham Gutstein was a citizen of the United States and a resident of the State of

Israel when he was injured by Hamas. He was 43 years old at the time.

         1059.   On October 7, 2023, Avraham Gutstein was in Ashkelon when rockets began

falling in the area where he had been attending synagogue. A rocket fell in a nearby parking lot,

shattering windows, and causing him to fear for his safety.

         1060.   Avraham owns two kindergarten centers in Ashkelon, and these locations were

damaged by rockets, resulting in collapsed walls and damage to the buildings.

         1061.   Avraham is also a volunteer with an organization known as “Zaka,” which provides

first-responder and search-and-rescue operations, among other activities, in the aftermath of mass-




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casualty events. In this capacity, Avraham was stationed at the hospital where he saw the casualties,

including dead bodies, coming from various locations as a result of the October 7 Attack.

       1062.     Avraham suffers from emotional trauma, sleep disturbances, endless thoughts of

mortality, and PTSD.

       1063.     Plaintiff Miriam Gutstein is a citizen of the United States and is a resident of the

State of Israel. She is the spouse of Avraham Gutstein.

       1064.     Plaintiff Z.C.G. is a citizen of the United States and is a resident of the State of

Israel. Plaintiff Miriam Gutstein, as next-of-kin of Z.C.G., brings this claim for Z.C.G. as the minor

child of Avraham Gutstein.

       1065.     Plaintiff Yitshak Yisachar Gutstein is a citizen of the United States and is a resident

of the State of Israel. He is the son of Avraham Gutstein.

       1066.     Plaintiff Tamar Gutstein is a citizen of the United States and a resident of the State

of Israel. She is the daughter of Avraham Gutstein.

       1067.     Plaintiff S.G. is a citizen of the United States and is a resident of the State of Israel.

Plaintiff Miriam Gutstein, as next-of-kin of S.G., brings this claim for S.G. as the minor child of

Avraham Gutstein.

       1068.     As a direct and foreseeable result of the October 7 Attack, Plaintiff Avraham

Gutstein has suffered severe physical and mental anguish and extreme emotional distress, and

economic loss.

       1069.     As a direct and foreseeable result of the October 7 Attack and the injuries to

Avraham Gutstein, Plaintiffs Miriam Gutstein, Tamar Gutstein, Z.C.G., Yitshak Yisachar Gutstein,

and S.G. have suffered severe mental anguish and extreme emotional distress, and economic loss.

        OO.      The Tawil Family

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        1070. Shelmo Tawil was a citizen of the United States and a resident of the State of Israel

when he was injured by Hamas. He was 27 years old at the time.

       1071.    On October 7, 2023, Shelmo Tawil was an IDF reservist. Following Hamas’s

invasion into Israel, Shelmo was called up to serve in the 646th Brigade.

       1072.    Shelmo served in Gaza and Lebanon for over 170 days, from October 7, 2023,

through March 29, 2024. He was part of the 646th Brigade’s evacuation squad, clearing out

damaged homes and bodies, including the bodies of dead friends.

       1073.    As a direct and foreseeable result of the October 7 Attack, Plaintiff Shelmo Tawil

has suffered severe physical and mental anguish and extreme emotional distress, and economic loss.

        PP.     The Benzakein Family

        1074. Plaintiff Eliezer Benzakein was a citizen of the United States and a resident of Israel

when he was injured by Hamas.

       1075.    Eliezer enlisted in the IDF in 2018 and continues to serve.

       1076.    On October 7, 2023, Eliezer was called into (and remains in) service with the IDF

primarily along the border between Egypt and the southern portion of the Gaza Strip. While in

Gaza, he personally was involved in firefights that left his fellow soldiers dead or severely injured.

       1077.    Since the attacks, Eliezer has sought help from a mental health professional,

attending therapy weekly due to his experiences of seeing dead bodies, entering blood-soaked and

ransacked homes, and his experiences in combat with Hamas terrorists. He has been diagnosed with

PTSD, for which he takes medication. He continuously suffers from night terrors because of his

experiences.




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       1078.    As a direct and foreseeable result of the October 7 Attack and continued violence

perpetrated by Hamas, Plaintiff Eliezer Benzakein has experienced severe physical and mental

anguish and extreme emotional distress, and economic loss.

        QQ.     The Susskind Family

        1079. Plaintiff Nathan Susskind was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas.

       1080.    Nathan was a soldier in the IDF on October 7, 2023, when he was called up to

Kibbutz Reim near Gaza. Once there, he encountered dead bodies everywhere. He then had to move

on to Be’eri where he sought out Hamas terrorists and their entrapments. Nathan was tasked with

looking for Hamas terrorists, its booby traps, its weaponry, and explosives, as well as corpses.

       1081.    On or about July 9, 2024, Nathan sustained a shrapnel wound during one of his

many encounters with Hamas terrorists in Gaza.

       1082.    He was redeployed to Gaza in November 2024, where he has lost five comrades,

and he himself has been shot at by Hamas and had near-misses with Hamas explosives on numerous

occasions.

       1083.    As a direct and foreseeable result of the October 7 Attack and continued violence

perpetrated by Hamas, Plaintiff Nathan Susskind has experienced severe physical and mental

anguish and extreme emotional distress, and economic loss.

        RR.     The Werde Family

        1084. Plaintiff Shlome Werde was a citizen of the United States and a resident of the State

of Israel when he was injured by Hamas.




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       1085.    Shlome has been a solder in the IDF since August 2022. On October 7, 2023, he

was at the training base in the vicinity of the Gaza Envelope when he heard and saw rockets

overhead. Many of his friends died that day as a result of the attack.

       1086.    In January 2024, Shlome entered Gaza with his IDF unit where he encountered

RPGs, gunfire, and grenades. Later, he was sent to Lebanon. Shlomo continued to face heavy

gunfire and bombings.

       1087.    As a result of the Hamas terrorist attacks, Shlomo has suffered both physical and

mental injuries. He has a back injury, as well as a sensitivity to noise. Psychologically, he suffers

from trauma due to the violence he has witnessed as a soldier in the IDF.

       1088.    As a direct and foreseeable result of the October 7 Attack and continued violence

perpetrated by Hamas, Plaintiff Shlome Werde has experienced severe physical and mental anguish

and extreme emotional distress, and economic loss.

        SS.     The Blisko Family

        1089. Plaintiff Samuel Blisko was a citizen of the United States and a resident of Israel

when he was injured by Hamas.

       1090.    Samuel was a reservist with the IDF on October 7, 2023, and subsequently served

in Gaza, Syria, and Lebanon following the Hamas attacks on October 7.

       1091.    As a direct and foreseeable result of the October 7 Attack and his subsequent

deployment to Gaza, Syria, and Lebanon to fight against Hamas, Plaintiff Samuel Blisko has

experienced severe physical and mental anguish and extreme emotional distress, and economic loss.

        TT.     The Engle Family

        1092. Plaintiff Reut Engle was a citizen of the United States and a resident of Israel when

she was injured by Hamas.


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        1093.    Reut was a physician’s assistant with the IDF from 2023, continuing to the present.

She was at the Gaza border on October 7, 2023. She was part of the field surgery unit in Gaza in

November 2023 and was responsible for evacuating the injured and performing field treatment.

        1094.    As a result of this physician’s assistant work, as well as being in the combat zone,

Reut has experienced burst eardrums, scratched corneas, three herniated disks, trench foot/fungal

infections, and psychological trauma.

        1095.    As a direct and foreseeable result of the October 7 Attack and her subsequent

deployment to Gaza to fight against Hamas, Plaintiff Reut Engle has experienced severe physical

and mental anguish and extreme emotional distress, and economic loss.

         UU.     The Cherney Family

         1096. Plaintiff Noa Morgan Cherney was a citizen of the United States and a resident of

 Israel when she was injured by Hamas.

        1097.    Noa was a naval combatant in the IDF from January 2022 through January 2024.

        1098.    On October 7, 2023, Noa was in Kibbutz Erez, when, at 6:30 a.m., rockets began

to fall. Noa experienced rocket fire in the shelter she was in and buildings shaking before being

called to her IDF base 20 minutes after the attack began. There were 40 terrorists outside of Kibbutz

Erez, with just seven kibbutz members trying to fight them off. The kibbutz members were able to

hold off the terrorists for three hours.

        1099.    During the crossfire, Noa’s mentor was killed, and her host family was injured.

        1100.    Hamas cut the Wi-Fi on Kibbutz Erez, so Noa had to leave her safe room to contact

her base. She was receiving alerts on her phone, which provided her with the details of the attack,

the number of dead, etc. Throughout the day, Noa experienced constant booms, and she had no




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food. Noa volunteered to join the security team guarding the kibbutz, but there were not enough

weapons for her to do so.

       1101.    On the evening of October 7 into October 8, Noa was placed under an evacuation

order, which was subsequently cancelled.

       1102.    At 10:00 a.m. on October 8, she left Kibbutz Erez in the direction of Ashkelon, in

order to make it to Haifa to join her ship. On the ride to her ship, she encountered rockets, rocket

alerts, UAVs, and other threats.

       1103.    Once on her IDF ship, Noa sailed to every border, guarding oil rigs. While at sea,

she was under constant threat from Hamas via the air.

       1104.    As a direct and foreseeable result of the October 7 Attack and her subsequent

deployment to fight against Hamas, Plaintiff Noa Morgan Cherney has experienced severe physical

and mental anguish and extreme emotional distress, and economic loss.

        VV.     The Libin Family

        1105. Plaintiff Ethan Libin was a citizen of the United States and a resident of Israel when

he was injured by Hamas.

       1106.    Ethan was a member of the IDF on October 7, 2023.

        1107. As a member of the IDF, Ethan had to fight his way past the terrorists into Gaza.

He saw hundreds of burned cars, and bodies injured and dismembered, shot and killed by

explosions.

        1108. Ethan was present at a grenade attack at Gama intersection and had to evacuate

injured civilians.

        1109. Because of the attacks, Ethan did not sleep for months, experienced night terrors,

flashbacks, and PTSD.

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        1110. As a direct and foreseeable result of the October 7 Attack and his subsequent

deployment to Gaza to fight against Hamas, Plaintiff Ethan Libin has experienced severe physical

and mental anguish and extreme emotional distress, and economic loss.

        WW. The Daniels Family

        1111. Plaintiff Gil Boaz Daniels was a citizen of the United States and a resident of Israel

when he was injured by Hamas.

       1112.    Gil Boaz Daniels was at home in Kibbutz Nir Erez, which borders Gaza, on October

7 when Hamas attacked. Gil spent most of October 7 on the phone calling his family, his IDF unit,

and his IDF unit commander. The Army did not arrive until very late in the day. There was almost

constant gunfire and explosions from the terrorists outside his home.

       1113.    Gil was sheltered with other people from his kibbutz throughout the day, and they

were crying as they learned of the deaths of family and friends.

       1114.    Upon leaving the shelter, Gil and the others had to walk through the devastation

caused by the terrorists outside the shelter.

       1115.    As an IDF soldier, Gil entered Gaza after the attacks and spent 45 days there. His

direct commander and deputy commander were killed serving alongside him.

       1116.    Gil’s father suffered a heart attack due to the stress of the situation.

       1117.    Gil remains displaced from his home as he is unable to move back to his kibbutz.

       1118.    As a direct and foreseeable result of the October 7 Attack and his subsequent

deployment to Gaza to fight against Hamas, Plaintiff Gil Boaz Daniels has experienced severe

physical and mental anguish and extreme emotional distress, and economic loss.

        1119.




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                                         CLAIMS FOR RELIEF

                                      FIRST CLAIM FOR RELIEF

      CIVIL LIABILITY UNDER 18 U.S.C. § 2333(d) FOR AIDING AND ABETTING
        HAMAS, A FOREIGN TERRORIST ORGANIZATION, INCLUDING TO
      PERPETRATE THE OCTOBER 7 ATTACK AND KILL AND MAIM OTHERS
                               THEREAFTER

        1120.       Plaintiffs repeat and re-allege each allegation of the foregoing paragraphs as if fully

set forth herein.

        1121.       Plaintiffs were all injured by acts of international terrorism as defined by 18 U.S.C.

§ 2331.

        1122.       Plaintiffs were all injured by acts of international terrorism committed, planned,

and/or authorized by FTO Hamas.

        1123.       Hamas had been designated an FTO as of the date of all the attacks alleged herein

(Hamas has been designated an FTO from 1997 to the present).

        1124.       Each Defendant aided and abetted Hamas in its commission of these acts of

international terrorism that injured Plaintiffs, by knowingly providing substantial and vital

assistance to Hamas during the period between 2018 and October 7, 2023.

        1125.       Defendants substantially assisted Hamas by, inter alia, providing funding, access

to property for terrorist usage (tunnels, command and control facilities, lodgings), and concealment

of tunnels used to launch rockets on October 7, 2023.

        1126.       Defendants also worked with Hamas to build attack tunnels under their properties,

including access shafts within the properties. On and after October 7, Defendants provided

electricity to Hamas and specifically to Hamas attack tunnels built under and into Defendants’

properties. Defendants provided services that legitimized Hamas and gave its operations under and

within Defendants’ properties greater protection from Israeli and U.S. action. All of this assistance

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was beneficial to Hamas in sustaining its iron-fisted rule in Gaza and in committing acts of

international terrorism.

          1127.   Each Defendant understood its role in helping fuel Hamas’s illicit and violent

activities, was generally aware that by providing substantial assistance to Hamas it was aiding and

abetting Hamas’s terrorist activities and nonetheless continually assisted Hamas in its efforts. The

amount and extent of assistance each Defendant provided—funding to Hamas (in taxes, kickbacks

and fees), access to property for terrorist usage (tunnels, command and control, rocket launching

sites, lodgings, and shelter for concealment of personnel and terrorist activities), electricity

provided to Hamas and specifically to Hamas attack tunnels built under Defendants’ properties

(with their active assistance) and services that also legitimized Hamas and gave its operations at

Defendants’ properties greater protection from Israeli action—were all integral to Hamas’s overall

terrorist activities and the foreseeable acts of terrorism at issue.

          1128.   Each Defendant knowingly provided this substantial assistance to Hamas for years.

          1129.   Each Defendant knew that Hamas was not only an FTO, but that it had consistently

attacked Israel with rockets, infiltrations, kidnappings and various other assorted acts of

international terrorism (car ramming, shootings, stabbings, etc.) both before and after taking over

the Gaza Strip in 2007, and that providing the funding and services described above would

foreseeably aid Hamas in committing acts of international terrorism, including the October 7

Attack.

          1130.   Defendants’ aid and assistance to Hamas included acts taken by the Defendants

inside the United States, including, but not limited to, seeking and securing financing and insurance

(as well as an appearance of legitimacy and diplomatic cover) from entities located in the United

States, such as IFC and MIGA.

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        1131.       Defendants herein were important accomplices for Hamas, knowingly providing it

not only with funding, electricity and assistance in developing its attack tunnel networks under their

prestige properties, including those partially funded by U.S. and international aid agencies, but they

also engaged in joint ventures with Hamas and lent it legitimacy while shielding important terror

assets under (and inside) those properties.

                                    SECOND CLAIM FOR RELIEF

      CIVIL LIABILITY UNDER 18 U.S.C. § 2333(d) FOR DEFENDANTS’ ROLE IN
      HAMAS’S CONSPIRACY, INCLUDING TO PERPETRATE THE OCTOBER 7
              ATTACK AND KILL AND MAIM OTHERS THEREAFTER

        1132.       Plaintiffs repeat and re-allege each allegation of the foregoing paragraphs as if fully

set forth herein.

        1133.       Before and during the relevant period, Hamas formed a conspiracy whose objective

was to launch a devastating mass casualty terrorist attack on Israel and retreat into Gaza with

multiple Israeli hostages where its hundreds of miles of attack tunnels built under civilian

infrastructure would protect its operatives from IDF strikes, allow it to hide the hostages they had

seized, and increase the civilian death toll in Gaza while simultaneously elevating the number of

IDF casualties.

        1134.       Defendants joined that conspiracy by knowingly agreeing to provide Hamas with

civilian cover for its attack tunnels under the GIE and the Blue Beach and Al Mashtal Hotels (while

using the hotels themselves as command centers) as well as diplomatic and commercial cover for

Qassam Brigades activity inside the GIE.

        1135.       Defendants agreed to join with Hamas to participate in unlawful acts (violations of

U.S. criminal laws, including 18 U.S.C. § 2339B) and to provide substantial assistance to Hamas




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in furtherance of the common scheme by which Defendants furthered Hamas’s murderous

objectives.

        1136.    Defendants furthered the aims of the conspiracy by, inter alia, securing financing

and insurance (as well as an appearance of legitimacy and diplomatic cover) from entities located

in the United States, such as IFC and MIGA.

        1137.    Defendants knew the objective of the conspiracy was to launch terrorist attacks

against Israel and that their role was to provide material support for, and increase Hamas’s capacity

to, inter alia, commit terrorist attacks.

        1138.    Defendants knew that by joining the conspiracy to provide material support to

Hamas in the forms set forth herein they were contributing substantially to Hamas’s capacity to

commit terrorist attacks.

        1139.    The terrorist attacks at issue were foreseeably committed in furtherance, and as

foreseeable consequences, of the conspiracy.

        1140.    Plaintiffs’ injuries were a foreseeable and proximate result of the conspiracy and

overt acts made as part of the conspiracy.

                                   THIRD CLAIM FOR RELIEF

     CIVIL LIABILITY UNDER 18 U.S.C. § 2333(a) FOR KNOWINGLY PROVIDING
     MATERIAL SUPPORT TO HAMAS IN VIOLATION OF 18 U.S.C. § 2339B(a)(1)

        1141.    Plaintiffs repeat and re-allege every allegation of the foregoing paragraphs as if

fully set forth herein.

        1142.    Plaintiffs were injured in terrorist attacks (which were acts of international

terrorism as defined by 18 U.S.C. § 2331) committed by Hamas, an FTO so designated at the time

each act of terrorism at issue occurred, and/or its agents (including other terrorist groups).



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       1143.    Defendants knowingly provided material support, as defined in 18 U.S.C.

§ 2339A(b)(1), to Hamas, an FTO designated under the Antiterrorism and Effective Death Penalty

Act of 1996, in violation of 18 U.S.C. § 2339B(a)(1).

       1144.    Defendants were fully aware of Hamas’s terroristic nature, including its long-

standing campaign of murder, suicide bombings, rocket attacks, kidnappings, and other acts of

terrorism.

       1145.    Defendants knew that Hamas had been designated an FTO by the Government of

the United States.

       1146.     Defendants’ own actions on behalf of Hamas—which included knowingly

providing use of properties, currency, safehouses, and services—were themselves “acts of

international terrorism” under 18 U.S.C. § 2331(1).

       1147.    First, they involved violent acts and acts dangerous to human life, namely assisting

Hamas in attacking Israel.

       1148.    Second, they constituted violations of the criminal laws of the United States,

including 18 U.S.C. § 2339A(a)-(b) and 2339B(a)(1).

       1149.    Third, because Defendants knowingly provided property and vital services to a

designated FTO responsible for seriatim mass terror campaigns using rockets and tunnels,

Defendants’ conduct objectively appeared to be intended to intimidate or coerce the civilian

population of Israel, intimidate its government, or affect its conduct.

       1150.    Fourth, Defendants’ conduct transcended national boundaries in terms of the means

by which it was accomplished.

       1151.    Defendants provided material support to Hamas over an extended period of time

and their conduct was a substantial factor in the sequence of responsible causation of the attacks

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described herein. Plaintiffs’ injuries were a reasonably foreseeable consequence of Defendants’

conduct.

       1152.    By knowingly providing material support to a designated Foreign Terrorist

Organization, Defendants are civilly liable for damages to Plaintiffs for their injuries pursuant to

18 U.S.C. § 2333(a).

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court:

                (a) Accept jurisdiction over this action;

                (b) Enter judgment against each Defendant and in favor of Plaintiffs for
                    compensatory damages in amounts to be determined at trial;

                (c) Enter judgment against each Defendant and in favor of Plaintiffs for
                    treble damages pursuant to 18 U.S.C. § 2333(a);

                (d) Enter judgment against each Defendant and in favor of Plaintiffs for all
                    costs sustained in connection with the prosecution of this action,
                    including attorneys’ fees, pursuant to 18 U.S.C. § 2333(a); and

                (e) Grant such other and further relief as justice requires.


PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE


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